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 26
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 27
 28

                                                                      No. 3:17-cv-02366-BAS-KSC
                                                              SECOND AMENDED COMPLAINT FOR
                                                           DECLARATORY AND INJUNCTIVE RELIEF
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        1                                            Case No.
        2 AL OTRO LADO, INC., a California           23:17-cv-511102366-BAS-KSC
                                                      -


        3 corporation;  ABIGAIL DOE,
          BEATRICE DOE, CAROLINA DOE,
                                                     Honorable Cynthia A. Bashant

        4 DINORA     DOE, INGRID DOE and
          JOSE DOE,, ROBERTO DOE, MARIA
                                                     SECOND AMENDED

        5 DOE,   JUAN DOE, URSULA DOE,
          VICTORIA DOE, BIANCA DOE,
                                                     COMPLAINT FOR

        6 EMILIANA      DOE, AND CESAR DOE
          individually and on behalf of all others
                                                     DECLARATORY AND

        7 similarly situated,                        INJUNCTIVE RELIEF FOR]:-

        8 Plaintiff,Plaintiffs,
        9 v.                                         (1)   VIOLATION OF THE

       10 JOHN   FKIRSTJEN M.
          KELLYNIELSEN, Secretary, United
                                                           IMMIGRATION AND

       11 States Department of Homeland
          Security, in hisher official capacity;
                                                           NATIONALITY ACT, 8
                                             -
       12 KEVIN K. MCALEENAN,                              U.S.C. § 1101, ET SEQ.

       13 Commissioner, United States Customs
       14                                            (2)   VIOLATION OF THE

       15                                                  ADMINISTRATIVE

       16                                                  PROCEDURE ACT., 5 U.S.C.

       17 and Border Protection, in his official           § 551, ET SEQ.

       18 capacity; TODD C. OWEN, Executive
          Assistant Commissioner, Office of Field
       19 Operations, United States Customs and
          Border Protection, in his official
       20 capacity; and DOES 1-25, inclusive,
       21 Defendant.Defendants.
       22
       23
       24
       25                                            (3)   VIOLATION OF THE FIFTH

       26                                                  AMENDMENT TO THE
I                                                    -UNITED STATES
       27                                            CONSTITUTION
                                                     -(PROCEDURAL DUE
       28                                            -PROCESS)

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    1                                         (4)   VIOLATION OF THE NON-
    2                                               REFOULEMENT
    3                                               DOCTRINE
    4
    5                                               CLASS ACTION
    6
    7
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    1                               I.    INTRODUCTION
    1=
    2
    1=
              Plaintiff Al Otro Lado, Inc. (“Al Otro Lado”), a non-profit legal services

    3 organization, and Plaintiffs Abigail Doe, Beatrice Doe, Carolina Doe, Dinora Doe,
    1=
    4 Ingrid Doe and Jose, Roberto Doe, Maria Doe, Juan Doe, Ursula Doe, Victoria
    1=
    5 Doe, Bianca Doe, Emiliana Doe, and Cesar Doe (“Class Plaintiffs”), acting on
    1=
    6 their own behalf and on behalf of all similarly situated individuals, allege as
    1=
    7 follows:
    1=
    8       1.      Class Plaintiffs are noncitizens who have fled grave harm in their
    1=
    9 countries to seek protection in the United States. All of them sought to access the
    1=
   10 U.S. asylum process by presenting themselves at Portsofficial ports of Entryentry
   11 (“POEs,” or individually, “POE”) along the U.S.-Mexico border, but were denied
   12 such access by or at the instruction of to seek asylum in the United States, allege
   13 as follows:1.      U.S. Customs and Border Protection (“CBP”) officials have

   14 systematically violated U.S. lawpursuant to a policy initiated by Defendants or
   15 practices effectively ratified by Defendants in contravention of U.S. and binding
   16 international human rights law by refusing to allow individuals, including Class
   17 Plaintiffs — who present themselves at POEs along the U.S.-Mexico border and
   18 assert their intention to apply for asylum or a fear of returning to their home
   19 countries — to seek protection in the United Stateslaw.
   20       2.    CBP is violating the law by utilizing various tactics — including

   21 misrepresentations, threats and intimidation, verbal abuse and physical force, and
   22 coercion— to deny asylum seekers, including Class Plaintiffs,Since 2016 and
   23 continuing to this day, CBP has engaged in an unlawful, widespread pattern and
   24 practice of denying asylum seekers access to the asylum process. at POEs on the
                                                                           -
   25 U.S.-Mexico border through a variety of illegal tactics. These tactics include lying;
   26 using threats, intimidation and coercion; employing verbal abuse and applying
   27 physical force; physically obstructing access to the POE building; imposing
   28 unreasonable delays before granting access to the asylum process; denying

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         outright access to the asylum process; and denying access to the asylum process in
    1 a racially discriminatory manner. Since the presidential election, CBP officials
    1=
    2 have, for example, misinformed asylum seekers that they could not apply for
    1=
    3 asylum because “Donald Trump just signed new laws saying there is no asylum for
    1=
    4 anyone,” coerced asylum seekers into signing forms abandoning their asylum
    1=
    5 claims by threatening to take their children away, threatened to deport asylum
    1=
    6 seekers back to their home countries (where they face persecution) if they
    1=
    7 persisted in their attempts to seek asylum, and even forcefully removed asylum
    1=
    8 seekers from POEs. In March 2018, four Guatemalan asylum seekers at an El Paso
    1=
    9 POE, were denied access to the asylum process after CBP officials told them that
    1=
   10 “Guatemalans make us sick.” As recently as September 2018, CBP denied access
   11 to an asylum seeker who was four months pregnant and a victim of sexual
   12 violence. These practices all violate U.S. law, which requires that asylum seekers
   13 “shall” have access to the asylum process.
   14        3.    The prevalence and persistence of CBP’s illegal practice of denying
   15 asylum seekers access to the U.S. asylum process has been observed by Plaintiff
   16 Al Otro Lado and Class Plaintiffs and has been well documented as occurring
   17 along the entire U.S.-Mexico border through comprehensive reporting by
   18 nongovernmental organizations, such as Human Rights First, Amnesty
   19 International, and Human Rights Watch; other experts working in the U.S.-Mexico
   20 border region; as well as numerous news outlets, including The Washington Post,
   21 The New York Times, and USA Today.In addition, beginning around 2016,
   22 high-level CBP officials, under the direction or with the knowledge or
   23 authorization of the named Defendants (the “Defendants”), adopted a formal
   24 policy to restrict access to the asylum process at POEs by mandating that
   25 lower-level officials directly or constructively turn back asylum seekers at the
   26 border (the “Turnback Policy”) contrary to U.S. law. In accordance with the
   27 Turnback Policy, CBP officials have used and are continuing to use various
   28                                         2
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         methods to unlawfully deny asylum seekers access to the asylum process based on
    1 purportedElbut ultimately untrueD assertions that there is a lack of “capacity” to
    1=
    2 process them. These methods include coordinating with Mexican immigration
    1=
    3 authorities and other third parties to implement a “metering,” or waitlist, system
    1=
    4 that creates unreasonable and life-threatening delays in processing asylum seekers;
    1=
    5 instructing asylum seekers to wait on the bridge, in the pre-inspection area, or at a
    1=
    6 shelter until there is adequate space at the POE; or simply asserting to asylum
    1=
    7 seekers that they cannot be processed because the POE is “full” or “at capacity.”
    1=
    8 On information and belief, the claims of a lack of capacity are false.
    1=
    9          4.    CBP’s illegal conduct is occurring as a humanitarian crisis drives
    1=
   10 vulnerable people experiencing persecution in their home countries to seek
   11 refugee protection in the United States. Asylum seekers, including Class Plaintiffs,
   12 have fled persecution, violence and death, and face grave and immediate danger to
   13 their lives if denied access to the asylum process — a system specifically designed
   14 to protect refugees like them. CBP’s unlawful practice of turning asylum seekers
   15 away from POEs is forcing asylum seekers, including Class Plaintiffs, to return to
   16 Mexico and other countries where they remain susceptible to serious harm such as
   17 kidnapping, rape, trafficking, torture or even death.Both Defendants’ widespread
   18 practice of denying access to the asylum process and their formal Turnback Policy
   19 are designed to serve the Trump administration’s broader, publicly proclaimed
   20 goal of deterring individuals from seeking access to the asylum process. Rather
   21 than changing existing law, the Administration is simply not following it. The
   22 Turnback Policy also reflects the Trump administration’s significant antipathy to
   23 the fundamental humanitarian principles embodied in asylum laws, as well as to
   24 the Central and South American populations seeking access to the asylum process
   25 in the United States.
   26          5.    In the spring of 2018, and in response to the anticipated arrival of a
   27 sizeable number of asylum seekers who had traveled together on the dangerous
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         journey North in a so-called “caravan,” high-level Trump administration officials
    1 publicly and unambiguously proclaimed the existence of their policy to
    1=
    2 intentionally restrict access to the asylum process at POEs in violation of U.S. law.
    1=
    3 Attorney General Jefferson B. Sessions pledged that asylum seekers would not
    1=
    4 “stampede” our borders and announced a related “Zero Tolerance” policy to
    1=
    5 prosecute all who enter the country unlawfully, and thereby to separate them from
    1=
    6 their children (the very threat a number of Plaintiffs received when attempting to
    1=
    7 seek asylum). Around the same time, United States Department of Homeland
    1=
    8 Security (“DHS”) Secretary Kirstjen Nielsen characterized the asylum
    1=
    9 process—mandated by U.S. statute and international law—as a legal “loophole”
    1=
   10 and publicly announced a “metering” process designed to restrict—and to
   11 constructively deny—access to the asylum process through unreasonable and
   12 dangerous delay.
   13          6.    Indeed, President Trump offered a public, full-throated and
   14 racially-discriminatory defense of his administration’s aggressive implementation
   15 of the Turnback Policy and the related, widespread CBP practice of denying
   16 access to the asylum process, by referring to asylum seekers as “criminals” and
   17 “animals” seeking to “infest” and “invade” the United States, and by specifically
   18 stating, via tweet, that the United States “must bring them back from where they
   19 came” and must “escort them back without going through years of legal
   20 maneuvering.”
   21      7.    Soon afterward, CBP officials implemented the Turnback Policy
   22 through a tactic of asserting a “lack of capacity” to process asylum-seekers and by
   23 coordinating with Mexican officials to prevent or delay asylum seekers from
   24 reaching inspection points at POEs, even as CBP officials knew or should have
   25 known of the dangerous conditions of rampant crime and violence by gangs and
   26 cartels on the Mexican side of the border. The unreasonable delays imposed on
   27 asylum seekers—which are done pursuant to the Trump administration’s broader
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         goal of deterring future asylum seekers from presenting at the border at all—also
    1 amount to a constructive denial of access to the asylum process.
    1=
    2      8.     As detailed more fully below, the Turnback Policy comes from
    1=
    3 high-level U.S. government officials and is having the intended effect of severely
    1=
    4 restricting—and constructively denying—access to the asylum process at POEs.
    1=
    5 Indeed, an October 2018 report by DHS’s Office of Inspector General (“OIG”)
    1=
    6 concluded that CBP has been “regulating the flow of asylum-seekers at ports of
    1=
    7 entry,” and that by limiting the volume of asylum seekers entering at POEs, the
    1=
    8 government has prompted some individuals “who would otherwise seek legal
    1=
    9 entry into the United States to cross the border illegally.1
    1=
   10        9.    Many desperate asylum seekers, faced with the consequences of the
   11 Turnback Policy and unlawful CBP practices, have felt compelled to enter the
   12 United States outside of POEs, often by swimming across the Rio Grande or
   13 paying smugglers exorbitant sums to transport them, to reach safety as quickly as
   14 possible.
   15            5.10. On information and belief, CBP’s conduct pursuant to the Turnback
   16 Policy and other unlawful actspractices were performed (and continue to be
   17 performed) at the instigation, under the control or authority of, or with the
                     -
   18 direction, knowledge, consent, direction or acquiescence of, the Defendants named
   19 in this action (“Defendants”). By refusing to follow the law, Defendants are
   20 engaged in an officially sanctioned policy or practice that hashave caused, and will
   21 continue to cause, Class Plaintiffs and Al Otro Lado concrete and demonstrable
   22 injuries and irreparable harm.
   23
   24
   25    1     U.S. Dep’t of Homeland Sec., Office of the Inspector Gen., OIG-18-84,
             Special Review — Initial Observations Regarding Family Separation Issues
   26        Under the Zero Tolerance Policy 5-6 (2018),
   27        https://www.oig.dhs.gov/sites/default/files/
             assets/2018-10/0IG-18-84-Sep18.pdf [hereinafter OIG Report].
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              11.    Each of the Class Plaintiffs has been subject to Defendants’ pattern
    1 and practice of denying access to the asylum process and/or to the Turnback
    1=
    2 Policy.
    1=
    3         6.12. Defendants have deprived Class Plaintiffs and similarly situated
    1=
    4 individuals of their statutory and regulatoryinternational-law rights to apply for
    1=
    5 asylum, violated their due process rights under the Fifth Amendment to the United
    1=
    6 States Constitution, and violated the United States’ obligations under international
    1=
    7 law to uphold the principle of non-refoulement. Defendants’ Turnback Policy and
    1=
    8 other unlawful practices also constitute unlawful agency action that should be set
    1=
    9 aside and enjoined pursuant to the Administrative Procedure Act, 5 U.S.C. § 706.
    1=
   10 Each Class Plaintiff has attempted to access the asylum process and would seek to
   11 do so again, but for Defendants’ systematic, illegal practiceTurnback Policy and
   12 other unlawful practices at issue in this action, which has deprived them of
   13 suchhave impeded their access.
   14         7.13. Defendants have caused injury to Plaintiff Al Otro Lado by
   15 frustrating its ability to advance and maintain its central institutional mission and
   16 forcing the organization to divert substantial portions of its limited time and
   17 resources away from its various programs in Los Angeles, California, and Tijuana,
   18 Mexico, to counteract CBP’sthe effects of the Turnback Policy and Defendants’
   19 other unlawful practices.
   20       8.14. Despite persistent advocacy by Al Otro Lado and other advocates,
   21 and despite Class Plaintiffs’ desperate need and right to seek asylum without delay
   22 in the United States, CBP shows no signs of abating its illegal practicepolicy and
   23 practices. Accordingly, Al Otro Lado and Class Plaintiffs require the intervention
   24 of this Court to declare that CBP’sDefendants’ conduct violates U.S. and
   25 international law, to enjoin Defendants from circumventing their legal
   26 obligationscontinuing to violate the law, and to order Defendants to implement
   27 procedures to ensure effective compliance with the law, including, without
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          limitation, oversight and accountability in the inspectinginspection and processing
    1 of asylum seekers. Absent the Court’s intervention, CBP’s unlawful conduct will
    3=,




    2 continue to imperil the lives and safety of numerouscountless vulnerable asylum
    3=,




    3 seekers.
    3=,




    4
    3=,
            9.        In addition, because Class Plaintiffs face imminent and irreparable
    5 injury if they are not afforded access to the asylum process, they seek immediate
    3=,




    6 injunctive relief in the form of a temporary restraining order ordering Defendants
    3=,




    7 to allow Class Plaintiffs to enter the United States to pursue their asylum claims.
    3=,




    8 Plaintiff Al Otro Lado and Class Plaintiffs also seek permanent injunctive relief to
    3=,




    9 ensure that Defendants no longer deny other asylum seekers the rights afforded to
    3=,




   10 them under U.S. and international law.
   11                          II.    JURISDICTION AND VENUE
   12           10.15.This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§
   13 1331, 1346, and 1350. Defendants have waived sovereign immunity for purposes
   14 of this suit pursuant to 5 U.S.C. § 702. The Court has authority to grant
   15 declaratory relief under 28 U.S.C. §§ 2201 and 2202.
   16       11.16.Venue is proper in this district under 28 U.S.C. § 1391(e) because a
   17 substantial part of the events or omissions giving rise to the claim occurred at or in
   18 the vicinity of the San Ysidro POE. All Defendants are sued in their official
   19 capacity. Plaintiff Al Otro Lado is an organization that resides and is incorporated
   20 in Los Angeles, California.
   21                                      III.   PARTIES
   22           A.    Plaintiffs
   23           12.17.Plaintiff Al Otro Lado is a non-profit, non-partisan organization
   24 incorporated in California, and was established in 2014. Al Otro Lado is a legal
   25 services organization serving indigent deportees, migrants, refugees and their
   26 families, principally in Los Angeles, California, and Tijuana, Mexico. Al Otro
                                                         1.




   27 Lado’s mission is to coordinate and to provide screening, advocacy, and legal
                                                                                =




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         representation for individuals in asylum and other immigration proceedings, to
    1 seek redress for civil rights violations, and to provide assistance with other legal
    1=
    2 and social service needs. Defendants have frustrated Al Otro Lado’s mission and
    1=
    3 have forced Al Otro Lado to divert significant resources away from its other
    1=
    4 programs to counteract CBP’s illegal practice of turning awayback asylum seekers
    1=
    5 at POEs.
    1=
    6       13.18.Through its Refugee ProgramBorder Rights Project in Tijuana,
    1=
    7 Mexico, Al Otro Lado assists individuals seeking protection from persecution in
    1=
    8 the United States. In response to CBP’s unlawful practicepolicy and practices, Al
    1=
    9 Otro Lado has had to expend significant organizational time and resources and
    1=
   10 alter entirely its previously used large-scale clinic model. For example, Al Otro
   11 Lado previously held large-scale, mass-advisal legal clinics in Tijuana that
   12 provided a general overview on asylum laws and procedures. This type of
   13 assistance (similar to the Legal Orientation Program of the Executive Office for
   14 Immigration Review) only was workable when CBP allowed asylum seekers into
   15 the United States in accordance with the law.
   16       14.19.Since 2016, however, CBP’s illegal conduct has compelled Al Otro
   17 Lado to expend significant time and resources to send representatives to Tijuana
   18 from Los Angeles multiple times per month for extended periods to provide more
   19 individualized assistance and coordination of legal and social services, including
   20 individual screenings and in-depth trainings to educate volunteer attorneys and
   21 asylum seekers regarding CBP’s practiceunlawful policy and practices and
   22 potential strategies to pursue asylum in the face of CBP’s tactics. Whereas Al Otro
   23 Lado previously was able to accommodate several dozen attorneys and over 100
   24 clients at a time in its large-scale clinics, Al Otro Lado has been forced to
   25 transition to an individualized representation model where attorneys are required
   26 to work with asylum seekers one-on-one and provide direct representation. Al
   27 Otro Lado has expended (and continues to expend) significantly more resources
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         recruiting, training and mentoring pro bono attorneys to help counteract CBP’s
    1 unlawful practicepolicy and practices. Nevertheless, even asylum seekers provided
    1=
    2 with such individualized pro bono representation are being turned awayback by
    1=
    3 CBP in violation of the law.
    1=
    4      15.20.Al Otro Lado also has spent time and resources advocating that CBP
    1=
    5 provide asylum seekers with access to the asylum process and cease using
    1=
    6 unlawful tactics to circumvent its legal obligations. For example, Al Otro Lado
    1=
    7 representatives have filed numerous complaints with the U.S. government
    1=
    8 detailing examples of CBP’s unlawful practicepolicy and practices depriving
    1=
    9 asylum seekers of access to the asylum process.
    1=
   10       16.21.Such diversion of Al Otro Lado’s time and resources negatively
   11 impacts its other programs. For example, Al Otro Lado has not been able to pursue
   12 funding for or otherwise advance the following programs: (1) its Deportee
   13 Reintegration Program through which Al Otro Lado assists deportees who struggle
   14 to survive in Tijuana, many of whom have no Mexican identity documents or
   15 health coverage, and may not even speak Spanish; and (2) its Cross-Border Family
   16 Support Program through which Al Otro Lado assists families with cross-border
   17 custody issues, and helps connect family members residing in the United States to
   18 social, legal, medical and mental health services. Other programs that have been
   19 impacted include Al Otro Lado’s Deportee Financial Literacy Program, Deportee
   20 Education Fund, Refugee Mental Health Program and Opioid Recovery Program,
   21 among othersAl Otro Lado has all but ceased its programmatic work with
   22 deportees and families separated by deportation due to the diversion of resources
   23 caused by CBP’s unlawful actions.
   24       17.22.In addition, the constraints on Al Otro Lado’s limited time and
   25 resources hashave negatively impacted its operations in Los Angeles, including
   26 delaying the opening and expansion of its Los Angeles office through which it
   27 coordinates “Wraparound” services for low-income immigrants in Los Angeles.
   28                                         9
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         The increased need for on -the -ground support in Tijuana has impacted Al Otro
    1 Lado’s ability to satisfy its clinical obligations for low-income immigrants at the
    1=
    2 Wellness Center, located on the grounds of the Los Angeles County+USC Medical
    1=
    3 Center, and to conduct outreach to provide free legal assistance to homeless
    1=
    4 individuals in Los Angeles to allow them to better access permanent supportive
    1=
    5 housing, employment and educational opportunities.
    1=
    6       18.23.Al Otro Lado continues to be harmed by Defendants because CBP’s
    1=
    7 illegal practice atconduct at or in the vicinity of the border frustrates its
    1=
    8 organizational mission and forces Al Otro Lado to divert resources from its other
    1=
    9 objectives. If Al Otro Lado had not been compelled to divert resources to address
    1=
   10 CBP’s unlawful conduct at the U.S.-Mexico border, it would have directed these
   11 resources toward its other programs to further the advancement of its core mission.
   12       19.24.Plaintiff Abigail Doe (“A.D.”) is a female native and citizen of
   13 Mexico. She is the mother of two children under the age of ten. A.D.2 Abigail and
   14 her family have been targeted and threatened with death or severe harm in Mexico
   15 by a large drug cartel that had previously targeted her husband, leaving her certain
   16 she would not be protected by local officials. A.D.Abigail fled with her two
   17 children to Tijuana, where they presented themselves at the San Ysidro POE. On
   18 behalf of herself and her children, A.D.Abigail expressed her fear of returning to
   19 Mexico and her desire to seek asylum in the United States. CBP officials coerced
   20 A.D.Abigail into recanting her fear and signing a form withdrawing her
   21 application for admission to the United States. As a result of this coercion, the
   22 form falsely states that A.D.
   23 Abigail does not have a credible fear of returning to Mexico. As a result of
   24 Defendants’ conduct, A.D.Abigail and her children were unable to access the
   25 asylum process and were forced to return to Tijuana, where they remainat the time
   26
   27    2    The ages listed for children of Abigail Doe, Beatrice Doe, Carolina Doe, and
             Dinora Doe are as they were at the time the initial Complaint was filed.
   28                                              10
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         the initial Complaint was filed, they remained in fear for their lives. A.D. and her
    1 children would like to present themselves again for asylum but, based on their
    1=
    2 experience and the experience of others with CBP’s practice at the U.S.-Mexico
    1=
    3 border, she understands that they would likely be turned away again. A.D. and her
    1=
    4 children are currently living in temporary housing in Tijuana and can no longer
    1=
    5 remain in Mexico and have no place else to turn for safety butFollowing the filing
    1=
    6 of the initial Complaint in this case, Defendants made arrangements to facilitate
    1=
    7 the entry of Abigail and her children into the United States.
    1=
    8       20.25.Plaintiff Beatrice Doe (“B.D.”) is a female native and citizen of
    1=
    9 Mexico. She is the mother of three children under the age of sixteen. B.D.Beatrice
    1=
   10 and her family have been targeted and threatened with death or severe harm in
   11 Mexico by a dangerous drug cartel; she was also subject to severe domestic
   12 violence. B.D.Beatrice fled with her children and her nephew to Tijuana, where
   13 they presented themselves once at the Otay Mesa POE and twice at the San Ysidro
   14 POE. On behalf of herself and her children, B.D.Beatrice expressed her fear of
   15 returning to Mexico and her desire to seek asylum in the United States. CBP
   16 officials coerced B.D.Beatrice into recanting her fear and signing a form
   17 withdrawing her application for admission to the United States. As a result of this
   18 coercion, the form falsely states that B.D.Beatrice and her children have no fear of
   19 returning to Mexico. As a result of Defendants’ conduct, B.D.Beatrice and her
   20 children were unable to access the asylum process and were forced to return to
   21 Tijuana, where they remainat the time the initial Complaint was filed, they
   22 remained in fear for their lives. B.D.While she was sheltered in Tijuana, her
   23 abusive spouse located her and coerced her and her children would like to present
   24 themselves again for asylum but, based on their experience and the experience of
   25 others with CBP’s practice at the U.S.-Mexico border, she understands that they
   26 would likely be turned away again. B.D. and her children are currently living in
   27
   28                                              11
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                                                                     SECOND AMENDED COMPLAINT FOR
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         temporary housing in Tijuana and can no longer remain in Mexico and have no
    1 place else to turn for safety but the United Statesto return home with him.
    1=
    2       21.26.Plaintiff Carolina Doe (“C.D.”) is a female native and citizen of
    1=
    3 Mexico. She is the mother of three children. C.D.Carolina’s brother-in-law was
    1=
    4 kidnapped and dismembered by a dangerous drug cartel in Mexico, and after the
    1=
    5 murder, her family also was targeted and threatened with death or severe harm.
    1=
    6 C.D.Carolina fled with her children to Tijuana, where they presented themselves at
    1=
    7 the San Ysidro, POE. On behalf of herself and her children, C.D.Carolina
    1=
    8 expressed her fear of returning to Mexico and her desire to seek asylum in the
    1=
    9 United States. CBP officials coerced C.D.Carolina into recanting her fear on video
    1=
   10 and signing a form withdrawing her application for admission to the United States.
   11 As a result of thisofthis coercion, the form falsely states that C.D.Carolina and her
   12 children have no fear of returning to Mexico. As a result of Defendants’ conduct,
   13 C.D.Carolina and her children were unable to access the asylum process and were
   14 forced to return to Tijuana, where they remainat the time the initial Complaint was
   15 filed, they remained in fear for their lives. C.D. and her children would like to
   16 present themselves again for asylum but, based on their experience and the
   17 experience of others with CBP’s practice at the U.S.-Mexico border, she
   18 understands that they would likely be turned away again. C.D. and her children are
   19 currently living in temporary housing in Tijuana and can no longer remain in
   20 Mexico and have no place else to turn for safety butFollowing the filing of the
   21 initial Complaint in this case, Defendants made arrangements to facilitate the entry
   22 of Carolina and her children into the United States.
   23          22.27.Plaintiff Dinora Doe (“D.D.”) is a female native and citizen of
   24 Honduras. D.D.Dinora and her eighteen-year-old daughter have been targeted,
   25 threatened with death or severe harm, and repeatedly raped by MS-13 gang
   26 members. D.D.Dinora fled with her daughter to Tijuana, where they presented
   27 themselves at the Otay Mesa, POE on three occasions. D.D.Dinora expressed her
   28                                            12
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         fear of returning to Honduras and her desire to seek asylum in the United States.
    1 CBP officials misinformed D.D.Dinora about her rights under U.S. law and denied
    1=
    2 her the opportunity to access the asylum process. As a result of Defendants’
    1=
    3 conduct, D.D.Dinora and her daughter were forced to return to Tijuana, where they
    1=
    4 remainat the time the initial Complaint was filed, they remained in fear for their
    1=
    5 lives. D.D. and her daughter would like to present themselves again for asylum
    1=
    6 but, based on their experience and the experience of others with CBP’s practice at
    1=
    7 the U.S.-Mexico border, she understands that they would likely be turned away
    1=
    8 again. D.D. is currently living in temporary housing with her daughter in Tijuana
    1=
    9 and can no longer remain in Mexico and have no place else to turn for safety
    1=
   10 butFollowing the filing of the initial Complaint in this case, Defendants made
   11 arrangements to facilitate the entry of Dinora and her daughter into the United
   12 States.
   13          23.28.Plaintiff Ingrid Doe (“I.D.”) is a female native and citizen of
   14 Honduras. She is the mother ofAt the time the initial Complaint was filed, she had
   15 two children and is currentlywas pregnant with her third child. I.D.Ingrid’s mother
   16 and three siblings were murdered by 18th Street gang members in Honduras. After
   17 the murders, 18th Street gang members threatened to kill I.DIngrid. I.D.Ingrid and
   18 her children were also subject to severe domestic violence. I.D.Ingrid fled with her
   19 children to Tijuana, where they presented themselves at the Otay Mesa POE and at
   20 the San Ysidro POE. On behalf of herself and her children, I.D.Ingrid expressed
   21 her fear of returning to Honduras and her desire to seek asylum in the United
   22 States. CBP officials misinformed I.D.Ingrid about her rights under U.S. law and
   23 denied her the opportunity to access the asylum process. As a result of
   24 Defendants’ conduct, I.D.Ingrid and her children were forced to return to Tijuana,
   25 where they remainat the time the initial Complaint was filed, they remained in fear
   26 for their lives. I.D. and her children would like to present themselves again for
   27 asylum but, based on their experience and the experience of others with CBP’s
   28                                             13
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         practice at the U.S.-Mexico border, she understands that they would likely be
    1 turned away again. I.D. is currently living in temporary housing with her children
    1=
    2 in Tijuana and can no longer remain in Mexico and have no place else to turn for
    1=
    3 safety butFollowing the filing of the initial Complaint in this case, Defendants
    1=
    4 made arrangements to facilitate the entry of Ingrid and her children into the United
    1=
    5 States.
    1=
    6        24.     Plaintiff Jose Doe (“J.D.”) is a male native and citizen of Honduras.
    1=
    7 J.D. was brutally attacked by 18th Street gang members in Honduras. The 18th
    1=
    8 Street gang also murdered several of his family members and threatened to kidnap
    1=
    9 and harm J.D.’s two daughters. J.D. fled Honduras and arrived in Nuevo Laredo,
    1=
   10 Mexico, where he was accosted by gang members. J.D. presented himself at the
   11 Laredo, Texas POE the next day. J.D. expressed his fear of returning to Honduras
   12 and his desire to seek asylum in the United States. CBP officials misinformed J.D.
   13 about his rights under U.S. law and denied him the opportunity to access the
   14 asylum process. As a result of Defendants’ conduct, J.D. was forced to return to
   15 Nuevo Laredo where he again was approached by gang members. J.D. fled to
   16 Monterrey, Mexico, where he remains in fear for his life. J.D. would like to
   17 present himself again for asylum but, based on his experience and the experience
   18 of others with CBP’s practice at the U.S.-Mexico border, he understands that he
   19 would likely be turned away again. J.D. is currently staying temporarily with his
   20 wife’s relatives in Monterrey, Mexico and is afraid to return to Honduras. J.D. can
   21 no longer remain in Mexico and have no place else to turn for safety but the
   22 United States.
   23          29.   Plaintiff Roberto Doe is a male native and citizen of Nicaragua.
   24 Fearing for his life and the lives of his family members, Roberto fled Nicaragua
   25 due to threats of violence from the Nicaraguan government and paramilitaries
   26 allied with the government. Roberto sought access to the asylum process by
   27 presenting himself at the Hidalgo, Texas POE. When he encountered CBP officials
   28                                            14
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         in the middle of the bridge, he told them that he wanted to seek asylum in the
    1 United States. CBP officials denied Roberto access to the asylum process by
    1=
    2 telling him the POE was full and that he could not enter. Mexican officials then
    1=
    3 escorted Roberto back to Mexico. At the time of the filing of the First Amended
    1=
    4 Complaint, Roberto desired to return immediately to the Hidalgo POE to seek
    1=
    5 asylum, but based on his experiences and the experiences of others with CBP’s
    1=
    6 practices at the U.S.-Mexico border, he understood that he would likely be turned
    1=
    7 away again. After the filing of the First Amended Complaint, Roberto did return to
    1=
    8 the Hidalgo POE, where Mexican officials detained him as he was walking onto
    1=
    9 the international bridge to seek access to the asylum process in the United States.
    1=
   10 Roberto remains in the custody of the Mexican government. On information and
   11 belief, his refoulement to Nicaragua is imminent. He can no longer remain in
   12 Mexico and has no place else to turn for safety but the United States.
   13          30.   Plaintiff Maria Doe is a female native and citizen of Guatemala and a
   14 permanent resident of Mexico. She was married to a Mexican citizen, with whom
   15 she has two children who were both born in Mexico. Since Maria left her husband,
   16 who was abusive and is involved with cartels, two different cartels have been
   17 tracking and threatening her. Maria and her children fled and sought access to the
   18 asylum process by presenting themselves at the Laredo, Texas POE. When Maria
   19 encountered CBP officials in the middle of the bridge, she told them that she and
   20 her children wanted to seek asylum in the United States. CBP officials told them to
   21 wait on the Mexican side of the bridge. There, two Mexican officials told Maria
   22 that U.S. officials would not let her and her children cross the bridge, but that they
   23 could help her if she paid a bribe. Having no money to pay the bribe, Maria
   24 traveled with her children to Reynosa, Mexico. There, accompanied by an
   25 American lawyer, they sought access to the asylum process by presenting
   26 themselves at the Hidalgo POE. On the Mexican side of the bridge leading to the
   27 Hidalgo POE, a Mexican official threatened to destroy Maria’s identity documents
   28                                             15
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         if she and her children did not leave the bridge. Two weeks later, Maria and her
    1 children, accompanied by the same American lawyer, again sought access to the
    1=
    2 asylum process by presenting themselves at the Hidalgo POE. When Maria
    1=
    3 encountered CBP agents at the middle of the bridge, she told them that she and her
    1=
    4 children wanted to seek asylum in the United States. Mexican officials then forced
    1=
    5 Maria and her children off the bridge. Although Maria and her lawyer repeatedly
    1=
    6 told CBP officials that she and her children wanted to seek asylum in the United
    1=
    7 States, the CBP officials denied Maria and her children access to the asylum
    1=
    8 process. At the time the First Amended Complaint was filed, Maria and her
    1=
    9 children desired to return immediately to a POE to seek asylum, but based on their
    1=
   10 experience and the experiences of others with CBP’s practices at the U.S.-Mexico
   11 border, she understood that they would likely be turned away again. Maria and her
   12 children remained in Mexico, where their lives were in danger. They could no
   13 longer remain in Mexico and had no place else to turn for safety but the United
   14 States. Following the filing of the First Amended Complaint in this case,
   15 Defendants made arrangements to facilitate the entry of Maria and her children
   16 into the United States.
   17          31.   Plaintiff Juan Doe is a male native and citizen of Honduras. Plaintiff
   18 Ursula Doe is a female native and citizen of Honduras. Juan and Ursula are
   19 husband and wife and together have two children, twin thirteen-year-old boys.
   20 They fled Honduras with their sons after receiving death threats from gangs. Juan,
   21 Ursula, and their children sought access to the asylum process by presenting
   22 themselves at the Laredo POE. When Juan, Ursula, and their children reached the
   23 middle of the bridge to the POE, CBP officials denied them access to the asylum
   24 process by telling them the POE was closed and that they could not enter. Juan,
   25 Ursula, and their children subsequently tried to seek access to the asylum process
   26 by presenting themselves at the Hidalgo POE, but Mexican officials stopped them
   27 just as they were entering the pedestrian walkway on the Reynosa bridge and
   28                                            16
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         threatened to deport them to Honduras if they did not leave. At the time the First
    1 Amended Complaint was filed, Juan, Ursula, and their children desired to return
    1=
    2 immediately to the Hidalgo POE to seek asylum, but based on their experience and
    1=
    3 the experiences of others with CBP’s practices at the U.S.-Mexico border, they
    1=
    4 understood that they would likely be turned away again. At that time, Juan, Ursula,
    1=
    5 and their children resided in Reynosa, Mexico, where they remained in fear for
    1=
    6 their lives. They could no longer remain in Mexico and had no place else to turn
    1=
    7 for safety but the United States. Following the filing of the First Amended
    1=
    8 Complaint in this case, Defendants made arrangements to facilitate the entry of
    1=
    9 Juan, Ursula, and their children into the United States.
    1=
   10       32. Plaintiff Victoria Doe is a sixteen-year old female native and citizen
   11 of Honduras. Victoria has been threatened with severe harm and death by
   12 members of the 18th Street gang for refusing to become the girlfriend of one of the
   13 gang’s leaders. Fearing for her life, Victoria fled to Mexico where she gave birth
   14 to her son. Victoria and her son sought access to the asylum process by presenting
   15 themselves at the San Ysidro POE. When Victoria expressed her desire to seek
   16 asylum in the United States, CBP officers denied her access to the asylum process
   17 by stating that she could not apply for asylum at that time and telling her to speak
   18 to a Mexican official without providing any additional information. At the time the
   19 First Amended Complaint was filed, Victoria desired to return immediately to the
   20 San Ysidro POE to seek asylum on behalf of herself and her son, but based on her
   21 experience and the experience of others with CBP’s practices at the U.S.-Mexico
   22 border, she understood that she would likely be turned away again. At that time,
   23 Victoria and her son were residing in a shelter in Tijuana, but could no longer
   24 remain in Mexico because of threats from gangs who continued to target them in
   25 Mexico. They had no place else to turn for safety but the United States. Following
   26 the filing of the First Amended Complaint in this case, Defendants made
   27 arrangements to facilitate the entry of Victoria and her child into the United States.
   28                                           17
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              33.   Plaintiff Bianca Doe is a transgender woman who is a native and
    1 citizen of Honduras. Bianca has been subjected to extreme and persistent physical
    1=
    2 and sexual assault, as well as discrimination and ongoing threats of violence in
    1=
    3 Honduras and Mexico City, where she subsequently moved, because she is a
    1=
    4 transgender woman. Fearing for her safety based on numerous threats and
    1=
    5 harassment, including at the hands of Mexican police, Bianca fled to Tijuana and
    1=
    6 sought access to the asylum process by presenting herself at the San Ysidro POE.
    1=
    7 CBP officers denied Bianca access to the asylum process by stating that she could
    1=
    8 not apply at that time because they were at capacity. Bianca returned to the POE
    1=
    9 the next day. She was given a piece of paper with the number “919,” placed on a
    1=
   10 waiting list, and told that she would have to wait several weeks to proceed to the
   11 POE. Feeling desperate and unsafe, Bianca attempted to enter the United States
   12 without inspection by climbing a fence on a beach in Tijuana. Once over the fence,
   13 a U.S. Border Patrol officer stopped Bianca, who expressed her desire to seek
   14 asylum in the United States. The U.S. Border Patrol officer told Bianca that there
   15 was no capacity in U.S. detention centers and threatened to call Mexican police if
   16 Bianca did not climb the fence back into Mexico. Terrified, Bianca returned to
   17 Mexico. Bianca subsequently sought access to the asylum process by again
   18 presenting herself at the San Ysidro POE. She was told, once again, that CBP had
   19 no capacity for asylum seekers. At the time the First Amended Complaint was
   20 filed, Bianca desired like to return immediately to the San Ysidro POE to seek
   21 asylum, but based on her experience and the experience of others with CBP’s
   22 practice at the U.S.-Mexico border, she understood that she would likely be turned
   23 away again. At that time, Bianca was residing in a shelter in Tijuana where she
   24 feared further violence as a transgender woman. She could no longer remain in
   25 Mexico and had no place else to turn for safety but the United States. Following
   26 the filing of the First Amended Complaint in this case, Defendants made
   27 arrangements to facilitate Bianca’s entry into the United States.
   28                                          18
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              34.   Plaintiff Emiliana Doe is a transgender woman and a native and
    1 citizen of Honduras. Emiliana was subjected to multiple sexual and physical
    1=
    2 assaults, kidnapping, discrimination, as well as threats of severe harm and
    1=
    3 violence in Honduras because she is a transgender woman. Fearing for her life, she
    1=
    4 made an arduous and dangerous journey to Mexico, where she was raped
    1=
    5 repeatedly and threatened with death. After arriving in Tijuana, Emiliana sought
    1=
    6 access to the asylum process by presenting herself at the San Ysidro POE and
    1=
    7 stating her intention to apply for asylum in the United States. She was given a
    1=
    8 piece of paper with the number “1014” on it, placed on a waiting list, and told to
    1=
    9 return in six weeks. Feeling desperate and unsafe, Emiliana returned to the POE
    1=
   10 just a few weeks later. CBP officers denied Emiliana access to the asylum process
   11 by telling her that there was no capacity for asylum seekers and instructing her to
   12 wait for Mexican officials. At the time the First Amended Complaint was filed,
   13 Emiliana desired like to return immediately to the San Ysidro POE to seek asylum,
   14 but based on her past experience with CBP’s practice at the U.S.-Mexico border,
   15 she understood that she would likely be turned away again. At that time, Emiliana
   16 was residing in a hotel in Tijuana where she feared further violence as a
   17 transgender woman. She suffers from serious health issues caused by a stroke two
   18 years ago, could no longer remain in Mexico, and had no place else to turn for
   19 safety but the United States. Following the filing of the First Amended Complaint
   20 in this case, Defendants made arrangements to facilitate Emiliana’s entry into the
   21 United States.
   22       35. Plaintiff Cesar Doe is an eighteen-year old male native and citizen of
   23 Honduras. Cesar has been threatened numerous times with severe harm and death
   24 and kidnapped by members of the 18th Street gang. Fearing for his life, Cesar fled
   25 Honduras and traveled to Tijuana. Cesar sought access to the asylum process by
   26 presenting himself at the San Ysidro POE, but was intercepted by individuals
   27 belonging to “Grupo Beta.” Cesar was told he would be placed on a waitlist, but
   28                                        19
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         instead was detained for twelve days by Mexican immigration under threat of
    1 deportation to Honduras. After an individual at a local shelter secured Cesar’s
    1=
    2 release from detention, he returned to the San Ysidro POE and was placed on a
    1=
    3 waitlist. After a few weeks, Cesar again sought access to the asylum process by
    1=
    4 presenting himself at the San Ysidro POE, but CBP officers refused to accept him.
    1=
    5 A few weeks later, he returned to the San Ysidro POE, but members of Grupo Beta
    1=
    6 intercepted him and threatened to call Mexican immigration officials and child
    1=
    7 protective services. A staff member from Plaintiff Al Otro Lado intervened and
    1=
    8 escorted Cesar back to the shelter. At the time the First Amended Complaint was
    1=
    9 filed, Cesar desired to return immediately to the San Ysidro POE to seek asylum,
    1=
   10 but based on his experience and the experiences of others with CBP’s practices at
   11 the U.S.-Mexico border, he understood that he would likely be turned away again.
   12 At that time, Cesar wass residing in a shelter in Tijuana, could no longer remain in
   13 Mexico because of crime, violence and threats from gangs, and had no place else
   14 to turn for safety but the United States. Following the filing of the First Amended
   15 Complaint in this case, Defendants made arrangements to facilitate Cesar’s entry
   16 into the United States.
   17          B.    Defendants
   18          25.36.Defendant John F. KellyKirstjen Nielsen is the Secretary of the
   19 United States Department of Homeland Security (“DHS”)DHS. In this capacity,
   20 heshe is charged with enforcing and administering U.S. immigration laws. HeShe
   21 oversees each of the component agencies within DHS, including CBP, and has
   22 ultimate authority over all CBP policies, procedures and practices. HeShe is
   23 responsible for ensuring that all CBP officials perform their duties in accordance
   24 with the Constitution and all relevant laws.
   25          26.37.Defendant Kevin K. McAleenan is Actingthe Commissioner of CBP.
   26 In this capacity, he has direct authority over all CBP policies, procedures and
   27 practices, and is responsible for ensuring that all CBP interactions with asylum
   28                                            20
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         seekers are performed in accordance with the Constitution and all relevant laws.
    1 Defendant McAleenan oversees a staff of more than 60,000 employees, manages a
    1=
    2 budget of more than $13 billion, and exercises authority over all CBP operations.
    1=
    3          27.38.Defendant Todd C. Owen is the Executive Assistant Commissioner of
    1=
    4 CBP’s Office of Field Operations (“OFO”). OFO is the largest component of CBP
    1=
    5 and is responsible for border security, including immigration and travel through
    1=
    6 U.S. POEs. Defendant Owen exercises authority over 20 major field offices and
    1=
    7 328 POEs. Defendant Owen oversees a staff of more than 29,000 employees,
    1=
    8 including more than 24,000 CBP officials and specialists, and manages a budget
    1=
    9 of more than $5.2 billion. Defendant Owen is responsible for ensuring that all
    1=
   10 OFO officials perform their duties in accordance with the Constitution and all
   11 relevant laws.
   12          28.39.Does 1 through 25, inclusive, are sued herein under fictitious names
   13 inasmuch as their true names and capacities are presently unknown to Al Otro
   14 Lado and Class Plaintiffs. Al Otro Lado and Class Plaintiffs will amend this
   15 complaint to designate the true names and capacities of these parties when the
   16 same have been ascertained. Al Otro Lado and Class Plaintiffs are informed and
   17 believe, and on that basis allege, that Does 1 through 25, inclusive, were agents or
   18 alter egos of Defendants, or are otherwise responsible for all of the acts hereinafter
   19 alleged. Al Otro Lado and Class Plaintiffs are informed and believe, and on that
   20 basis allege, that the actions of Does 1 through 25, inclusive, as alleged herein,
   21 were duly ratified by Defendants, with each Doe acting as the agent or alter ego of
   22 Defendants, within the scope, course, and authority of the agency. Defendants and
   23 Does 1 through 25, inclusive, are collectively referred to herein as “Defendants.”
   24                       IV. FACTUAL BACKGROUND
   25          A.    Humanitarian Crisis South of the U.S.-Mexico Border
   26          29.40.In recent years, children and adults have fled horrendous persecution
   27 in their home countries and arrived at POEs along the U.S.-Mexico border to seek
   28                                          21
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              protection in the United States through the asylum process. TheWhile asylum
     1 seekers travel to the U.S.-Mexico border from all across the world, including from
    3 =   ;




     2 Haiti, Cuba, Venezuela and Iraq, the vast majority of these individuals come from
    3 =   ;




     3 Guatemala, Honduras and El Salvador, an area often termed Central America’s
    3 =   ;




     4 “Northern Triangle.”
    3 =   ;




     5
    3 =   ;

                    30.   These41.    The Northern Triangle governments are known for
     6 corruption,13
    3 =   ;




     7 including having corrupt police forces filled with gang-related members.24
    3 =   ;




     8 Furthermore, the “penetration of the state by criminal groups” is responsible, at
    3 =   ;




     9 least in part, for the fact that as many as 95% of crimes go unpunished.3 in those
    3 =   ;




   10 countries.5
   11
      13   See Christina Eguizabal et al., Woodrow Wilson Center Reports on the
   12
              1=




         Americas No. 34, Crime and Violence in Central America’s Northern Triangle,
   13    The Wilson Ctr., 2 (2015: How U.S. Policy Reponses are Helping, Hurting, and
         Can be Improved 2
   14    (7015),https://www.wilsoncenter.org/sites/default/files/FINAL%20PDF
   15    https://www.wilsoncenter.org/sites/
         default/files/FINAL%20PDF_CARSI%2OREPORT_CARSI%2DREPORT
   16    0.pdf+; see also U.S. Dep’t of State, Bureau of — Democracy, Human Rights &
   17    Labor, Country Reports on Human Rights Practices for 2017,
         https://www.state.gov/j/drl/r1s/hrrpt/humanrightsreport/ index.htm#wrapper
   18    (noting “widespread government corruption” is a significant human rights issue
   19    in El Salvador, Guatemala, and Honduras).
      24   “Over the past five years, at least 435 members of the [Salvadoran] armed
   20
              =




         forces were fired for being gang members or having ties to gangs . . . . Another
   21    39 aspiring police officers were expelled from the National Public Security Acad
         emy over the same period, of which 25 ‘belonged to’ the Mara Salvatrucha, or
   22    MS13, while 13 were from the Barrio 18 gang. Nine more active, police.
   23    officers were also dismissed for alleged gangan ties over the five years.”’ Mimi
                                                           .=,                             1=   ;




         Yagoub, 480 Gang Members Infiltrated ElInfiltratecrEl Salvador Security
   24    Forces: Report, InSight Crime (Feb. 22, 2016),
   25    httphttps://www.insightcrime.org/
         news-briefs/brief/did-480-gang-members-infiltrate-el-salvador-security-forces/
   26
                                                                                                    .   =   ..




         (citation omitted).
   27 3   Eguizabal et al., supra note 1, at 2.
      5   Eguizabal et al., supra note 3, at 2.
   28                                            22
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                  31.42.The “pervasive and systematic levels of violence” associated with the
    1 increasing reach and power of gangs in the Northern Triangle have been well
    3=,




    2 documented.46 Those fleeing the Northern Triangle cite “violence [from] criminal
    3=,




    3 armed groups, including assaults, extortion, and disappearances or murder of
    3=,




    4 family members,”57 as reasons for their flight. These armed groups operate with
    3=,




    5 impunity due to their influence and control over the governments of Northern
    3=,




    6 Triangle countries, which have repeatedly proven to be unable or unwilling to
    3=,




    7 protect their citizens.68 The degree of violence suffered by people in the Northern
    3=,




    8 Triangle has been compared to that experienced in war zones.79
    3=,




    9
          46    UNHCR, Women on the Run: First-Hand Accounts of Refugees Fleeing El
    3=,




   10
          1=,




             Salvador, Guatemala, Honduras, and Mexico, 15 (2015), http://www.unhcr.org/
   11        en-us/publications/operations/5630f24c6/women-run.html [hereinafter Women o
             n the Run]; see also Int’l Crisis Grp., Latin America Report No. 64, El
   12        Salvador’s Politics of Perpetual Violence 8-11 (2017), hops://d2071 andvipOwj
   13        .cloudfront.net/064-el-salvador-s-politics-of-perpetual-violence.pdf.
          5    Id7 Women on the Run, supra note 6, at 15; see Refugees Intl, Closing
   14       OffAsylum at the U.S.-Mexico Border 7 (2018),
   15       https://staticl.squarespace.com/static/506c8eale4bOld9450dd53f5/t/5b86d0a18
            825
   16       lbbfd495ca3b/1535561890743/U.S.-Mexico+Border+Report+-+August+2018+-+
   17       FINAL.pdf [hereinafter Closing Off Asylum]; Intl Crisis Grp., Latin America
            Report No. 62, Mafia of the Poor: Gang Violence and Extortion in Central
   18       America 2 (2017),
   19       https://d2071andvipOwj.cloudfront.net/062-mafia-of-the-poor_O.pdf.
          6    Id.8 Women on the Run, supra note 6, at 16 (finding that citizens of Northern
   20       Triangle countries are “murdered with impunity”); id. at 23 (finding that 69% of
   21       women interviewed tried relocating within their own countries at least once
            before fleeing and indicating that 10M% “stated that the police or other
   22       authorities were the direct source of their harm”); Closing off Asylum, supra note
   23       7, at 7 (“[T]here is considerable evidence that officials in each of the Northern
            Triangle countries have extremely limited capacity — and in many cases limited
   24       will — to protect those at grave risk.”).
   25     79
          ..=..
                Medecins Sans Frontieres (Doctors Without Borders), Forced to Flee Central
             America’s Northern Triangle: A Neglected Humanitarian Crisis, 6 (2017),
   26        https://www.doctorswithoutborders.org/sites/usa/files/msfhttps://www.msforg/sit
   27        es/msforg/files/msf forced-to-flee-central-americas- northern-triangle_e.pdf
                                                                                      =




             [hereinafter Forced to Flee].
   28                                              23
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               32.       This violence and corruption is not limited to the Northern Triangle,
    1 but also is experienced by individuals fleeing Mexico. Mexico has faced a drastic
    1=
    2 rise in criminal activity since the early 2000s that is attributed to organized
    1=
    3 criminal groups and has been accompanied by increases in violence and
    1=
    4 corruption.8 Although the northern half of Mexico was often considered the most
                     -
    1=
    5 dangerous, recent reports reveal an increase in violence in the central and southern
    1=
    6 states of Mexico, particularly in Guerrero, Michoacan, and the State of Mexico.9




                                                                                                   -
    1=
    7 Along with the increase in violence and organized criminal activity, it is well
    1=
    8 documented that the police and armed forces operate with impunity in Mexico,
    1=
    9 leaving victims unable to resort to their own government for protection.10 Indeed,
    1=
   10 “[i]n some regions of Mexico the state has become so closely identified with
   11 criminal gangs and drug cartels that these criminal organizations do not need to
   12 corrupt the state — they essentially ‘are’ part of the state.”11
   13
   14    8    Dominic Joseph Pera, Drugs Violence and Public [In] Security: Mexico’s
         -
   15      Federal Police and Human Rights Abuse, 2-4, 7 (Justice in Mex. Working Paper
           Series Paper No. 1, 2015), https://justiceinmexico.org/wp-content/uploads/2015/
   16      12/151204_PERA_DOMINIC_DrugViolenceandPublicInsecurity_FINAL.pdf;
   17      see U.S. Dep’t of State, Bureau of Democracy, Human Rights and Labor,
           Country Reports on Human Rights Practices for 2014,
   18      https://www.state.gov/j/drl/r1s/hrrpt/
   19      2014humanrightsreport/index.htm?year=2014&dlid=236702#wrapper.
         9    See, e.g., U.S. Dep’t of State, Bureau of Diplomatic Sec., Mexico 2015 Crime
         -
   20      and Safety Report: Mexico City, https://www.osac.gov/pages/
   21      ContentReportDetails.aspx?cid=17114 (reporting that a “common practice is for
           gangs to charge ‘protection fees’ or add their own tax to products and services
   22      with the threat of violence for those who fail to pay”).
   23    10    See Pera, supra note 8, at 4 (“Drug trafficking organizations have infiltrated
            government positions in many areas, and their influence over state personnel
   24       has dramatic implications.”).
   25    11    Alberto Diaz-Cayeros et al., Caught in the Crossfire: The Geography of
            Extortion and Police Corruption in Mexico, 3-4 (Stanford Ctr. for Int’l Dev.,
   26       Paper No. 545, 2015),
   27       http://scid.stanford.edu/publications/caught-crossfire-geography-extortion-and-po
            lice-corruption-mexico.
   28                                                24
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                             33.43.In addition, Central American women and children often flee severe
    1 domestic violence. and sexual abuse.10 Women report prolonged instances of
    3=
         ,
    2 physical, sexual, and psychological domestic violence, and most of their accounts
    3=
         ,
    3 demonstrate that the authorities in their home countries were either unable or
    3=
         ,
    4 unwilling to provide meaningful assistance.1211 Abusive partners are often
    3=
         ,
                                                                       ..
                                                                        =
    5 members or associates of criminal armed groups.1312 Abusers frequently threaten
    3=
         ,
                                                                            ,==
    6 women with harm to their parents, siblings or children if they try to leave.1413 Some
    3=
         ,
                                                                                                           ,==
    7 women who fled their countries have heard from family members back home that
    3=
         ,
    8 their abusers continue to look for them.14 In addition, “[s]exual harassment and the
    3=
         ,
    9 threat of sexual violence by gangs shapes the everyday lives of women and girls,”
    3=
         ,
   10 in the Northern Triangle, and experts estimate that rape and torture of girls is
   11 “extremely widespread.”15
   12
   13
   14
   15
   16
   17
             10    Kids in Need of Def. & Human Rights Ctr. Fray Matias de Cordova,
   18           Childhood Cut Short: Sexual and Gender-based Violence Against Central
   19           American Migrant and Refit gee Children 12-20 (2017),
                htVs://supportkind.org/wp-content/uploads/2-017/06/Childhood-Cut-Short-KMD
   20           -SGBV-Report_June2017.pdf [hereinafter Childhood Cut Short] (describing
   21           sexual and gender-based violence against children and young women in the
                Northern Triangle).
   22        1211   Women on the Run, supra note 4,6, at 25. The women interviewed described
              3=
                         ,
                                                            3=1
   23             repeated rapes and sexual assaults as well as violent physical abuse that
                  included: “beatings with hands, a baseball bat and other weapons; kicking;
   24             threats to do bodily harm with knives; and repeatedly being thrown against
   25             walls and the ground.” Id.
             1312   Id.
   26
              ....=...
             1413   Id. at 27.
              1=,
   27        14    Id.
             15    Id.Childhood Cut Short, supra note 10, at 17.
   28                                                             25
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                   34.44.After fleeing their home countries, children and adults face an
    1 arduous and dangerous journey to the United States.16 The situation along the
    3=
         ,
    2 popular migration routes to the United States has been termed a “humanitarian
    3=
         ,
    3 crisis” because of the extraordinary violence faced by those making the journey.17
    3=
         ,
    4 In 2015 and 2016, 68% of migrants from the Northern Triangle region
    3=
         ,
    5 experienced violence, including sexual assault, on their journeys through Central
    3=
         ,
    6 America and Mexico.18 Mexico has faced a drastic rise in criminal activity since
    3=
         ,
    7 the early 2000s that is attributed to cartels and has been accompanied by increases
    3=
         ,
    8 in violence and corruption.19 The rate of violence continues to rise; 2017 was the
    3=
         ,
    9
    3=
         ,
   10
   11
             16   See id.Women on the Run, supra note 6, at 43-45 (describing extortion, sexual
                violence, and physical violence); see also Rodrigo Dominguez Villegas,
   12           Central American Migrants and “La Bestia”: The Route, Dangers, and
   13           Government Responses, Migration Info. Source (Sept. 10, 2014),
                http://www.migrationpolicy.org/article/central-american-migrants-and-%E2%80%
   14           9Cla-bestia%E2%80%9D-route-dangers-and-government-responses
   15           httTs://www.migratioppolicy.org/article/central-american-migrants-and-%E2%80
                %9Cla-bestia%E2%80u/o9D-route-dangers-and-government-responses(listing
   16           “injury or death from unsafe travelling conditions, gang violence, sexual
   17           assault, extortion, kidnapping, and recruitment by organized crime” as dangers
                faced on the journey to the United States).
   18        17   See EguizábalEguizabal et al., supra note 1,3, at 3.
                                                            =
   19        18   See Forced to Flee, supra note 7,9, at 11. Close to half (44%) of the migrants
                                                  =
                reported being hit, 40% said they had been pushed, grabbed or asphyxiated, and
   20           7% said they had been shot. Id. Nearly one-third (31.4%) of women and 17.2%
   21           of men surveyed during that same time period had been sexually abused during
                their journeys. Id. at 12.
   22        19   Dominic Joseph Pera, Drugs Violence and Public [In] Security: Mexico’s
   23           Federal Police and Human Rights Abuse, 2-4, 7 (Justice in Mex. Working
                Paper Ser. Vol. 14, No. 1, 2015),
   24           https://justiceinmexico.org/wp-content/uploads/2015/12/151204_PERA_DOMIN
   25           IC_DrugViolenceandPublicIn security_FINAL.pdf; see U.S. Dep’t of State,
                Bureau of Democracy, Human Rights & Labor Country Reports on Human
   26           Rights Practices for 2017 (Mexico), http://www.
   27           state.gov/j/drl/r1s/hrrpt/humanrightsreport/index.htm?year=2017
                &dlid=277345.
   28                                                 26
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         deadliest year on record in Mexico.20 Although the northern half of Mexico was
    1 often considered the most dangerous, recent reports reveal an increase in violence
    1=
    2 in the central and southern states of Mexico, particularly in Guerrero, Michoacan,
    1=
    3 and the State of Mexico.21 The U.S. State Department currently advises “no
    1=
    4 travel”—its highest level of travel warning, which also applies in active war zones
    1=
    5 like Syria, Afghanistan, and Yemen—to five Mexican states due to high crime
    1=
    6 rates.22 Human rights groups report that since mid-2017, “the dangers facing
    1=
    7 refugees and migrants in Mexico have escalated.”23 Perpetrators of violence
    1=
    8 against migrants “include[] members of gangs and other criminal organizations, as
    1=
    9 well as members of the Mexican security forces.19
    1=
   10
   11
   12
   13
         20   Human Rights First, Mexico: Still Not Safe for Refugees and Migrants 1
            (2018),
   14       https://www.humanrightsfirst.org/sites/default/files/Mexico_Not_Safe.pdf
   15       [hereinafter Mexico: Still Not Safe].
         21   See, e.g., U.S. Dep’t of State, Bureau of Diplomatic Sec., Mexico 2015 Crime
   16       and Safety Report: Mexico City, https://www.osac.gov/pages/ContentReport
   17       Details.aspx?cid=17114 (reporting that a “common practice is for gangs to
            charge ‘protection fees’ or add their own tax to products and services with the
   18       threat of violence for those who fail to pay”); see also Human Rights First,
   19       Dangerous Territory: Mexico Still Not Safe for Refugees 4 (2017), http://www
            .humanrightsfirst.org/sites/default/files/HRF-Mexico-Asylum-System-rep.pdf[her
   20       einafter Dangerous Territory] (“Human rights monitors stressed that there is a
   21       large presence of transnational gangs in southern Mexico, which have easy acces
            s to those fleeing gang persecution in the Northern Triangle.”) (citations
   22       omitted).
   23    22   U.S. Dep‘t of State Bureau of Consular Affairs Mexico Travel Advisory (Aug.
            22, 2018), https://iravel.state.gov/content/travel/en/traveladvisories/
   24       traveladvisories/mexico-travel-advisory.html [hereinafter Mexico Travel
   25       Advisory].
         23   Mexico: Still Not Safe, supra note 20, at 1; see also Dangerous Territory,
   26       supra note 21, at 3 (“Human rights monitors report an increase in kidnappings,
   27       disappearances, and executions of migrants and refugees in recent years.”).
         19   Id. at 5.
   28                                           27
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             ”24 Along with the increase in violence and organized criminal activity, it is well
    1 documented that the police and armed forces operate with impunity in Mexico,
    3=
         ,
    2 leaving victims unable to resort to the government for protection.25 Indeed, “[i]n
    3=
         ,
    3 some regions of Mexico the state has become so closely identified with criminal
    3=
         ,
    4 gangs and drug cartels that these criminal organizations do not need to corrupt the
    3=
         ,
    5 state—they essentially ‘are’ part of the state.”26 Thus, the initial mistrust and
    3=
         ,
    6 inability to rely upon government authorities for protection that leads many to flee
    3=
         ,
    7 their home countries accompanies them along their journeys.20 through Mexico.27
    3=
         ,
    8        45. Furthermore, migrants seeking international protection have a small
    3=
         ,
    9 chance of receiving it in Mexico. Amnesty International reports that “the Mexican
    3=
         ,
   10 government is routinely failing in its obligations under international law to protect
   11 those who are in need of international protection, as well as repeatedly violating
   12
   13
             24   Forced to Flee, supra note 9, at 5; see also Closing Off Asylum, supra note 7,
   14           at 9 (explaining that when crossing Mexico, migrants suffer “abuses at the
   15           hands of organized crime, exploitative smugglers, and predatory state security
                and police”).
   16        25 See Pera, supra note 19, at 4 (“Drug trafficking organizations have infiltrated

   17                 government positions in many areas, and their influence over state
                      personnel has dramatic implications.”); Ximena Suarez et al., Wash.
   18                 Office on Latin Am., Access to Justice for Migrants in Mexico: A Right
   19                 That Exists Only on the Books, 24-27, 30-31 (2017),
                      https://www.wola.org/wp-content/uploads/2017/07/Access-to-Justice-for-M
   20                 igrants_July-2017.pdf [hereinafter Access to Justice] (documenting
   21                 Mexican authorities’ unwillingness to investigate crimes against migrants).
             26 Access to Justice, supra note 25, at 30-31; Alberto Diaz-Cayeros et al., Caught
   22                     in the Crossfire: The Geography of Extortion and Police Corruption in
   23                     Mexico, 3-4 (Stanford Ctr. for Int’l Dev., Working Paper No. 545,
                          2015),
   24                     https://globalpoverty.stanford.edu/sites/default/files/publications/545wp
   25                     _0.pdf.
             20 27 See, e.g., Villegas, supra note 16 (referencing documentation of “the abuse
   26
                  =
                of power by various Mexican authorities, including agents from the National
   27           Migration Institute, municipal governments, and state police” against
                individuals traveling to the U.S. border).
   28                                                  28
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          the non-refoulement principle.”28
    1
    3=,




    2
    3=,

                35.46.In addition, Mexico’s northern border region is particularly
    3 plaguedparticularlyplagued with crime and violence, presenting renewed dangers
    3=,




    4 for asylum seekers just as they approach their destination.2129 The state of
    3=,




    5 Tamaulipas, which borders South Texas cities including Laredo, McAllen, and
    3=,




    6
    3=,




      28 Amnesty Intl, Overlooked, Under-Protected Mexico’s Deadly Refoulement of
    7
                     Central Americans Seeking Asylum 2 (2018),
    3=,




    8
    3=,
                     https://www.amnesty.org/
    9                download/Documents/AMR4176022018ENGLISH.PDF; see id. at
                     8-20 (describing the multiple layers of institutional failure leaving
    3=,




   10                refugees and asylum seekers vulnerable to refoulement in Mexico);
   11                accord Francisca Viand-Walsh et al., Refugees Intl, Putting Lives at
                     Risk: Protection Failures Affecting Hondurans and Salvadorans
   12                Deported from the United States and Mexico 11-12 (2018),
   13                https://static1.squarespace.com/static/506c8eale4b01
                     d9450dd53f5/t/5a849f81c830250842098d87/1518641035445/Norther
   14                n+Triangl e+-+Refugees+International.pdf; Dangerous Territory,
   15                supra note 21, at 4-9.
      21 29 See U .S. Dep’t of State, Mexico Travel Warning (Dec. 8, 2016), https:// trave
   16
           =




         l.state.gov/content/passports/en/alertswarnings/mexico-travel-warning.htmlMexic
   17    o Travel Advisory, supra note 22 (reporting violent crime and an increase in
         homicide .in the state of BajaBata California (includingencompassing
   18
                     1.




         bordertowns Tijuana and Mexicali); criminal compared to 2016; widespread
   19    violent crime and gang activity and violence in the state of Chihuahua
         (including Ciudad Juarez); violence and criminal activity, including homicide,
   20    armed robbery, carjacking, kidnapping, extortion, and sexual
   21    assaultencompassing border town Ciudad Juarez); widespread violent crime and
         limited law enforcement capacity to prevent and respond to crime in the state of
   22    Coahuila (particularly along the highways between Piedras Negras and Nuevo
   23    Laredoin the northern part of the state); that the state of Sonora
         (includingencompassing border town Nogales) is a key region in the
   24    international drug and human trafficking trades; and common violent crime,
   25    including homicide, armed robbery, carjacking, kidnapping, extortion, and
         sexual assault in the state of Tamaulipas (includingencompassing border towns
   26    Matamoros, Nuevo Laredo, and Reynosa), where state and municipal law
   27    enforcement capacity to respond to violence is limited to nonexistent in most
         parts ofthroughout the state).
   28                                             29
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                                                                    SECOND AMENDED COMPLAINT FOR
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        Brownsville, is on the U.S. State Department’s “no travel” list.30 Most of Mexico’s
    1 other border states, including Sonora, Chihuahua, Coahuila, and Nuevo Leon, are
    -
    2 classified at Level 3, “Reconsider Travel,” due to the prevalence of violent crime
    -
    3 and gang activity.31 The most pervasive problems migrants face in Mexico’s
    -
    4 northern border states include disappearances, kidnappings, rape, trafficking,
    -
    5 extortion, execution andexecutionand sexual and labor exploitation by state and
    -
    6 non-state actors.2232
    -
                         ==..
    7   Recently, the situation at the border has worsened: smugglers have increased their
    -
    8 prices, cartel members have increased their surveillance and control of areas
    -
    9 around border crossings, and the number of migrants kidnapped and held for
    -
   10 ransom has increased.2333 Even migrants in the immediate vicinity of a POE are at
   11 risk of violence and exploitation.34 Those who seek refuge in shelters may be in
   12
   13
   14
   15
        30   Id.
   16   31   Id.
        22 32 B. Shaw Drake et al., Human Rights First, Crossing the Line: U.S. Border
   17
             1=
                  ,
           Agents Illegally Reject Asylum Seekers, Human Rights First, 16 (2017),


                                                                                      -
   18      hops https://www.humanrightsfirst. org/
   19      sites/default/files/hrf-crossing-the-line-report.pdf [hereinafter Crossing the
           Line].
   20   23 33 Id.
             -
        34 Josiah Heyman & Jeremy Slack, Blockading Asylum Seekers at Ports of Entry
   21
                    at the US-Mexico Border Puts Them at Increased Risk of Exploitation, V
   22               iolence, and Death, Ctr. for Migration Stud. (June 25, 2018),
   23               http://cmsny.org/publications/heyman-slack-asylum-poe/#_ednrefl1.pdf
                    (“When asylum-seekers are turned away by US authorities, they return
   24               to areas around the Mexican-side POEs. These are characteristically
   25               busy zones of businesses, restaurants, bars, discos, drug sellers,
                    hustlers, and commercial sex work, although each border port has its
   26               own characteristics. They are areas that increase the vulnerability and
   27               exploitability of non-Mexican migrants with little knowledge and few
                    resources.”).
   28                                            30
                                                                          No. 3:17-cv-02366-BAS-KSC
                                                                  SECOND AMENDED COMPLAINT FOR
                                                               DECLARATORY AND INJUNCTIVE RELIEF
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         particular danger. Some shelters are infiltrated by organized crime, while others
    1 have been the sites of recent vandalism, burglary, threats, and kidnapping.35
    1=
    2       36. By rejecting asylum seekers47. By turning back individuals who seek
    1=
    3 to access the asylum process by presenting themselves at POEs on the
    1=
    4 U.S.-Mexico border, Defendants are forcing them to return to the dangerous
    1=
    5 conditions that drove them to flee their countries in the first place.2436
    1=
    6       B.     Defendants’ Systematic, Illegal Practice Policy and Widespread
    1=
    7                Practices of Denying Asylum Seekers Access to the Asylum
    1=
    8                Process
    1=
    9          37.   Since at least the summer of48. Starting in 2016 and continuing to the
    1=
   10 present, CBP officials, at or under the direction or with the knowledge and
   11 acquiescence or authorization of Defendants, have consistently and systematically
   12 preventedrestricted the number of asylum seekers arriving atwho can access the
   13 U.S. asylum process through POEs along the U.S.-Mexico border from accessing
   14
   15
   16
   17
   18
   19
   20
   21    35   Id.; Wash. Office on Latin Am. et al., Situation of Impunity and Violence In
                   Mexico’s Norther Border Region 2-4 (Mar. 2017),
   22              https://www.wola.org/wp-content/uploads/2017/04/Situation-of-Inmunity-a
   23              nd-Violence-in-Mexicos-northern-border-LAWG-WOLA-KBI.pdf.
         24    Id.36 Crossing the Line, supra note 32, at 16; see also B. Shaw Drake,
   24       Human Rights First, Violations at the Border: The El Paso Sector, Human
   25       Rights First, 2-3 (2017), http://www.humanrightsfirst.org/sites/default/
            files/hrf-violations-at-el-paso-border-rep.pdfhttps://www.humanrightsfirst.org/res
   26       ource/violations-border-el-paso-sector (explaining the risks facing asylum
   27       seekers who are turned awayback at U.S. POEs, including being deported back
            to their home countries where they face persecution).
   28                                             31
                                                                            No. 3:17-cv-02366-BAS-KSC
                                                                    SECOND AMENDED COMPLAINT FOR
                                                                 DECLARATORY AND INJUNCTIVE RELIEF
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          the U.S. asylum process.25.37 "=




    1
    3=,

          CBP’s illegal practice, which violates U.S. and international law, has been
    2 documented in hundreds of cases at POEs That has been accomplished both
    3=,




    3 through the Turnback Policy that seeks to restrict access to the asylum process and
    3=,




    4 also through widespread practices across the U.S.-Mexico border also designed to
    3=,




    5 deny access to the asylum process.
    3=,




    6
    3=,




    7
    3=,




    8
    3=,




    9
          25 37
            =
                There is anecdotal evidence that CBP officials began unlawfully dissuading
            asylum seekers from pursuing their claims or flatly refusing them entry to the
    3=,




   10       United States even prior to 2016. See AmericanSara Campos & Joan Friedland,
   11       Am. Immigration Council, Mexican and Central American Asylum and
            Credible Fear .Claims: Background and Context, 10 (2014),
   12
                               ,=..




            https://www.americanimmigrationcouncil.org/sites/
   13       default/files/research/asylum_andcredible_fear_https://www.ameKican immigrat
            ioncouncir. org/sites/default/files/researcb/asylum_and_credible_fear_
   14       claims_final_0.pdf (reporting that Mexican asylum seekers arriving in El Paso
   15       “expressed a fear of persecution [but] were told by CBP that the U.S. doesn’t
            give Mexicans asylum, and they [we]re turned back”); see also U.S. Comm’n
   16       on IntlInt’l Religious Freedom, Report on Asylum Seekers in Expedited
   17       Removal: Volume I: Findings & Recommendations, 54 (2005),            1=,




            https://www.uscirf
   18       .gov/sites/default/files/resources/stories/pdf/asylum_seekersNolume J.pdf
   19       [hereinafter 2005 USCIRF Report] (reporting that two groups of asylum seekers
            who arrived at the San Ysidro POE were “improperly refused entry to the
   20       United States for . . . lacking properroper documentation and [were] ‘pushed
   21       back’ . . . without [being] refer[red] . . . to secondary inspection” and without a
            “record of the primary inspection” being created); see also Human Rights
   22       Watch, “You Don’t Have Rights Here”: US Border Screening, and Returns of
   23       Central Americans to Risk of Serious Harm, 2, 8 (2014),
            https://www.hrw.org/report/2014/10/16/you-dont-have-rights-here/us-border-scre
   24       ening-and-returns-central-americans-risk
   25       sites/default/files/reports/us1014_web_0.pdf [hereinafter “You Don’t Have
                                                                          ==..




            Rights Here”] (concluding that the “cursory screening [conducted by CBP
   26
                        ==..




            officials] is failing to effectively identify [asylum seekers]” and reporting that
   27       some “border officials acknowledged hearing [non-citizens’] expressions of fear
            but pressured them to abandon their claims”).
   28                                                  32
                                                                                No. 3:17-cv-02366-BAS-KSC
                                                                        SECOND AMENDED COMPLAINT FOR
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                49.         Al Otro Lado and Class Plaintiffs, as well as numerous
    1 nongovernmental organizations38 and news outlets,39
    1=
    2 have documented thousands of cases in which CBP officials have arbitrarily
    1=
    3 denied and/or unreasonably delayed access to the asylum process to individuals
    1=
    4 seeking asylum by presenting themselves at POEs along the U.S.-Mexico border.40
    1=
    5 The Turnback Policy and CBP’s other widespread, unlawful practices have been
    1=
    6 documented at POEs spanning the length of the U.S.-Mexico border, including
    1=
    7 POEs in San Ysidro, California; Otay Mesa, California; Tecate, California;
    1=
    8 38 See, e.g., Crossing the Line, supra note 32; Amnesty Int’l, Facing Walls: USA
    1=
    9         and Mexico’s Violation of the Rights of Asylum Seekers 19-22 (2017),
              https://www.amnestyusa.org/wp-content/uploads/2017/06/USA-Mexico-Fa
    1=
   10         cing-Walls-REPORT-ENG.pdf [hereinafter Facing Walls]; “You Don’t
   11         Have Rights Here”, supra note 37, at 2, 4.
      39 Joshua Partlow, U.S. Border Qfficials Are Illegally Turning Away Asylum
   12            Seekers, Critics Say, Wash. Post (Jan. 16, 2017),
   13            https://www.washingtonpost.com/world/the_americas/us-border-official
                 s-are-illegally-turning-away-asylum-seekers-critics-say/2017/01/16/f7f5
   14            c54a-c6d0-11e6-acda-59924caa2450_story.html?noredirect=on&utm_te
   15            rm=.ed5c3100d451; Caitlin Dickerson & Miriam Jordan, ‘No Asylum
                 Here’: Some Say U.S. Border Agents Rejected Them, N.Y. Times (May
   16            3, 2017), https://www.nytimes.com/2017/05/03/us/
   17            asylum-border-customs.html; Rafael Carranza, Are Asylum Seekers
                 Being Turned Away at the Border?, USA Today (May 4, 2017, 10:55
   18            PM),
   19            https://www.azcentral.com/story/news/politics/immigration/2017/05/05/
   20
                      ---
                    asylum-seekers-being-turned-away-border/309398001/.
   21    40   Amnesty Intl, USA: ‘You Don’t Have Any Rights Here’: Illegal Pushbacks,
                      Arbitrary Detention & Ill-Treatment of Asylum-Seekers in the United
   22                 States 17 (2018),
   23                 https://www.amnesty.org/download/Documents/AMR5191012018
                      ENGLISH.PDF [hereinafter You Don’t Have Any Rights Here]
   24                 (“While there are no official statistics on how many people CBP has
   25                 illegally turned away without processing their asylum requests,
                      Amnesty International has received numerous secondary reports
   26                 from NGOs indicating that CBP has forced thousands of
   27                 asylum-seekers to wait in Mexico — including families with
                      children, mostly from Central America.”).
   28                                                  33
                                                                                 No. 3:17-cv-02366-BAS-KSC
                                                                         SECOND AMENDED COMPLAINT FOR
                                                                      DECLARATORY AND INJUNCTIVE RELIEF
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         Calexico, California; San Luis, Arizona; Nogales, Arizona; El Paso, Texas; Del
    1 Rio, Texas; Eagle Pass, Texas; El Paso, Texas; Laredo, Texas; andRoma, Texas;
    1=
    2 Hidalgo, Texas, among others; Los Indios, Texas; and Brownsville, Texas.
    1=
    3          38.   CBP’s practice of denying asylum seekers access to the asylum
    1=
    4 process has been well documented.26 Al Otro Lado and Class Plaintiffs, as well as
    1=
    5 numerous non-governmental organizations27 and news outlets,28 have documented
    1=
    6
    1=
    7
         26   See, e.g., Borderland Immigration Council, Discretion to Deny: Family
            Separation, Prolonged Detention, and Deterrence of Asylum Seekers at the
    1=
    8       Hands of Immigration Authorities Along the U.S. Mexico Border, 12 (2017),
    1=
    9       https:// media.wix.com/ugd/e07ba9_72743e60ea6d4c3aa796becc71c3b0fe.pdf (r
            eporting that “it is commonplace for asylum seekers to be placed in expedited
    1=
   10       removal proceedings and summarily deported . . ., despite expressing fear”);
   11       U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection: The Treatment
            of Asylum Seekers in Expedited Removal, 20 (2016) (reporting that despite
   12       findings and recommendations in a 2005 study relating to primary inspection,
   13       USCIRF observers in 2016 continued to find “several examples of
            non-compliance with required procedures” in CBP primary inspection
   14       interviews); see also 2005 USCIRF Report, supra note 25, at 54 (finding that, in
   15       approximately half of the inspections observed, inspectors failed to read the
            proper advisals regarding asylum to the non-citizen and that “in 15 percent of
   16       [the] cases [ ] where an arriving [non-citizen] expressed a fear of return to the
   17       inspector, that [non-citizen] was not referred” for a credible fear interview).
         27   See, e.g., Crossing the Line, supra note 22; Amnesty Intl, Facing Walls: USA
   18       and Mexico’s Violation of the Rights of Asylum Seekers, 19-22 (2017),
   19       https://www.amnestyusa.org/reports/facing-walls-usa-mexicos-violation-rights-as
            ylum-seekers/ [hereinafter Facing Walls]; “You Don’t Have Rights Here,”
   20       supra note 25, at 2, 4.
         28 Joshua Partlow, U.S. Border Officials Are Illegally Turning Away Asylum
   21
            Seekers, Critics Say, Wash. Post (Jan. 16, 2017), https://www.washingtonpost.
   22       com/world/the_americas/us-border-officials-are-illegally-turning-away-asylum-se
   23       ekers-critics-say/2017/01/16/f7f5c54a-c6d0-11e6-acda-59924caa2450_story.
            html?utm_term=.83c7aed8fc6c; Caitlin Dickerson & Miriam Jordan, ‘No
   24       Asylum Here’: Some Say U.S. Border Agents Rejected Them, N.Y. Times (May
   25       3, 2017), haps ://www.nytime s.
            com/2017/05/03/us/asylum-border-customs.html; Rafael Carranza, Are Asylum
   26       Seekers Being Turned Away at the Border?, USA Today (May 5, 2017),
   27       https://www.usatoday.com/story/news/politics/2017/05/05/asylum-seekers-turned
            -away/311552001/.
   28                                            34
                                                                           No. 3:17-cv-02366-BAS-KSC
                                                                   SECOND AMENDED COMPLAINT FOR
                                                                DECLARATORY AND INJUNCTIVE RELIEF
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         well over 100 cases in which CBP officials have failed to comply with U.S. and
    1 international law and arbitrarily denied access to the asylum process to asylum
    1=
    2 seekers presenting themselves at POEs along the U.S.-Mexico border.
    1=
    3
                      1.    Defendants Have Violated Each of the Class Plaintiffs’
    1=
    4                       Rights to Seek Asylum Initiation of the Turnback Policy
    1=
         Plaintiff Abigail Doe
    5
    1=
               39.    A.D. is a native and citizen of Mexico. She is the mother of two
    6
    1=
         children under the age of ten, with whom she previously lived in Central Mexico.
    7
    1=
         In May 2017, A.D.’s husband disappeared after he refused to allow drug cartel
    8
    1=
         members to use his tractor-trailer to transport drugs.
    9
    1=
               40.    When A.D. reported her husband’s disappearance to governmental
   10
         authorities, members of the drug cartel abducted her, held her at gunpoint, and
   11
         threatened to kill her and her children if she continued to investigate her husband’s
   12
         disappearance. One cartel member told A.D. that she had to leave if she wanted to
   13
         live. Fearing for her life, A.D. fled to Tijuana with her children to seek asylum in
   14
         the United States.
   15
               41.    After arriving in Tijuana, A.D. and her children immediately went to
   16
         the San Ysidro POE, where she informed CBP officials of her intent to apply for
   17
         asylum and her fear of returning to Mexico. CBP officials repeatedly misinformed
   18
         A.D. that she did not qualify for asylum. One CBP official threatened that her
   19
         children would be taken away from her if they allowed her to cross the border and
   20
         again misinformed her that only the Mexican government could help her.
   21
               42.    CBP officials coerced A.D. into signing a document in English which
   22
         she could not read and did not understand. The document stated that she did not
   23
         have a fear of returning to Mexico and was withdrawing her application for
   24
         admission. CBP officials then instructed A.D. to say that she had agreed to accept
   25
         the assistance of the Mexican government and used a video camera to record her
   26
   27
   28                                              35
                                                                             No. 3:17-cv-02366-BAS-KSC
                                                                     SECOND AMENDED COMPLAINT FOR
                                                                  DECLARATORY AND INJUNCTIVE RELIEF
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         statement. A CBP official then took A.D. and her children back to Mexico and left
    1 them to fend for themselves.
    1=
    2       43. The statements CBP coercively obtained from A.D. were and are still
    1=
    3 false; A.D. does fear returning to and staying in Mexico and does not intend to
    1=
    4 seek assistance from the Mexican government because she believes such efforts
    1=
    5 would be futile.
    1=
    6      44. A.D. and her children would like to present themselves again to seek
    1=
    7 asylum but, based on their experience and the experience of others with CBP’s
    1=
    8 practice at POEs, she understands that they would likely be turned away again or
    1=
    9 that CBP would take her children away from her.
    1=
   10       45. A.D. and her children are currently staying in temporary housing in
   11 Tijuana, where A.D. continues to fear for her life and the lives of her children.
   12 A.D. can no longer remain in Mexico and has no place else to turn for safety but
   13 the United States.
   14 Plaintiff Beatrice Doe
   15          46.   B.D. is a native and citizen of Mexico. In May 2017, B.D. fled her
   16 hometown in Mexico with her three children, ages seven, eleven and fifteen, and
   17 her nephew. B.D.’s nephew was targeted by the Zetas, a Mexican drug cartel that
   18 controls most of Southern Mexico, for failing to pay a fee that the Zetas demanded
   19 from all individuals who worked in the market. The Zetas threatened to kill B.D.’s
   20 nephew and to harm his family if he did not pay the fees. The cartel also pressured
   21 B.D.’s nephew to join their forces and threatened to increase the fee if he refused.
   22 On two occasions when B.D.’s nephew failed to pay the fees, the Zetas beat him
   23 up.
   24          47.   B.D. herself suffered severe domestic violence at the hands of her
   25 husband. In May 2017, she reported his abuse to two government agencies. When
   26 Mexican government officials subsequently requested that B.D.’s husband meet
   27
   28                                            36
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                                                                  SECOND AMENDED COMPLAINT FOR
                                                               DECLARATORY AND INJUNCTIVE RELIEF
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         with them, he responded that he would continue to do what he wanted with B.D.
    1 and his children. Terrified, B.D. left their house the same day.
    1=
    2       48. B.D. fled with her children and nephew and traveled to Tijuana in
    1=
    3 order to seek asylum in the United States. Initially, B.D. and her family went to the
    1=
    4 Otay Mesa POE. When B.D. expressed their intent to seek asylum, a CBP official
    1=
    5 told her that asylum-related services were not provided at that port, and directed
    1=
    6 her to go to the San Ysidro POE. B.D. and her family then attempted twice to
    1=
    7 request asylum at the San Ysidro POE, but CBP officials turned them away both
    1=
    8 times.
    1=
    9            49.   The first time B.D. and her family presented themselves at the San
    1=
   10 Ysidro POE, she explained that their lives were at risk in Mexico and that she was
   11 afraid of her husband. CBP officials misinformed her that the U.S. government
   12 had no obligation to help her or her family, that they did not have a right to enter
   13 the United States because they were not born there, and that she should seek help
   14 from the Mexican government.
   15       50. Another CBP official then threatened to take B.D.’s nephew away
   16 from her and to put her in jail if she refused to sign an English document which
   17 she did not understand. Believing that she had no other option, she signed the
   18 document. CBP officials then escorted B.D. and her family out of the POE.
   19      50. Internal CBP documents reveal that CBP officials at the highest
   20 levels mandated turnbacks at POEs along the U.S.-Mexico border.41
   21        51. The statement CBP coercively obtained from B.D. were and are still
   22 false; B.D. and her children do fear returning to and staying in Mexico.Evidence
   23 of a Turnback Policy, at least regarding the San Ysidro POE, exists starting in
   24    41   These documents, produced during_the limited discovery that took place while
   25               this case was pending in the U.S.-District Court for the Central District
                    of California, relate exclusively to POEs under the responsibility of the
   26               Laredo Field Office and the San Ysidro POE. Additional discovery
   27               could reveal further details regarding the contours of the Turnback
                    Policy.
   28                                              37
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                                                                     SECOND AMENDED COMPLAINT FOR
                                                                  DECLARATORY AND INJUNCTIVE RELIEF
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         May 2016. In an email dated May 29, 2016, the Watch Commander at the San
    1 Ysidro POE notes that “[t]he Asylee line in the pedestrian building is not being
    1=
    2 used at this time, there is a line staged on the Mexican side.” In an email sent
    1=
    3 roughly a month later, the same individual reiterated that “[i]t’s even more
    1=
    4 important that when the traffic is free-flowing that the limit line officers ask for
    1=
    5 and check documents to ensure that groups that may be seeking asylum are
    1=
    6 directed to remain in the waiting area on the Mexican side.”
    1=
    7         52.   The next day, B.D. and her family returned to the San Ysidro POE. A
    1=
    8 CBP official who recognized B.D. from the day before misinformed her that she
    1=
    9 had no right to enter the United States or seek asylum, and that she would be put in
    1=
   10 jail for three years if she returned to the POE. After another CBP official
   11 separately threatened to transfer B.D.’s nephew to Mexican authorities and return
   12 him to Southern Mexico, CBP officials again escorted B.D. and her family out of
   13 the San Ysidro POE.CBP’s collaboration with the Mexican government to turn
   14 back asylum seekers at the San Ysidro POE was formalized in a document issued
   15 on an unspecified date after July 15, 2016, which provides:
   16
              In coordination with the GoM [Government of Mexico] we have
   17
              identified two (2) periods throughout the day to intake asylum claims
   18         into our custody (8am and 4 pm). At each period, we intake
              approximately [redacted] applicants, with a daily intake total of
   19
              approximately [redacted] applicants. If an applicant does not meet
   20         these intake time periods, they are requested to remain in-line in
              Mexico until the next intake period. . . . In order to control the flow of
   21
              asylees in their area, the GoM has instituted a numerical process by
   22         giving asylum applicants numbers with intake dates in the order of
              their arrival. The applicants are also given the locations of
   23
              humanitarian shelters in Tijuana where they receive food and shelter
   24         until their intake date. The implementation of this process was
              developed by the GoM.
   25
   26         53.   B.D. and her children would like to present themselves again for
   27 asylum, but based on their experience and the experience of others with CBP’s
   28                                             38
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                                                                    SECOND AMENDED COMPLAINT FOR
                                                                 DECLARATORY AND INJUNCTIVE RELIEF
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         practice at POEs, she understands that they would likely be turned away again or
    1 put in jail as the CBP officials threatened.On December 6, 2016, the Director of
    1=
    2 Field Operations at CBP’s San Diego Field Office confirmed that the Turnback
    1=
    3 Policy remained in effect:
    1=
    4
    1=
            Metering continues at both San Ysidro and Calexico POEs the
    5
            numbers are adjusted based on space availability and ERO [ICE’s
    1=
    6       Office of Enforcement and Removal Operations] movement of
    1=
            detainees from the ports. Mexican immigration is handling the
    7
            metering process before the OTMs [Other Than Mexicans] arrive at
    1=
    8       the port of entry; no issues on our end with aliens being turned away.
    1=
    9          54.   B.D. and her children are currently staying in temporary housing in
    1=
   10 Tijuana, where B.D. continues to fear for her life and the lives of her children.
   11 B.D. can no longer remain in Mexico and has no place else to turn for safety but
   12 the United States.On information and belief, other CBP Field Offices also
   13 implemented the Turnback Policy. Although certain port directors periodically
   14 suspended the Turnback Policy, they never abandoned it. Moreover, direct
   15 turnbacks of asylum seekers—via misrepresentations about the availability of
   16 asylum, intimidation, and coercion, among other tactics—continued in practice
   17 even during periods of formal suspension of the policy.
   18 Plaintiff Carolina Doe
   19       55. C.D. is a native and citizen of Mexico. In May 2017, C.D. fled her
   20 hometown in Mexico with her three children, ages nine, fifteen and eighteen, after
   21 her brother-in-law, a high-ranking police official, was kidnapped, tortured and
   22 killed by members of a drug trafficking cartel. His dismembered body was found
   23 in garbage bags in a cemetery. C.D.’s husband witnessed the kidnapping and
   24 showed C.D. a picture of one of the men who was involved. Drug cartel members
   25 threatened C.D.’s husband after the murder, and C.D. and her husband saw the van
   26 used in the kidnapping drive by their house twice. Two men followed C.D. and her
   27 daughters on her way home from work, and several men came to their home at
   28                                            39
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         night. C.D. was terrified and hid with her daughters in the bathroom because she
    1 feared for her life and the lives of her daughters.Evidence that a border-wide
    1=
    2 Turnback Policy was authorized at the highest levels of CBP, including by
    1=
    3 Defendant and now-Commissioner Kevin McAleenan, exists as of November
    1=
    4 2016. In an email communication dated November 12, 2016, the Assistant
    1=
    5 Director Field Operations for the Laredo Field Office instructed all Port Directors
    1=
    6 under his command to follow the mandate of the then-CBP Commissioner and
    1=
    7 Deputy Commissioner:
    1=
    8      56. In May 2017, C.D. fled in the middle of the night with her daughters
    1=
    9 and traveled to Tijuana in order to seek asylum in the United States. C.D. and her
    1=
   10 daughters presented themselves at the San Ysidro POE, and C.D. explained that
   11 they were afraid of returning to Mexico and wanted to seek asylum. CBP officials
   12 locked them in a room overnight at the San Ysidro POE. In the morning, a CBP
   13 official told C.D. that she would not be granted asylum and misinformed her that
   14 the protection she was seeking in the United States could be provided by the
   15 Mexican authorities. The CBP official threatened to take away C.D.’s
   16 fifteen-year-old U.S. citizen daughter and put her in foster care, and told C.D. that
   17 if she did not want her daughter taken away from her, then she had to make a
   18 statement on video that she was not afraid of returning to Mexico
   19
               At the request of C-1 [then CBP Commissioner R. Gil Kerlikowski]
   20
               and C-2 [then CBP Deputy Commissioner Kevin McAleenan], you
   21          are to meet with your INM [Institute Nacional de Mig.racion,
               Mexico’s immigration agency] counterpart and request they control
   22
               the flow of aliens to the port of entry. For example, if you determine
   23          that you can only process 50 aliens at a time, you will request that
               INM release only 50.
   24
   25          If INM cannot or will not control the flow, your staff is to provide the
               alien with a piece of paper identifying a date and time for an
   26          appointment and return then [sic] to Mexico. This is similar to what
   27
   28                                             40
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                 San Diego is doing. We understand the alien may express a fear of
    1            returning to Mexico and we will address as the situation dictates.42
    1=
    2            56.   This email directive was promptly implemented by the Laredo Field
    1=
    3 Office, which encompasses the Brownsville, Del Rio, Eagle Pass, Hidalgo,
    1=
    4 Laredo, Progreso, Rio Grande, and Roma, Texas POEs and covers nearly 400
    1=
    5 miles of the Texas-Mexico border. According to an internal email dated November
    1=
    6 22, 2016, “Our instructions from Service Headquarters and LFO [Laredo Field
    1=
    7 Office] is that we will only accept ‘what we can handle/process’. All others will be
    1=
    8 turned back to Mexico with an appointment date/time if possible.” Other email
    1=
    9 correspondence from CBP officials at the Laredo, Hidalgo and Roma POEs
    1=
   10 indicates that individuals turned back did not receive appointment notices.
   11
   12            57.   The CBP officials coerced C.D. into recanting her fear on video. C.D.
   13 initially did not respond as the CBP officials instructed her to do because the
   14 responses they told her to say were not true. C.D. was afraid and wanted to
   15 respond that she was very scared to return to Mexico. One of the CBP officials
   16 repeated that the only way C.D. and her daughters would be able to leave
   17 voluntarily without her U.S. citizen daughter being taken away from her was if
   18 C.D. stated on video that she was not scared. Having been locked in a room
   19 overnight, C.D. was tired and scared and felt like she was in jail. The CBP
   20 officials continued to coerce her until she finally did what they told her to do,
   21 believing she had no choice.
   22            directive was memorialized in a memorandum from the Laredo Field Office
   23 dated January 13, 2017. The memorandum directs that “metering”
   24 procedures—i.e. procedures to regulate and restrict the access of asylum seekers to
   25 POEs—be implemented once case processing numbers exceed a certain (redacted)
   26    42   An email sent the following day clarified that this directive was to apply only
   27            to Central Americans. In practice, however, individuals of many other
                 nationalities have also been affected.
   28                                               41
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         number, that such procedures are to be conducted “at the middle of the bridge,”
    1 and that “all foreign nationals seeking a benefit are given an appointment window
    1=
    2 to return for processing.” The Laredo Command Center is required to provide
    1=
    3 hourly updates to “local upper management,” among others, who must also be
    1=
    4 notified once normal operations resume.
    1=
    5          58.   The CBP officials also coerced C.D. into signing a document in
    1=
    6 English which she could not read and did not understand. The document stated
    1=
    7 that she did not have a fear of returning to Mexico and was withdrawing her
    1=
    8 application for admission. The statements CBP coercively obtained from C.D.
    1=
    9 were and are still false; C.D. does fear returning to and staying in MexicoIn the
    1=
   10 months that followed, asylum seekers from Central America and elsewhere
   11 continued to seek access to the U.S. asylum process by presenting themselves at
   12 POEs along the U.S.-Mexico border, but many were turned back by, at the
   13 instruction of, or with the knowledge of CBP officials.
   14
   15          59.   Several days after CBP turned away C.D. and her daughters at the
   16 POE, C.D. made arrangements for her U.S. citizen daughter to cross into the
   17 United States. C.D. and her other two children would like to present themselves
   18 again for asylum, but based on their experience and the experience of others with
   19 CBP’s practice at POEs, she understands that they would likely be turned away
   20 again.
   21        On June 13, 2017, in questioning before the House Appropriations
   22 Committee, John P. Wagner, the Deputy Executive Assistant Commissioner for
   23 OFO, admitted that CBP officials were turning back asylum applicants at POEs
   24
   25
   26
   27
   28                                            42
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         along the U.S.-Mexico border.43 When asked to comment on the numerous press
    1 reports that CBP officers at POEs had been “turning away individuals attempting
    1=
    2 to claim credible fear,” Mr. Wagner acknowledged that CBP had indeed engaged
    1=
    3 in turnbacks, and argued the practice was justified by a lack of capacity.44
    1=
    4        Mr. Wagner also stated on the record that because POEs “do not have the
    1=
    5 kind of space to hold large volumes of people,” CBP “worked a process out with
    1=
    6
    1=
    7
         43   Department of Homeland Security Appropriations for 2018 Hearings Before a
    1=
    8                    Subcomm. of the H. Comm. on Appropriations, 115th Cong.
    1=
    9                    289-90 (2017) (testimony of John P. Wagner, Deputy Executive
                         Assistant Comm’r, Office of Field ()aerations, Customs and
    1=
   10                    Border Protection), https://www.gpo.gov/fdsys/
   11                    pkg/CFMG-115hhrg27050/pdf/CHRG-115hhrg27050:pdf
                         [hereinafter Wagner Testimony].
   12    44   Congresswoman Roybal-Allard asked:
   13                         It is my understanding that CBP is legally required to process
                              credible fear claims when they are presented, and it is not
   14                         authorized to turn back individuals claiming fear even
   15                         temporarily. In addition to commenting on those allegations,
                              what steps can be taken or have been taken to ensure this is
   16                         not occurring or continuing to occur at the ports of entry,
   17                         such as, is there training or other guidance, reminding CBP
                              personnel how they are required to treat individuals who
   18                         express fear?
   19                            Mr. Wagner responded:
                              Sure. It was a question really of the space available to
   20                         process people. And our facilities were at capacity to be able
   21                         to take more people in, go through the processing, and turn
                              them over to ICE after that. And the building was full, and
   22                         we could not humanely and safely and securely hold any
   23                         more people in our space.
                                 The Congresswoman later clarified:
   24                         “So it wasn’t an issue of officers not knowing what the law
   25                         was. It was more of an issue of capacity?” And Mr. Wagner
                              responded; “It was an issue of capacity and being able to put
   26                         people into the facility without being overrun or having
   27                         unsafe and unsanitary conditions.”
                              Id.
   28                                             43
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         the Mexican authorities to be able to limit how many people a day could come
    1 across the border into [CBP’s] facility to be processed.”45
    1=
    2       60. C.D. and her two children are currently staying in temporary housing
    1=
    3 in Tijuana, where C.D. continues to fear for her life and the lives of her children.
    1=
    4 C.D. can no longer remain in Mexico and has no place else to turn for safety but
    1=
    5 the United States.
    1=
    6 Plaintiff Dinora Doe
    1=
    7           Following dozens of turnbacks of asylum seekers in San Ysidro in
    1=
    8 December 2017, the CBP Field Operations Director in charge of the San Ysidro
    1=
    9 POE acknowledged and defended the turnbacks, stating: “So they weren’t being
    1=
   10 allowed into the port-of-entry. We said, ‘we’re at capacity, so wait here.’ It’s
   11 because of our detention space limitation, we were at capacity.”46
   12
                      2.    High Level Officials’ Public Confirmation and Escalation
   13                       of the Turnback Policy and CBP’s Aggressive
                            Implementation
   14           61.   D.D. is a native and citizen of Honduras. MS-13 gang members
   15 repeatedly threatened to kill D.D. and her then-seventeen-year-old daughter if they
   16 did not leave their house. After receiving the third threat, they fled to another city
   17 where they remained in hiding.
   18      In late April 2018, following an arduous, widely-publicized journey, a
   19 group of several hundred asylum seekers—referred to in the press as
   20 a”caravan”—arrived at the San Ysidro POE. As they approached the United
   21 States, President Trump posted a series of messages on Twitter warning of the
   22 dangers posed by the group, including one indicating that he had instructed DHS
   23 “not to let these large Caravans of people into our Country.”47
   24
   25
         45   Id.
   26    46   You Don’t Have Any Rights Here, supra note 40, at 16.
   27    47   Donald J. Trump (@realDonaldTrump) Twitter (Apr. 2, 2018, 4:02 AM)
                     https://twitter.com/realDonaldTrump/status/980762392303980544.
   28                                            44
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              62.   When D.D. and her daughter subsequently returned home, three
    1 MS-13 members held them captive for three days and repeatedly raped each of
    1=
    2 them in front of the otherThereafter, the highest-ranking officials in the
    1=
    3 Department of Justice and DHS publicly and unambiguously proclaimed the
    1=
    4 existence of a Turnback Policy. CBP continued to buttress the Turnback Policy
    1=
    5 through the practices described above, including misrepresentations, threats and
    1=
    6 intimidation, verbal abuse and physical force, coercion, outright denials of access,
    1=
    7 and physically obstructing access to POEs.
    1=
    8
    1=
    9         63.   When D.D. and her daughter finally escaped, they fled to a shelter in
    1=
   10 Mexico. However, after being threatened by MS-13 gang members again in
   11 Mexico, they knew they had to leave.
   12         Attorney General Sessions, refusing to acknowledge that some of the
   13 caravan members might have legitimate claims to asylum under U.S. law,
   14 characterized the caravan’s arrival as “a deliberate attempt to undermine our laws
   15 and overwhelm our system.”48 Upon the caravan’s arrival, CBP officials
   16 indicated—in accordance with the Turnback Policy—that they had exhausted their
   17 capacity to process individuals traveling without proper documentation.49
   18       64. On three separate occasions in August 2016, D.D. and her daughter
   19 went to the Otay Mesa POE and expressed their intent to seek asylum in the
   20 United States. Each time, CBP officials turned them away.As the caravan was
   21 approaching the United States, Attorney General Sessions announced that all
   22
   23 48 Press Release, U.S. Dep’t of Justice, Attorney General Jeff Sessions Statement
               on Central America ‘Caravan’, (Apr. 23, 2018),
   24          https://www.justice.gov/opa/pr/attorney-general-jeff-sessions-statement-c
   25          entral-american-caravan.
      49 Kirk Semple & Miriam Jordan, Migrant Caravan of Asylum Seekers Reaches
   26         U.S. Border, N.Y. Times (Apr. 29, 2018),
   27         https://www.nytimes.com/2018/04/29/world/americas/mexico-caravan-trum
              p.html.
   28                                          45
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         individuals who crossed the U.S.-Mexico border illegally would be criminally
    1 prosecuted.50 Following the arrival of the caravan, he pronounced that “[p]eople
    1=
    2 are not going to caravan or otherwise stampede our border,” and reiterated his
    1=
    3 commitment to prosecuting illegal border crossers.51
    1=
    4     65. During D.D.’s first attempt, CBP officials misinformed her that there
    1=
    5 was no asylum in the United States and escorted D.D. and her daughter outside the
    1=
    6 POE.On May 15, 2018, DHS Secretary Kirstjen Nielsen likewise publicly and
    1=
    7 unambiguously confirmed the existence of the Turnback Policy, dismissing the
    1=
    8 United States’ legal obligation to receive and process asylum seekers at U.S.
    1=
    9 borders as a legal “loophole”:
    1=
   10
   11
               We are “metering,” which means that if we don’t have the resources
   12
               to let them [asylum-seekers] in on a particular day, they are going to
   13          have to come back. They will have to wait their turn and we will
               process them as we can, but that’s the way that the law works. Once
   14
               they come into the United States, we process them. We have asked
   15          Congress to fix this loophole. It’s a huge gaping hole that we need to
               fix because it is so abused.52
   16
   17          66.   During her second attempt later the same day, one CBP official
   18 misinformed D.D. that there was no asylum available in the United States for
   19 Central Americans and that if they returned to the POE, they would be handed
   20 over to Mexican authorities and deported to Honduras.Trump himself continued to
   21 50 “Press Release, U.S. Dep’t of Justice, Attorney General Announces
                Zero-Tolerance Policy for Criminal Illegal Entry (Apr. 6, 2018),
   22           https://www.justice.gov/opa/pr/attorney-general-announces-zero-toleranc
   23           e-policy-criminal-illegal-entry.
      51 U.S. Attorney Gen. Jefferson B. Sessions, Remarks Discussing the Immigration
   24          Enforcement Actions of the Trump Administration (May 7, 2018),
   25         https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-rem
              arks-discussing-immigration-enforcement-actions.
   26 52 Secretary Nielsen Talks Immigration, Relationship with Trump, Fox News
   27              (May 15, 2018),
                   https://video.foxnews.com/v/5785340898001/?#sp=show-clips.
   28                                          46
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         publicly pronounce the importance of the Turnback Policy, through tweets,
    1 including direct statements that promote the direct violation of the law:
    1=
    2
    1=
               • June 24, 2018: “When somebody comes in, we must
    3
                   immediately, with no Judges or Court Cases, bring them back
    1=
    4              from where they came.”53
    1=
    5
    1=
    6                 • June 30: “When people come into our Country illegally, we
    1=
    7                   must IMMEDIATELY escort them back out without going
                        through years of legal maneuvering.”54
    1=
    8
    1=
                      • July 5: “When people, with or without children, enter our
    9
                        Country, they must be told to leave without our Country being
    1=
   10                   forced to endure a long and costly trial. Tell the people, ‘OUT,’
                        and they must leave, just as they would if they were standing in
   11
                        your front lawn.”55
   12
                67.      During her third attempt the next morning, a CBP official
   13
         misinformed D.D. that she could pass through the POE, but would have to leave
   14
         her daughter behind. When D.D. insisted that she and her daughter had a right to
   15
         apply for asylum, CBP officials escorted them out of the POE.Meanwhile, CBP
   16
         officials continue to turn back asylum seekers who seek access to the U.S. asylum
   17
         process by presenting themselves at POEs. Predictably, the Turnback Policy has
   18
         caused and continues to cause many asylum seekers, desperate to avoid danger on
   19
         the Mexican side of the border, to seek to enter the United States outside POEs
   20
   21    53   Donald J. Trump (@realDonaldTrump) Twitter (Apr. 24, 2018, 8:02 AM)
                     https://twitter.com/realdonaldtrump/status/1010900865602019329?lang
   22                =en.
   23    54   Donald J. Trump (@realDonaldTrump) Twitter (June 30, 2018, 12:44 PM)
                     https://twitter.com/realdonaldtrump/status/1013146187510243328?lang
   24                =en.
   25    55   Donald J. Trump (@realDonaldTrump) Twitter (July 5, 2018, 7:08 AM)
                     https://twitter.com/realDonaldTrump/status/1014873774003556354;
   26                Donald J. Trump (@realDonaldTrump) Twitter (July 5, 2018, 7:16
   27                AM)
                     https://twitter.com/realDonaldTrump/status/1014875575557804034.
   28                                                47
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         and thereafter be arrested and prosecuted for unlawful entry and in many cases
    1 forcibly separated from their children.
    1=
    2        68. D.D. and her children would like to present themselves again for
    1=
    3 asylum but, based on their experience and the experience of others with CBP’s
    1=
    4 practice at POEs, she understands that they would likely be turned away again or
    1=
    5 separated from each other.In recent months, Commissioner McAleenan and other
    1=
    6 high-level CBP officials have openly acknowledged that the Turnback Policy
    1=
    7 remains in effect, and that the United States is actively collaborating with Mexico
    1=
    8 to reduce the flow of asylum seekers.56
    1=
    9           69.   D.D. and her daughter are currently staying in Tijuana. In June 2017,
    1=
   10 D.D. received a call from a person connected to the MS-13 gang trying to identify
   11 her location in Mexico. D.D. continues to fear for her life and the life of her
   12 daughter. D.D. can no longer remain in Mexico and has no place else to turn for
   13 safety but the United States.A high-level CBP officer reiterated the contours of the
   14 Turnback Policy in a meeting with immigrant rights groups in El Paso on June 27,
   15 2018 and confirmed that it was being applied border-wide.57
   16 Plaintiff Ingrid Doe
   17
   18
   19    56   See, e.g., CBP Comm’r Kevin McAleenan, Statement on Operations at San
                   Ysidro Port of Entry (April 29, 2018), https://www.cbp.gov/newsroom/
   20              speeches-and-statements/statement-commissioner-kevin-mcaleenan-operati
   21              ons-san-ysidro-port (explaining that “individuals [without appropriate
                   entry documentation] may need to wait in Mexico as CBP officers work
   22              to process those already within our facilities”); Molly Hennessy-Fiske,
   23              Border Protection Commissioner Talks ‘Zero Tolerance,’ Family
                   Separations and How To Discourage Immigration, L.A. Times (June 11,
   24              2018)
   25              http://www.latimes.com/nation/la-na-border-patrol-immigration-20180611-
                   htmlstory.html (“We’re not denying people approaching the U.S. border
   26              without documents. We’re asking them to come back when we have the
   27              capacity to manage them.”).
         57   You Don’t Have Any Rights Here, supra note 40, at 17.
   28                                             48
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                 70.   I.D. is a native and citizen of Honduras. I.D. has two children and is
    1 pregnant and expecting her third child in September.Notably, a September 27,
    1=
    2 2018 report from the OIG (“OIG Report”), attached as Exhibit A, references the
    1=
    3 policy under which CBP systematically restricts access to the asylum process at
    1=
    4 POEs and confirms the policy was directed by DHS. The OIG Report states the
    1=
    5 existence of a “CBP guidance” which indicates that “[w]hen the ports of entry are
    1=
    6 full . . . [CBP] officers should inform individuals that the port is currently at
    1=
    7 capacity and that they will be permitted to enter once there is sufficient space and
    1=
    8 resources to process them.”58 Although this “guidance” states that CBP officers
    1=
    9 “may not discourage individuals from waiting to be processed,” some officers in
    1=
   10 El Paso informed OIG investigators that they advise asylum seekers to “return
   11 later.”59 Also, according to the report, while “[u]nder the Zero Tolerance Policy,
   12 the Government encouraged asylum-seekers to come to U.S. ports of entry[,] . .
   13 .[a]t the same time, CBP reported that overcrowding at the ports of entry caused
   14 them to limit the flow of people that could enter.”60 The report elaborates that
   15 “CBP was regulating the flow of asylum-seekers at ports of entry through
   16 ‘metering,’ a practice CBP has utilized at least as far back as 2016 to regulate the
   17 flow of individuals at ports of entry.61
   18
   19            71.   18th Street gang members murdered I.D.’s mother and three siblings.
   20 They also threatened to kill I.D.
   21
   22
   23    58   OIG Report, supra note 1, at 6.
         59   Id. at 7.
   24    60   Id. at 5.
   25    61   Id. at 5-6; see id. at 6-7 (describing CBP’s “metering” practice at POEs,
                  explaining that “CBP officers stand at the international line out in the
   26             middle of the footbridges,” checking pedestrians’ travel documents, and
   27             preventing asylum-seekers from crossing the international line until space
                  is “available . . . to hold the individual while being processed”).
   28                                              49
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                DHS’s response to the OIG Report confirms that CBP has engaged in
    1 “queue management practices . . . directed by [Defendant Nielsen].62 The response
    1=
    2 also confirms that “CBP’s processes and policies at ports of entry may require
    1=
    3 some individuals who do not have travel documents to wait at the International
    1=
    4 Boundary prior to entering the United States.”63
    1=
    5           72.    For several years, I.D. and her children were subject to severe abuse
    1=
    6 by her partner and the father of her son and the child that she is expecting. I.D.’s
    1=
    7 partner regularly raped I.D., sometimes in front of her children. He would also
    1=
    8 burn and beat I.D. One day, I.D.’s partner put a gun to I.D.’s head and threatened
    1=
    9 to kill her.In addition, officials from the Mexican immigration agency, Instituto
    1=
   10 Nacional de Migracion (“INM”), have confirmed the existence of an agreement
   11 with CBP under which INM assists with the Turnback Policy by hindering asylum
   12 seekers’ access to POEs. For example, as reported in the Amnesty International
   13 report released on October 11, 2018, the INM head delegate in the Mexican state
   14 of Baja California reportedly expressed doubt about CBP’s claims of capacity
   15 constraints and “voiced his frustration that [CBP was] making INM do [its] dirty
   16 work.”64 The INM delegate stated:
   17
            [T]hat CBP requested INM to remove . . . 20 asylum-seekers from the
   18
            turnstiles [at the San Ysidro POE], as well as the rest of the [April
   19       2018] caravan members from the plaza at El Chaparral, where they
            were camping on the Mexican side of the port-of-entry. Implicit in the
   20
            CBP request, the INM delegate said, was that such detentions could
   21       result in INM deporting those asylum-seekers who were not legally
            present in Mexico:65
   22
   23       73. In June 2017, I.D. fled with her children to Tijuana, where they
   24 presented themselves at the Otay Mesa POE to seek asylum in the United
   25
         62   Id. at 19-20.
   26    63   Id. at 20.
   27    64   You Don’t Have Any Rights Here, supra note 40, at 23.
         65   Id. at 23.
   28                                              50
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         States.Later, on June 14, 2018, a senior Mexican immigration official in Sonora
    1 reportedly stated that US officials had requested INM to detain and check the
    1=
    2 papers of the asylum-seekers whom CBP was pushing back to the Mexican side of
    1=
    3 the Nogales border crossing. The INM official relayed also that he understood the
    1=
    4 request by US authorities implicitly to be for INM to deport asylum-seekers
    1=
    5 without legal status in Mexico to their home countries from which they had fled.66
    1=
    6       74. When they arrived at the Otay Mesa POE, I.D. approached CBP
    1=
    7 officials and expressed her intent to seek asylum. The CBP officials misinformed
    1=
    8 I.D. that they could not help her at the Otay Mesa POE and that she must go to the
    1=
    9 San Ysidro POE.Also in June 2018, Mexican immigration officials told human
    1=
   10 rights researchers that “CBP officers were calling Mexican immigration to collect
   11 any individuals at the border line, including asylum seekers, who attempted to
   12 approach the port of entry to request protection and did not have visas or other
   13 documentation.” As a result, asylum seekers were physically prevented from
   14 reaching the POE to request protection.67
   15
   16    66   Id. at 21; see also id. at 22 (“On the Mexico side of the bridges in July 2018,
   17             three Mexican immigration officials informed [a] US immigration lawyer .
                  that they were screening asylum-seekers and preventing their access to US
   18             ports-of-entry upon the request of CBP. One of the Mexican officials
   19             toldher: `Yes, it’s a collaborative program that we’re doing with the
                  Americans.’ The immigration officials were detaining non-Mexicans who
   20             lacked valid Mexican transit visas, and threatened them with deportation if
   21             they returned to the bridge. At the mid-point of the bridge, CBP again
                  screened those who were able to pass through the Mexican immigration
   22             filter, and forced them to wait on the half of the bndge closer to Mexico.
   23             According to [the U.S. immigration lawyer], the Mexican immigration
                  officers informed her that when asylum seekers crossed onto the bridge
   24             without valid Mexican travel documents, CBP officers called on Mexican
   25             immigration officials to remove them from the bridge.”).
         67    Human Rights First, Zero-Tolerance Criminal Prosecutions: Punishing
   26       Asylum Seekers and Separating Families 8 (2018), https://www.humanrights
   27       first.org/resource/zero-tolerance-criminal-prosecutions-punishing-asylum-seekers
            -and-separating-families [hereinafter Zero-Tolerance Criminal Prosecutions].
   28                                            51
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              75.   I.D. immediately went to the San Ysidro POE with her children,
    1 approached several CBP officials, and expressed her intent to seek asylum. One of
    1=
    2 the officials misinformed I.D. that there was no asylum and that she could not pass
    1=
    3 through the POE because she did not have any documents. I.D. again stated that
    1=
    4 she wanted to seek asylum and that she could not go back to Honduras because
    1=
    5 she and her children would be killed. The CBP official responded that there was a
    1=
    6 new law in the United States that meant that there was no more asylum. Another
    1=
    7 CBP official then escorted I.D. and her children out of the port.Statements from
    1=
    8 on-the-ground CBP officials further confirm the continued existence of a
    1=
    9 high-level Turnback Policy. In El Paso, a CBP official blocking asylum seekers’
    1=
   10 path to the POE on the bridge explained that he was “following directions. And
   11 this is not even local directions.”68 On a separate occasion, CBP officials in El
   12 Paso, including supervisors, told a non-profit worker that they were turning back
   13 asylum seekers because they “ha[d] orders not to let anybody in,” that “this is a
   14 policy across the border,” and that “[i]t’s an order from [U.S. Attorney General
   15 Jeff] Sessions.”69
   16        76. I.D. and her children would like to present themselves again for
   17 asylum but, based on their experience and the experience of others with CBP’s
   18 practice at POEs, I.D. understands that they would likely be turned away
   19 again.Recent official government statements acknowledging the policy assert a
   20 “lack of capacity” to process the flow of asylum seekers at the southern border. In
   21 fact, and in accordance with a central goal of the Turnback Policy to deter future
   22 asylum seekers from presenting themselves at the U.S. border, CBP’s own
   23
         68Robert Moore, Border Ag_ents Are Using a New Weapon Against Asylum
   24    Seekers, Tex. Monthly (June 2, 2018),Ittps://www.texasmonthly.com/politics/
   25    immigrant-advocates-question-legality-of-latest-federal-tactics/.
      69   Declaration of Taylor Levy in Support of the State of Wash. at 8, Washington
   26    v Trump, No. 18-939-MJP (W.D. Wash. July 2, 2018),
   27    https://agportal-s3bucket.s3.amazonaws.com/uploadedfiles/AnotherNews/Press_R
         eleases/ motion%20declarations%201-33.pdf.
   28                                         52
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         statistics indicate that there has not been a particular surge in numbers of asylum
    1 seekers coming to POEs. From January through September 2018, the number of
    1=
    2 people without legal status attempting to enter the United States from Mexico,
    1=
    3 including asylum seekers, has stayed at roughly the same level as over the
    1=
    4 previous five years. During those five years, U.S. authorities regularly processed
    1=
    5 asylum seekers without the delays that CBP has imposed in 2018.70 Based on
    1=
    6 available statistics, Amnesty International has characterized the “supposedly
    1=
    7 unmanageable number of asylum claims” as “a fiction.”71
    1=
    8      77. I.D. and her children are currently staying in a shelter in Tijuana,
    1=
    9 where I.D. continues to fear for her life and the lives of her children. I.D. can no
    1=
   10 longer remain in Mexico and has no place else to turn for safety but the United
   11 States.In fact, there is substantial evidence that calls into question the claims of a
   12 lack of capacity. There is evidence to suggest such claims are false and instead are
   13 designed to effectuate the broader policy goal of restricting access to the asylum
   14 process, according to governmental and non-governmental sources. In early 2018,
   15 senior CBP and ICE officials in San Ysidro, California, stated in interviews that
   16 “CBP has only actually reached its detention capacity a couple times per year and
   17 during ‘a very short period’ in 2017.”72 The OIG Report notes that while CBP
   18 justifies the official “metering” policy by citing a lack of capacity to process
   19 asylum seekers, “the OIG team did not observe severe overcrowding at the ports of
   20 entry it visited.”73 Human rights researchers visiting seven POEs in Texas in June
   21 2018 reported that “[t]he processing rooms visible in the ports of entry . . .
   22
   23 70 Southwest Border Migration FY2018, U.S. Customs & Border Protection,
                      https://www.cbp.govinewsroom/stats/sw-border-migration (last
   24                 visited Oct. 10, 2018).
   25 71 You Don’t Have Any Rights Here, supra note 40, at 14.
      72   Id. at 15 (citing an interview with ICE’s Assistant Field Office Director at
   26    Otay Mesa Detention Center on May 1, 2018, and an interview with the CBP
   27    Field Officer Director in San Diego on January 5, 2018).
      73   OIG Report, supra note 1, at 8.
   28                                            53
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         appeared to be largely empty.”74 CBP’s “capacity” excuse appears to be a cover for
    1 a “deliberate slowdown” of the rate at which the agency receives asylum seekers at
    1=
    2 POEs.75
    1=
    3 Plaintiff Jose Doe
    1=
    4       78. J.D. is a native and citizen of Honduras. J.D. operated a small banana
    1=
    5 business in Honduras. 18th Street gang members began targeting his business for
    1=
    6 extortion and brutally attacked J.D. with a machete when he fell behind on
    1=
    7 payments. 18th Street later targeted another business J.D. established.On October
    1=
    8 10, 2018, CBP rejected thirty-two asylum seekers including small children and
    1=
    9 pregnant women at the C6rdoba International Bridge between Ciudad Juarez and
    1=
   10 El Paso, Texas. CBP stopped the individuals and told them that there was no
   11 capacity to take them in, including the pregnant women who were some of the
   12 most vulnerable people in the group. However, only two or so hours later, CBP
   13 officers in the middle of the bridge received orders to let all thirty-two individuals
   14 in belying the initial assertion of a lack of capacity. Similarly, in Nogales, Arizona,
   15 recently CBP abruptly switched from processing six asylum seekers per
   16 day—citing a lack of capacity to take any more—to twenty asylum seekers per
   17 day. “The sudden change in processing capability points more to an administrative
   18 decision than to an increase in capacity which would more likely happen
   19 gradually.”76
   20 74 Zero-Tolerance Criminal Prosecutions, supra note 67, at 9.
   21 75 Adam Isacson et al., Wash. Office on Latin Am., “Come Back Later”:
         Challenges for Asylum Seekers Waiting at Ports of Entry 3 (2018),
   22    https://www.wola.org/wp-content/uploads/2018/08/Ports-of-Entry-Report_
   23    PDFvers-3.pdf [hereinafter Come Back Later]; Debbie Nathan, Desperate
         Asylum-Seekers Are BeingTurned Away by U.S. Border Agqnts Claiming
   24    There’s “No Room”, The-Intercept (June 16, 2018, 8:37 AM),
   25    https://theintercept.corn/
         2018/06/16/immigration-border-asylum-central-america/ (reporting that a
   26    shelter manager in the El Paso area familiar with CBP’s and ICE’s local
   27    processing facilities “can’t imagine they are overtaxed”).
      76   Come Back Later, supra note 75, at 5.
   28                                            54
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              79.   In 2016, 18th Street kidnapped and killed his wife’s cousin after she
    1 resisted the gang, and threatened to kidnap and sexually assault J.D.’s two teenage
    1=
    2 daughters. 18th Street also killed two of his wife’s unclesBy restricting the number
    1=
    3 of individuals who can seek access to the asylum process—particularly given
    1=
    4 manifestly grave dangers asylum seekers face while waiting on the Mexican side
    1=
    5 of the border—the Turnback policy operates as a constructive denial of access to
    1=
    6 the asylum process. The denial threatens grave harm to vulnerable individuals
    1=
    7 waiting in very dangerous conditions on the Mexican side of the border.
    1=
    8
    1=
    9         80.   In June 2017, J.D. fled Honduras and took many buses through
    1=
   10 Honduras and Guatemala to avoid detection. J.D. arrived in Nuevo Laredo and
   11 was accosted by multiple gang members. J.D. presented himself at the Laredo,
   12 Texas POE the next day after this terrifying encounter, and he explained that he
   13 was afraid of returning to Honduras and wanted to seek asylum. CBP officials at
   14 the POE misinformed J.D. that he needed a visa to apply for asylum and told him
   15 that there was no one to handle his application. CBP officials sent J.D. back to
   16 Nuevo Laredo, where he again was approached by gang membersaddition, an
   17 assertion of a lack of capacity is not a lawful basis to deny the non-discretionary
   18 duty to provide access to the asylum process.
   19
   20         81.   J.D. would like to present himself again to seek asylum but, based on
   21 his experience and the experience of others with CBP’s practice at POEs, he
   22 understands that he would likely be turned away again.Other U.S. government
   23 entities have raised concerns about CBP’s treatment of asylum seekers. In 2016,
   24 for example, the bipartisan U.S. Commission on International Religious Freedom
   25
   26
   27
   28                                            55
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          noted some CBP officers’ “outright skepticism, if not hostility, toward asylum
    1 claims.”77
    3=,




    2
    3=,

            82.       J.D. is currently staying temporarily with his wife’s relatives in
    3 Monterrey, Mexico where he continues to fear for his life. J.D. cannot remain in
    3=,




    4 Mexico and has no place to turn for safety but the United States.Congress has also
    3=,




    5 signaled concern over CBP’s treatment of asylum seekers at the border. “While
    3=,




    6 proposing over $58 billion in federal funding for DHS agencies, the House
    3=,




    7 Appropriations Committee in July 2018 called on DHS to ‘ensure that the United
    3=,




    8 States is meeting its legal obligations, to include reminding field officers and
    3=,




    9 agents about CBP’s legal responsibilities to ensure that asylum-seekers can enter
    3=,




   10 at POEs [ports-of-entry].”78
   11                 2.     CBP Officials Have Systematically Denied Numerous Other
   12                        Asylum Seekers Access to the Asylum Process
   13           83.   Class Plaintiffs’ experiences reflect a systematic and persistent
   14 practice by CBP that has unlawfully denied numerous other asylum seekers access
   15 to the U.S. asylum process.As detailed below, Plaintiffs Bianca, Emiliana, Cesar,
   16 Roberto, Maria, Ursula, and Juan were each subject to the Turnback Policy when
   17 CBP officials told them there was no capacity to process them and/or that they had
   18     77    See U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection: The
   19        Treatment of Asylum Seekers in Expedited Removal 2 (2016) (reporting that
             despite findings and recommendations in a 2005 study relating to primary
   20        inspection, USCIRF observers in 2016 continued to find “several examples of
   21        non-compliance with required procedures” in CBP primary inspection
             interviews); see also 2005 USCIRF Report, supra note 37, at 54 (finding that, in
   22        approximately half of the inspections observed, inspectors failed to read the
   23        proper advisals regarding asylum to the non-citizen and that “in 15 percent of
             [the] cases [ ] where an arriving [non-citizen] expressed a fear of return to the
   24        inspector, that [non-citizen] was not referred” for a credible fear interview).
   25     78    You Don’t Have Any Rights Here, supra note 40, at 11 (citing Staff of H.R.
             Comm. on Appropriations, 115th Cong., Rep. on Department of Homeland
   26        Security Appropriations Bill, 2019 4, 26 (Comm. Print 2018), haps
   27        ://docs.house.gov/meetings/AP/AP00/20180725/108623/11MKP-115-AP00-2018
             0725-SD004.pdf [hereinafter Bill Report Draft]).
   28                                              56
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         to wait an unreasonable or indeterminate amount of time in very dangerous
    1 conditions on the Mexican side of the border before they could access the asylum
    1=
    2 process. Plaintiffs Victoria, Cesar, Maria, Ursula, and Juan were each subject to
    1=
    3 the Turnback Policy when CBP officials told them to speak to a Mexican official
    1=
    4 (Victoria) or when Mexican officials intercepted them (Cesar, Maria, Ursula, Juan)
    1=
    5 and interfered with their ability to access the U.S. asylum process.
    1=
    6       C.     C.    CBP Officials’ Unlawful Practices Have Denied Hundreds
    1=
    7                of Asylum Seekers Access to the Asylum Process
    1=
    8          84.   Starting in or around mid-2016 and continuing to the present, CBP
    1=
    9 officials have carried out Defendants’ systematic practice of denyingalso have
    1=
   10 been engaging in other unlawful, widespread practices to deny asylum seekers
   11 access to the U.S. asylum process by relying on certain categories of tactics,
   12 includingasylum process—independently or as a part of or incident to the
   13 Turnback Policy. These practices include the use of misrepresentations,; threats




                                                                                   -
   14 and intimidation,; coercion; and verbal and physical abuse, and coercion; denying
                         -
   15 outright access to the asylum process; physically obstructing access to the POE;
   16 forcing asylum seekers to wait unreasonable or indeterminate amounts of time
   17 before being processed; and racially discriminatory denials of access. Asylum
   18 seekers and advocates have experienced and/or witnessed firsthand CBP’s illegal
   19 conduct.
   20
                     1.   a. Misrepresentations:
   21          85.   CBP officials misinform asylum seekers ofwith the following
   22 misrepresentations, among others: that the United States is no longer providing
   23 asylum; that President Trump signed a new law that ended asylum in the United
   24 States; that the law providing asylum to Central Americans recently ended; that
   25 Mexicans are no longer eligible for asylum; that the United States is no longer
   26 accepting mothers with children; that the United States got rid of the law that
   27 allowed for asylum for children; that asylum seekers cannot seek asylum at the
   28                                           57
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         POE, but must go to the U.S. Consulate in Mexico instead; that visas are required
    1 to cross at a POE; and that asylum seekers must obtain a “ticket” from a Mexican
    1=
    2 government agency (Grupo Beta)first speak with Mexican immigration officials
    1=
    3 before they will be allowed to enter the United States to seek asylum; that there is
    1=
    4 not “space” for additional asylum seekers to enter; that there are “too many
    1=
    5 people”; that the port is “full”; that the shelters or detention centers where asylum
    1=
    6 seekers will be held are “full”; that there are too few officials in the port to process
    1=
    7 asylum seekers; that asylum seekers must wait for people to leave before they can
    1=
    8 enter; and that by coming to the POE, asylum seekers are in a “federal zone” and
    1=
    9 therefore they must leave.
    1=
   10       86. Class Plaintiffs A.D., B.D., D.D., I.D., and J.D.Abigail, Beatrice,
   11 Dinora, Ingrid, Victoria, Bianca, Emiliana, Roberto, Ursula, and Juan each
   12 experienced this practice. D.D.Dinora and I.D.Ingrid both were told asylum was
   13 no longer available in the United States. A.D.Abigail was told that only the
   14 Mexican government could help her. B.D.Beatrice was told that the U.S.
   15 government had no obligation to help her and that she had no right to enter the
   16 United States. J.D. was told, falsely, that he needed a visa in order to apply for
   17 asylumVictoria and Bianca were told they needed to speak with Mexican officials.
   18 When Bianca, Emiliana, and Roberto approached CBP officials to apply for
   19 asylum, they were told they could not apply because the ports were “full.” Ursula
   20 and Juan were told that the POE was “closed” even though it was mid-afternoon.
   21
                     2.   b. Use of Threats and Intimidation:
                                                                    -
   22          87.   CBP officials threaten and intimidate asylum seekers in the following
   23 ways: threatening to take asylum seekers’ children away from them if they did not
   24 leave the POE; threatening to separate children from parents if they did not accept
   25 voluntary departure; threatening to detain and to deport asylum seekers to their
   26 home countries if they persisted in their claims; threating to call Mexican
   27 immigration or otherwise turn asylum seekers over to the Mexican government if
   28                                        58
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         they do not leave the POE; threatening to ban asylum seekers from the United
    1 States for life if they continued to pursue asylum; and blockingthreatening to bring
    1=
    2 criminal charges against asylum seekers from entering the CBP office andif they
    1=
    3 refused to leave the POE; threatening to use a taser or let dogs loose if theyasylum
    1=
    4 seekers refused to go back to Mexico; and threatening to call Mexican
    1=
    5 immigration officers if asylum seekers did not leave the POE.
    1=
    6      88. Class Plaintiffs A.D., B.D.Abigail, Beatrice, and C.D.Carolina each
    1=
    7 experienced this practice and were threatened that if they tried to cross and pursue
    1=
    8 their asylum claims, U.S. government officials would take their children away or
    1=
    9 separate their families. Additionally, D.D.Dinora was threatened that if she and her
    1=
   10 daughter returned to the POE, they would be deported to Honduras. B.D.Beatrice
   11 was told that if she returned to the POE, she would be put in jail for three years.
   12
                   3.     c. Use of Verbal and Physical Abuse:




                                                                   -
   13        89. As part of their systematic practice of denying asylum seekers
   14 arriving at POEs access to the U.S. asylum process, CBP officials also regularly
   15 resort toresortto verbal and even physical abuse.90.     For, including, for
   16 example, CBP officials have resorted to the following verbal and physical
   17 abuseby: grabbing an asylum seeker’s six-year-old daughter’s arm and throwing
              1
              -
   18 her down onto the ground; holding a gun to an asylum seeker’s back and forcing
   19 her out of the POE; knocking a transgender asylum seeker to the ground and
   20 stepping on her neck; telling an asylum seeker she was scaring her five-year-old
   21 son by persisting in her request for asylum and accusing her of being a bad
   22 mother; laughing at an asylum-seeking mother and her three children and mocking
   23 the asylum seeker’s thirteen-year-old son who has cerebral palsy; and yelling
   24 profanities at an asylum-seeking mother and her five-year-old son, throwing her to
   25 the ground, and forcefully pressing her cheek into the pavement.; making very
                                                                           -
   26 derogatory comments about an asylum seeker’s country of origin (“Fuck
   27 Honduras”); denying four asylum seekers on five consecutive days because
   28                                       59
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         “Guatemalans make us sick”; repeatedly and angrily yelling at asylum seekers to
    1 make them leave the POE; inquiring whether an asylum seeker was pregnant, and
    1=
    2 when the answer was negative, saying “that was good because they did not want
    1=
    3 more children in the United States”; grabbing the arms of an asylum seeker hard
    1=
    4 enough to leave bruises, bending them behind her back in order to drag her back to
    1=
    5 Mexico, and also physically dragging her child back to Mexico; grabbing another
    1=
    6 asylum seeker by the shoulders hard enough to leave bruises and dragging her out
    1=
    7 of the POE with her seven-year-old watching and yelling “leave my mommy
    1=
    8 alone!”; pushing an asylum seeker while she was holding her infant daughter; and
    1=
    9 pushing another asylum seeker while she was holding her three-year-old son. One
    1=
   10 asylum seeker reported that she sought mental health treatment to process how she
   11 was treated after being forcibly dragged out of the POE and back to Mexico with
   12 her two children.
   13          91.90.Class Plaintiffs D.D.Dinora and B.D.Beatrice both experienced this
   14 practice. One CBP official pulled D.D.Dinora inside a gate at the POE to try to
   15 separate her from her daughter. Later, as CBP officials escorted D.D.Dinora and
   16 her daughter out of the POE, one of the CBP officials tried to drag D.D.Dinora by
   17 her arm. B.D.Beatrice also experienced rough treatment and cried out in pain when
   18 a CBP official forcefully searched her for drugs.
   19
                  4.     d. Use of Coercion:
                                              -
   20      92.91.CBP officials resort to coercion to deny asylum seekers arriving at
   21 POEs access to the U.S. asylum process, including: coercing asylum seekers into
   22 recanting their fear on video; and coercing asylum seekers into withdrawing their
   23 applications for admission to the United States.
   24          93.92.Class Plaintiffs A.D., B.D.Abigail, Beatrice and C.D.Carolina each
   25 experienced this practice of coercion. Each was coerced to sign a form, written in
   26 English and not translated, which they did not understand, that stated they were
   27 voluntarily withdrawing their claims for asylum on the groundsground that they
   28                                          60
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         did not fear returning to Mexico. The forms CBP officials coerced them to sign
    1 were and still are false: A.D., B.D. and C.D.. At the time the initial Complaint in
    1=
    2 this case was filed, Abigail, Beatrice and Carolina still havehad a grave fear of
    1=
    3 persecution in Mexico.
    1=
    4
                   5.   Outright Denial of Access
    1=
    5       93. In some cases, CBP officials simply turn asylum seekers away from
    1=
    6 POEs without any substantive explanation. For example, CBP officials have
    1=
    7 indicated that a particular POE is not receiving any asylum seekers; that asylum
    1=
    8 seekers should “vete” (go away); that asylum seekers must leave; that asylum
    1=
    9 seekers will not be allowed to enter the United States; that there is no help for
    1=
   10 asylum seekers at the POE; and that asylum seekers simply must “move aside” to
   11 allow other pedestrian traffic to pass. In other cases, CBP officials simply ignore
   12 people who indicate a desire to seek asylum, or flatly refuse to look at their
   13 identity documents.
   14        94. CBP officials’ use of various tactics, including misrepresentations,
   15 threats and intimidation, verbal and physical abuse, and coercion, at the POEs
   16 along the U.S.-Mexico border further evidence a systematic practice of denying
   17 asylum seekers access to the U.S. asylum process.Victoria and Cesar both
   18 experienced this practice. When Victoria told a CBP official she wanted to seek
   19 asylum, the official responded that she could not do so at that time. When Cesar
   20 tried to present himself at a POE and stated his intent to apply for asylum, CBP
   21 officials refused to let him proceed to the POE.
   22
                    6.     Physically Blocking Access to the POE
   23        95. In recent months, CBP officials at numerous POEs have begun
   24 preliminarily checking pedestrian travelers’ documents at makeshift or permanent
   25 “pre-checkpoints” housed under tarps or in tents at or near the U.S.-Mexico
   26
   27
   28                                            61
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         border.79 The CBP officials do not permit asylum seekers to walk past the
    1 pre-checkpoint to enter the POE building, forcing them to remain on the Mexican
    1=
    2 side of the border just inches away from the United States.
    1=
    3          96.   On information and belief, CBP sometimes enlists Mexican officials
    1=
    4 to act as their agents in blocking asylum seekers’ access to POEs. In the Rio
    1=
    5 Grande Valley, for example, Mexican officials have intercepted asylum seekers as
    1=
    6 they were approaching turnstiles at bridge entrances on the Mexican side. Without
    1=
    7 passing through the turnstile, an asylum seeker cannot walk across the bridge to
    1=
    8 the POE to seek protection in the United States. Mexican officials also reportedly
    1=
    9 meet CBP officials in the middle of bridges to escort asylum seekers away from
    1=
   10 the border and back into Mexico, where they are often detained or deported to
   11 dangerous conditions in their home countries.
   12          97.   CBP physically blocked Roberto, Maria, Ursula, and Juan from
   13 accessing the asylum process by stopping them at pre-checkpoints at the border
   14 and refusing to let them pass. In addition, Cesar was intercepted by Mexican
   15 officials outside the POE and pushed into a corner to prevent him from
   16 approaching the POE. Mexican officials physically escorted Roberto and Maria
   17 away from CBP officials stationed at the border and detained them to block their
   18
   19 79 See, e.g., Hannah Wiley, Critics Say New Barriers on Border Bridge Are
        Meant to Deter Asylum-Seekers, Tex. Trib. (Oct. 1, 2018),
   20   https.://www.texpstribune
   21   .org/2018/10/01/border-asylum-port-of-entry-texas-mexico/; Meredith
        Hoffman, The Horrible Conditions Endured by Migrants Hoping to Enter the
   22   US Legally, VICE (July 3, 2018), https://www.vice.com/en_us/article/59qny3/ m
   23   igrants-hoping-to-get-us-asylum-forced-to-wait-on-bridge; John Burnett, After
        Traveling 2,000 Miles for Asylum, This Family’s Journey Halts at a Bridge,
   24   NPR (June 15, 2018), https://www.npr.org/2018/06/15/620310589/
   25   aAer-a-2-000-mile-asylum-journey-family-is-turned-away-before-reaching-u-s-so
        il; Molly Hennessy-Fiske, Caught in Limbo, Central American Asylum-Seekers
   26   Are Left Waiting on a Bridge Over the Rio Grande, L.A. Times (June 7, 2018),
   27   http://www.latimes.com/nation/la-na-asylum-seeking-families-border-bridges-20
        180605-story.html; Moore, supra note 68.
   28                                         62
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         access to the POE. Mexican officials also blocked Maria, Juan, and Ursula from
    1 reaching the POE by preventing them from walking onto the sidewalk leading to
    1=
    2 the POE. CBP officials witnessed Mexican officials block Maria’s access and,
    1=
    3 when Maria’s lawyer questioned them about it, CBP officials refused to intervene.
    1=
    4
                  7.     Waitlists and Unreasonable Delays
    1=
    5       98. By its own admission, CBP officials force asylum seekers to wait for
    1=
    6 days, weeks or indefinitely in Mexico before allowing them to access the asylum
    1=
    7 process.
    1=
    8       99.      CBP officials process a limited number of asylum seekers per day,
    1=
    9 even when dozens are waiting. At some POEs, CBP appears to process a fixed
    1=
   10 number of asylum seekers—often two, three, or four. On some days, CBP officials
   11 do not process any asylum seekers.
   12       100. CBP officials also routinely tell asylum seekers approaching POEs
   13 that in order to apply for asylum, they must get on a list or get a number. The lists
   14 are typically managed by Mexican immigration officials or other third parties
   15 based in Mexico. CBP officials will not permit asylum seekers to enter the United
   16 States until their number is called, which can take days, weeks or longer. Often,
   17 the people managing the lists only give out new numbers during particular hours
   18 of the day, and so are inaccessible to asylum seekers who are unable to locate
   19 them. Despite diligent efforts, some individuals have reportedly been unable to get
   20 their names on the lists due to the list managers’ biases against the individuals’
   21 ethnicity, sexual orientation or gender identity.
   22       101. As a result of these practices, asylum-seeking men, women and
   23 children wait endlessly on or near bridges leading to POEs in rain, cold, and
   24 blistering heat, without sufficient food or water and with limited bathroom access.
   25 They sleep outside for many nights in a row, sometimes for a week or more. The
   26 entire time they are waiting to be processed, the asylum seekers are at risk of harm
   27 from either persecutors that have followed them from their home countries, or
   28                                          63
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         from gang violence and other criminal threats prevalent along the Mexico side of
    1 the U.S.-Mexico border.
    1=
    2       102. Bianca, Emiliana, and Cesar experienced this practice because they
    1=
    3 were required to get on a list in order to access the asylum process. Bianca,
    1=
    4 Emiliana, and Roberto were told they would have to wait an indeterminate and
    1=
    5 unreasonable amount of time before they could seek asylum—Bianca was told she
    1=
    6 would have to wait “multiple weeks”; Emiliana was told to come back in six
    1=
    7 weeks; Roberto was told he would have to wait for “hours, days, or weeks”. In
    1=
    8 addition, Bianca, Emiliana, and Maria were merely told to stand aside and wait for
    1=
    9 an indeterminate period of time. Ursula and Juan were told they had to “wait their
    1=
   10 turn,” without any indication of what that meant.
   11
                    8.   Racially Discriminatory Denials of Access
   12          103. In March 2018, CBP officials at the midpoint of the Paso Del Norte
   13 Bridge separating Ciudad Juarez, Mexico and El Paso, Texas, rejected four
   14 Guatemalan asylum seekers’ requests to access the asylum process on five
   15 consecutive days because according to CBP, “Guatemalans make us sick.”
   16       104. On information and belief CBP agents racially profile individuals
   17 crossing on bridges, stopping and asking for identification documents from
   18 darker-skinned Central American-appearing individuals while allowing
   19 lighter-skinned individuals to pass.
   20        105. Cesar was subject to this practice. When he approached the POE to
   21 apply for asylum, he was placed in a group with only other Central Americans,
   22 away from the Africans and Mexicans, after which he was arrested, detained, and
   23 threatened with deportation.
   24        106. All of the above-referenced tactics served to deny asylum seekers
   25 access to the U.S. asylum process.
   26
   27
   28                                            64
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                  D.    Documentation from Experts and NGOs Confirms the Prevalence
    1
    1=
                        and Persistence of the Turnback Policy and CBP’s Other
    2                   Unlawful Practices
    1=
    3             95.   The prevalence and persistence of CBP’s illegal practice has been
    1=
    4 heavily documented by non107.       Non-governmental organizations and other
    1=
    5 experts working in the U.S.-Mexico border region have extensively documented
    1=
    6 the devastating consequences of CBP’s unlawful Turnback Policy and other
    1=
    7 unlawful practices designed to restrict or deny access to the asylum process.
    1=
    8             108. In June 2017, Amnesty International, a non-profit human rights
    1=
    9 organization, published a report on CBP’s ongoing practice of turning back
    1=
   10 asylum seekers at the U.S.-Mexico border entitled Facing Walls: USA and
   11 Mexico’s Violations of the Rights of Asylum-Seekers.80 In compiling the report,
   12 Amnesty International interviewed more than 120 asylum seekers as well as
   13 approximately 25 government officials and 40 civil society organizations. The
   14 report documents numerous instances in which CBP officials denied asylum
   15 seekers access to the asylum system at five different POEs along the U.S.-Mexico
   16 border. The report details the following conduct:
   17                   a.    CBP officials coerce asylum seekers into recanting their fear of
   18                         persecution on videotape and threaten to deport them back to
   19                         their home countries if they do not comply;
   20                   b.    CBP officials tell asylum seekers that they will first have to get
   21                         a “ticket” from Mexican authorities before seeking asylum;
   22                   c.    CBP officials coerce asylum seekers into signing a voluntary
   23                         return paper under the threat that, if they do not, then they will
   24                         be deported and will never be allowed into the United States;
   25                         and
   26
   27
         80   See Facing Walls, supra note 38.
   28                                                65
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                       d.    CBP officials tell Mexican asylum seekers that there is no more
    1
    1=
                             asylum for Mexicans.
    2            109. In October 2018, Amnesty International issued a subsequent report
    1=
    3 entitled USA: ‘You Don’t Have Any Rights Here’: Illegal Pushbacks, Arbitrary
    1=
    4 Detention & Ill-Treatment of Asylum-Seekers in the United States,81 documenting
    1=
    5 CBP’s continuing practice of turnbacks at POEs in California, Arizona and Texas,
    1=
    6 and concluding that, in 2017 and 2018, the U.S. government had “intensified a
    1=
    7 systematic and dangerous de facto policy of illegal pushbacks against asylum
    1=
    8 seekers, in order to prevent them from requesting protection at official U.S.
    1=
    9 ports-of-entry.” In addition to the conduct outlined above, the report details the
    1=
   10 following:
   11                   a.   CBP used “slowdown” tactics to force asylum seekers to wait
                             for days or weeks in Mexico before allowing them to seek
   12                        protection at POEs;
   13                   b.   At several POEs, CBP officials temporarily stopped receiving
                             any asylum seekers;
   14
                        c.   CBP erected temporary checkpoints in the centers of
   15                        international bridges to Mexico at various POEs, where
                             CBP officers instructed pedestrians without valid Mexican
   16                        travel documents to return to Mexico or called Mexican
                             officials to remove such individuals from the bridge.
   17
                 110. In August 2018, the Washington Office on Latin America (“WOLA”),
   18
         a non-profit human rights research and advocacy organization, published a
   19
         thorough report entitled ‘Come Back Later’: Challenges for Asylum Seekers
   20
         Waiting at Ports of Entry.82WOLA’s report, based on years of documentary
   21
         research and a visit to the U.S.-Mexico border in June 2018, details the following
   22
         developments:
   23
                       a.    There has recently been “a marked slow-down” in CBP’s
   24
                             processing of asylum seekers at POEs, leading to long lines of
   25
   26
   27    81    You Don’t Have Any Rights Here, supra note 40.
         82   Come Back Later, supra note 75.
   28                                             66
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                               individuals and families waiting to present themselves to seek
    1
    1=
                               asylum;
    2                   h.     In June 2018, CBP officials at the Nogales POE had allowed a
    1=
    3                          backlog of 113 people, including 48 families, who were
    1=
    4                          waiting in Nogales, Mexico to present themselves to seek
    1=
    5                          asylum;
    1=
    6                   c.     CBP officials “have positioned themselves on the [physical]
    1=
    7                          border, pre-screening people before they are allowed to enter
    1=
    8                          U.S. territory and repeatedly denying asylum-seekers entry into
    1=
    9                          the country, forcing them to wait days or even weeks in hot and
    1=
   10                          in some areas dangerous Mexican border towns”;
   11                   d.     CBP officials at smaller POEs tell asylum seekers that they no
   12                          longer process asylum claims at those POEs, and that the
   13                          migrants must travel to larger POEs many miles away; and
   14                   e.     Mexican government officials block access to the McAllen
   15                          POE on the Reynosa side, and detain asylum seekers who lack
   16                          the proper travel documents to be in Mexico.
   17             96. 111. In May 2017, Human Rights First, a respected non-governmental
   18 organization, published an Exhaustive Reportexhaustive report entitled, “Crossing
   19 the Line: U.S. Border Agents Illegally Reject Asylum Seekers.”2983 In that report,
                                                                               1=
   20 Human Rights First details firsthand accounts of CBP officials turning awayback
   21 asylum seekers without referring them for further screening or immigration court
   22 proceedings at POEs across the U.S.-Mexico border. The report details the
   23 following conduct:
   24                   a.     CBP officials simply ignore requests by individuals to seek
   25                          asylum;
   26
   27
         29 83   See Crossing the Line, supra note 22.32.
   28
            m
                                                    67
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                        b.    CBP officials give false information about U.S. laws and
    1
    1=
                              procedures, such as saying that “the United States is not giving
    2                         asylum anymore” and “[President] Trump says we don’t have
    1=
    3                         to let you in”;
    1=
    4                   c.    CBP officials mock and intimidate asylum seekers;
    1=
    5                   d.    CBP officials impose a “gauntlet” and “charade” of procedures,
    1=
    6                         including a “ticketing” system, to discourage asylum seekers;
    1=
    7                         and
    1=
    8                   e.    CBP officials coerce asylum seekers into denouncing any fear
    1=
    9                         of persecution.
    1=
   10             97.112.     Despite the complete lack of statistics or recordkeeping on
   11 CBP’s failure to comply with the law, Human Rights First’s Report references
   12 more than 125 cases of CBP turning awayback individuals and families seeking
   13 asylum at POEs along the U.S.-Mexico border between November 2016 and April
   14 2017. This is likely a small fraction of the number of asylum seekers beingwho
   15 were illegally denied access to the asylum process during that period.
   16       98. In June 2017, Amnesty International, a non-profit human rights
   17 organization, published a report on CBP’s ongoing practice of turning away
   18 asylum seekers at the U.S.-Mexico border entitled “Facing Walls: USA and
   19 Mexico’s Violations of the Rights of Asylum-Seekers.”30 In compiling the report,
   20 Amnesty International interviewed more than 120 asylum seekers as well as
   21 approximately 25 government officials and 40 civil society organizations. The
   22 report documents numerous instances in which CBP officials denied asylum
   23 seekers access to the asylum system at five different POEs along the U.S.-Mexico
   24 border. The report details the following conduct:
   25
   26
   27
         30   See Facing Walls, supra note 27.
   28                                                68
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                    a.    CBP officials coerce asylum seekers into recanting their fear of




                    -
    1
    1=
                          persecution on videotape and threaten to deport them back to
    2                     their home countries if they do not comply;
    1=
    3        113. In July 2018, Human Rights First supplemented its 2017 report with
    1=
    4 an issue brief documenting researchers’ visits to seven international bridges in
    1=
    5 June 2018, at Hidalgo, Texas; Brownsville, Texas; Roma, Texas; Progreso, Texas;
    1=
    6 Laredo, Texas; and El Paso, Texas. The researchers found:
    1=
    7               a.    At all seven bridges visited, “CBP installed new checkpoints at
    1=
    8                     the international border line” where “agents conduct document
    1=
    9                     screening ahead of the processing center” and regularly turn
    1=
   10                     back asylum seekers;
   11               b.    CBP officials tell asylum seekers that they will first have to get
   12                     a “ticket” from Mexican authorities before seeking
   13                     asylum;agents tell asylum seekers at the bridges that the POE is
   14                     “full” or “at capacity,” which leaves asylum seekers “stranded
   15                     for days or weeks in dangerous or difficult conditions”;
   16               c.    CBP officials coerce asylum seekers into signing a voluntary
   17                     return paper under the threat that, if they do not, then they will
   18                     be deported and will never be allowed into the United States;
   19                     andAsylum seekers whom CBP fails to process “face extreme
   20                     heat, lack of food, water, and bathroom facilities, [and] in some
   21                     areas, they also face grave dangers and risks,” particularly
   22                     kidnapping;
   23               d.    CBP officials tell Mexican asylum seekers that there is no more
   24                     asylum for Mexicans.A shelter in Tijuana, Mexico, was broken
   25                     into and set on fire “likely because a group of transgender
   26                     women were seeking refuge there after being turned away
   27                     several times by [CBP]”; and
   28                                            69
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                        e.    CBP officers tell asylum seekers that they cannot cross at the
    1
    1=
                              Stanton Street Bridge POE in El Paso, Texas.84
    2             99.114.     From OctoberDecember 2016 to the present, the Women’s
    1=
    3 Refugee Commission, a non-profit organization that advocates for women and
    1=
    4 children fleeing violence and persecution, has investigated and documented
    1=
    5 numerous instances in which CBP officials have turned asylum seekers away and
    1=
    6 refused to process them at fourvarious POEs along the U.S.-Mexico border,
    1=
    7 including POEs in San Ysidro and Calexico, California; Nogales and San Luis,
    1=
    8 Arizona; McAllen, TexasSanta Teresa, New Mexico; and El Paso, Laredo, and
    1=
    9 McAllen, Texas. The Women’s Refugee Commission has documented the
    1=
   10 following conduct:
   11                   a.    CBP officials tell asylum seekers there is no space for them;
   12                   b.    CBP officials tell asylum seekers that the policies have
   13                         changed and that they no longer qualify for asylum;
   14                   c.    CBP officials threaten to call Mexican immigration authorities
   15                         to remove asylum seekers from the POEs;
   16                   d.    CBP officials forcibly removethreaten asylum seekers from the
   17                         POEs; andwith prolonged detention in the U.S. if they pursue
   18                         their asylum claims;
   19                   e.    CBP officials threaten physical force to remove asylum seekers
   20                         from the POEs;
   21                   f.    CBP officials forcibly remove asylum seekers from the POEs;
   22                   g.    CBP officials tell asylum seekers to go away.;
                                                                             -
   23                   h.    CBP officials tell asylum seekers that they must coordinate
   24                         with Mexican immigration authorities in order to be processed;
   25
   26
   27
         84   Zero-Tolerance Criminal Prosecutions, supra note 67, at 8-9.
   28                                                70
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                   i.     CBP officials, in coordination with Mexican officials and
    1
    1=
                          agents, filter out asylum seekers who lack valid travel
    2                     documents;
    1=
    3              j      CBP officials deny asylum seekers the right to apply for asylum
    1=
    4                     at certain POEs; and
    1=
    5              k.     CBP places officials, and sometimes semi-permanent
    1=
    6                     structures, at the middle of international bridges to pre-screen
    1=
    7                     migrants.
    1=
    8        100.115.     From October 2016 through the present, the Project in Dilley,
    1=
    9 which provides pro bono legal services to mothers and children detained at the
    1=
   10 South Texas Family Residential Center in Dilley, Texas, has identified more than
   11 50100 asylum-seeking mothers who were turned awayback by CBP officials at
   12 POEs along the U.S.-Mexico border, including POEs in San Ysidro, California;
   13 McAllenCalexico, California; San Luis, Arizona; Nogales, Arizona; El Paso,
   14 Texas; Del Rio, Texas; Eagle Pass, Texas; Laredo, Texas; and Eagle PassRoma,
   15 Texas; McAllen, Texas; Los Indios, Texas; and Brownsville, Texas. The Project in
   16 Dilley has documented the following conduct:
   17              a.     CBP officials tell asylum seekers that asylum law is no longer
   18                     in effect;
   19              b.     CBP officials tell asylum seekers that they have orders to send
   20                     away everyone who is seeking asylum;
   21              c.     CBP officials tell asylum seekers they cannot seek asylum
   22                     because there is no more spacethat the POE is full and that they
   23                     must wait to be processed, causing some asylum seekers to wait
   24                     days or weeks without access to shelter, food, water, or
   25                     bathrooms;
   26              d.     CBP officials threaten to deport asylum seekers to their home
   27                     countries; and
   28                                            71
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                   e.      CBP officials use physical force to remove asylum seekers
    1
    1=
                           from POEs, including by handcuffing them, throwing them to
    2                      the ground, shoving them and dragging them out of the POEs.
    1=
    3        101.116.      Since December 2015, representatives of Plaintiff Al Otro Lado
    1=
    4 have accompanied more than 160 asylum seekers to the San Ysidro POE. Several
    1=
    5 representatives have witnessed firsthand and/or otherwise documented the tactics
    1=
    6 employed by CBP to prevent asylum seekers from accessing the U.S. asylum
    1=
    7 process. Al Otro Lado representatives have documented the following conduct:
    1=
    8              a.      CBP officials tell asylum seekers they have to apply for asylum
    1=
    9                      at the U.S. Consulate in Mexico or the U.S. Embassy in their
    1=
   10                      home countries;
   11              b.      CBP officials tell asylum seekers that they must first obtain a
   12                      “ticket” from Mexican immigration in order to seek asylum;
   13              c.      CBP officials tell asylum seekers that they are not processing
   14                      asylum seekers at that POE and they must go to another POE to
   15                      be processed;
   16              d.      CBP officials tell asylum seekers that they cannot seek asylum
   17                      at that time and must be put on a waiting list;
   18              e.      CBP officials require asylum seekers to register with migrant
   19                      shelters in Mexico which control the flow of asylum seekers to
   20                      the POEs;
   21              f.      CBP officials tell asylum seekers that they do not qualify for
   22                      asylum; and
   23              fg.     CBP officials coerce asylum seekers into withdrawing their
                   -
                       -
   24                      asylum claims, including by threatening that they will be
   25                      deported if they do not do so.;
                                                        -
   26
   27
   28                                            72
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                       h.    CBP officials threaten asylum seekers with forced separation
    1
    1=
                             from their children, prolonged detention, and eventual
    2                        deportation;
    1=
    3                  i.    CBP officials subject asylum seekers to verbal abuse and
    1=
    4                        degradation during the inspection process;
    1=
    5                  j     CBP officials ask asylum seekers to present paperwork they are
    1=
    6                        not required to present; and
    1=
    7                  k.    CBP officials threaten U.S. attorneys attempting to assist
    1=
    8                        asylum seekers with ultra vices removal to Mexico.
    1=
    9            102. 117. On January 13, 2017, various non-governmental organizations
    1=
   10 submitted an administrative complaint to DHS’ Office for Civil Rights and Civil
   11 Liberties (“CRCL”) and Office of Inspector General (“OIG”).31the O1G.85 The
   12 administrative complaint provided specific examples of CBP turning awayback
   13 asylum seekers at POEs along the U.S.-Mexico border and urged CRCL and OIG
   14 to conduct a prompt and thorough investigation into this illegal practice and take
   15 swift corrective action.
   16            103. Despite this administrative complaint, Defendants’ illegal practice
   17 continues. In fact, CBP has acknowledged its illegal practice in sworn testimony
   18 before Congress. On June 13, 2017, in questioning before the House
   19 Appropriations Committee, the Executive Assistant Commissioner for CBP’s OFO
   20
   21
   22
   23
             See AmericanAm. Immigration Council at al., Complaint Re: U.S. Customs
         31 85
   24      and Border Protection’s Systemic Denial of Entry to Asylum Seekers at Ports of
   25      Entry on U.S.-Mexico Border, 1-2 (Jan. 13, 2017), https://www.
                                            -
           americanimmigrationcouncil.orghttps://www.american
   26      immigrationcounclorg/sites/default/files/general_litigation/cbp_
   27      systemic_denial_deni al of entry _ to_ asylum_ seekers_
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           advocacy_document.pdf.
   28                                             73
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         admitted that CBP officials were turning away asylum applicants at POEs along
    1 the U.S.-Mexico border.32
    1=
    2       118. Meanwhile, Defendants’ illegal turnbacks continue. In fact, as
    1=
    3 previously noted, CBP has acknowledged its Turnback Policy in sworn testimony
    1=
    4 before Congress.86
    1=
    5          E.    Defendants’ Policy and Practices Have Denied Each of the Class
    1=
    6                Plaintiffs Access to the Asylum Process
    1=
    7 Plaintiff Abigail Doe
    1=
    8       119. Abigail is a native and citizen of Mexico. She is the mother of two
    1=
    9 children under the age of ten, with whom she previously lived in Central Mexico.
    1=
   10 In May 2017, Abigail’s husband disappeared after he refused to allow drug cartel
   11 members to use his tractor-trailer to transport drugs.
   12     120. When Abigail reported her husband’s disappearance to governmental
   13 authorities, members of the drug cartel abducted her, held her at gunpoint, and
   14 threatened to kill her and her children if she continued to investigate her husband’s
   15 disappearance. One cartel member told Abigail that she had to leave if she wanted
   16 to live. Fearing for her life, Abigail fled to Tijuana with her children to seek
   17 asylum in the United States.
   18       121. After arriving in Tijuana, Abigail and her children immediately
   19 sought access to the asylum process by presenting themselves at the San Ysidro
   20 POE. At the POE, Abigail informed CBP officials of her intent to apply for asylum
   21 and her fear of returning to Mexico. CBP officials repeatedly misinformed Abigail
   22 that she did not qualify for asylum. One CBP official threatened that her children
   23
   24
   25   Hearing on the Immigration and Customs Enforcement and Customs and
         32

        Border Protection F.Y. 2018 Budgets. Before the Subcomm. on Homeland Sec.
   26   of the H. Appropriations Comm., 115th Cong. (2017) (statement of John
   27   Wagner, Executive Assistant Comm’r for CBP’s Office of Field Operations).
      86 Wagner Testimony, supra note 43, at 289-90.
   28                                        74
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         would be taken away from her if they allowed her to cross the border and again
    1 misinformed her that only the Mexican government could help her.
    1=
    2       122. CBP officials coerced Abigail into signing a document in English
    1=
    3 which she could not read and did not understand. The document stated that she did
    1=
    4 not have a fear of returning to Mexico and was withdrawing her application for
    1=
    5 admission. CBP officials then instructed Abigail to say that she had agreed to
    1=
    6 accept the assistance of the Mexican government and used a video camera to
    1=
    7 record her statement. A CBP official then took Abigail and her children back to
    1=
    8 Mexico and left them to fend for themselves.
    1=
    9          123. The statements CBP coercively obtained from Abigail were and are
    1=
   10 still false; Abigail does fear returning to and staying in Mexico and believes
   11 seeking assistance from the Mexican government would be futile.
   12          124. Following the filing of the initial Complaint in this case, Defendants
   13 made arrangements to facilitate the entry of Abigail and her children into the
   14 United States.
   15 Plaintiff Beatrice Doe
   16       125. Beatrice is a native and citizen of Mexico. In May 2017, Beatrice fled
   17 her hometown in Mexico with her three children, ages seven, eleven and fifteen,
   18 and her nephew. Beatrice’s nephew was targeted by the Zetas, a Mexican drug
   19 cartel that controls most of Southern Mexico, for failing to pay a fee that the Zetas
   20 demanded from all individuals who worked in the market. The Zetas threatened to
   21 kill Beatrice’s nephew and to harm his family if he did not pay the fees. The cartel
   22 also pressured Beatrice’s nephew to join their forces and threatened to increase the
   23 fee if he refused. On two occasions when Beatrice’s nephew failed to pay the fees,
   24 the Zetas beat him up.
   25          126. Beatrice herself suffered severe domestic violence at the hands of her
   26 husband. In May 2017, she reported his abuse to two government agencies. When
   27 Mexican government officials subsequently requested that Beatrice’s husband
   28                                            75
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         meet with them, he responded that he would continue to do what he wanted with
    1 Beatrice and his children. Terrified, Beatrice left their house the same day.
    1=
    2       127. Beatrice fled with her children and nephew and traveled to Tijuana in
    1=
    3 order to seek access to the asylum process in the United States. Initially, Beatrice
    1=
    4 and her family sought access to the asylum process by presenting themselves at the
    1=
    5          Otay Mesa POE. When Beatrice expressed their intent to seek asylum, a
    1=
    6 CBP official told her that asylum-related services were not provided at that port,
    1=
    7 and directed her to go to the San Ysidro POE. Beatrice and her family then
    1=
    8 attempted twice to seek access to the asylum process at the San Ysidro POE, but
    1=
    9 CBP officials turned them away both times.
    1=
   10          128. The first time Beatrice and her family presented themselves at the San
   11 Ysidro POE, she explained that their lives were at risk in Mexico and that she was
   12 afraid of her husband. CBP officials misinformed her that the U.S. government
   13 had no obligation to help her or her family, that they did not have a right to enter
   14 the United States because they were not born there, and that she should seek help
   15 from the Mexican government.
   16       129. Another CBP official then threatened to take Beatrice’s nephew away
   17 from her and to put her in jail if she refused to sign an English document which
   18 she did not understand. Believing that she had no other option, she signed the
   19 document. CBP officials then escorted Beatrice and her family out of the POE.
   20      130. The statements CBP coercively obtained from Beatrice were and are
   21 still false; Beatrice and her children fear returning to and staying in Mexico.
   22         131. The next day, Beatrice and her family returned to seek access to the
   23 asylum process by presenting themselves at the San Ysidro POE. A CBP official
   24 who recognized Beatrice from the day before misinformed her that she had no
   25 right to enter the United States or seek asylum, and that she would be put in jail for
   26 three years if she returned to the POE. After another CBP official separately
   27 threatened to transfer Beatrice’s nephew to Mexican authorities and return him to
   28                                         76
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         Southern Mexico, CBP officials again escorted Beatrice and her family out of the
    1 San Ysidro POE.
    1=
    2      132. Following the filing of the initial Complaint in this case, Defendants
    1=
    3 made arrangements to facilitate the entry of Beatrice and her children into the
    1=
    4 United States.
    1=
    5 Plaintiff Carolina Doe
    1=
    6       133. Carolina is a native and citizen of Mexico. In May 2017, Carolina
    1=
    7 fled her hometown in Mexico with her three children, ages nine, fifteen and
    1=
    8 eighteen, after her brother-in-law, a high-ranking police official, was kidnapped,
    1=
    9 tortured and killed by members of a drug trafficking cartel. His dismembered body
    1=
   10 was found in garbage bags in a cemetery. Carolina’s husband witnessed the
   11 kidnapping and showed Carolina a picture of one of the men who was involved.
   12 Drug cartel members threatened Carolina’s husband after the murder, and Carolina
   13 and her husband saw the van used in the kidnapping drive by their house twice.
   14 Two men followed Carolina and her daughters on her way home from work, and
   15 several men came to their home at night. Carolina was terrified and hid with her
   16 daughters in the bathroom because she feared for her life and the lives ofher
   17 daughters.
   18      134. In May 2017, Carolina fled in the middle of the night with her
   19 daughters and traveled to Tijuana in order to seek access to the asylum process in
   20 the United States. Carolina and her daughters presented themselves at the San
   21 Ysidro POE, and Carolina explained that they were afraid of returning to Mexico
   22 and wanted to seek asylum. CBP officials locked them in a room overnight at the
   23 San Ysidro POE. In the morning, a CBP official told Carolina that she wouldnot
   24 be granted asylum and misinformed her that the protection she was seeking in the
   25 United States could be provided by the Mexican authorities. The CBP official
   26 threatened to take away Carolina’s fifteen-year-old U.S. citizen daughter and put
   27 her in foster care, and told Carolina that if she did not want her daughter taken
   28                                            77
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         away from her, then she had to make a statement on video that she was not afraid
    1 of returning to Mexico.
    1=
    2        135. The CBP officials coerced Carolina into recanting her fear on video.
    1=
    3 Carolina initially did not respond as the CBP officials instructed her to do because
    1=
    4 the responses they told her to say were not true. Carolina was afraid and wanted to
    1=
    5 respond that she was very scared to return to Mexico. One of the CBP officials
    1=
    6 repeated that the only way Carolina and her daughters would be able to leave
    1=
    7 voluntarily without her U.S. citizen daughter being taken away from her was if
    1=
    8 Carolina stated on video that she was not scared. Having been locked in a room
    1=
    9 overnight, Carolina was tired and scared and felt like she was in jail. The CBP
    1=
   10 officials continued to coerce her until she finally did what they told her to do,
   11 believing she had no choice.
   12       136. The CBP officials also coerced Carolina into signing a document in
   13 English which she could not read and did not understand. The document stated
   14 that she did not have a fear of returning to Mexico and was withdrawing her
   15 application for admission. The statements CBP coercively obtained from Carolina
   16 were and are still false; Carolina does fear returning to and staying in Mexico.
   17          137. Several days after CBP turned back Carolina and her daughters at the
   18 POE, Carolina made arrangements for her U.S. citizen daughter to cross into the
   19 United States. Following the filing of the initial Complaint in this case,
   20 Defendants made arrangements to facilitate the entry of Carolina and her other
   21 children into the United States.
   22 Plaintiff Dinora Doe
   23       138. Dinora is a native and citizen of Honduras. MS-13 gang members
   24 repeatedly threatened to kill Dinora and her then-seventeen-year-old daughter if
   25 they did not leave their house. After receiving the third threat, they fled to another
   26 city where they remained in hiding.
   27
   28                                            78
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              139. When Dinora and her daughter subsequently returned home, three
    1 MS-13 members held them captive for three days and repeatedly raped each of
    1=
    2 them in front of the other.
    1=
    3         140. When Dinora and her daughter finally escaped, they fled to a shelter
    1=
    4 in Mexico. However, after being threatened by MS-13 gang members again in
    1=
    5 Mexico, they knew they had to leave.
    1=
    6         141. On three separate occasions in August 2016, Dinora and her daughter
    1=
    7 sought access to the asylum process by presenting themselves at the Otay Mesa
    1=
    8 POE and expressing their intent to seek asylum in the United States. Each time,
    1=
    9 CBP officials turned them away
    1=
   10      142. During Dinora’s first attempt, CBP officials misinformed her that
   11 there was no asylum in the United States and escorted Dinora and her daughter
   12 outside the POE.
   13         143. During her second attempt later the same day, one CBP official
   14 misinformed Dinora that there was no asylum available in the United States for
   15 Central Americans and that if they returned to the POE, they would be handed
   16 over to Mexican authorities and deported to Honduras.
   17       144. During her third attempt the next morning, a CBP official
   18 misinformed Dinora that she could pass through the POE, but would have to leave
   19 her daughter behind. When Dinora insisted that she and her daughter had a right to
   20 apply for asylum, CBP officials escorted them out of the POE.
   21       145. Following the filing of the initial Complaint in this case, Defendants
   22 made arrangements to facilitate the entry of Dinora and her daughter into the
   23 United States.
   24 Plaintiff Ingrid Doe
   25       146. Ingrid is a native and citizen of Honduras. At the time the initial
   26 Complaint was filed, Ingrid had two children and was pregnant with her third
   27 child.
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              147. 18th Street gang members murdered Ingrid’s mother and three
    1 siblings. They also threatened to kill Ingrid.
    1=
    2        148. For several years, Ingrid and her children were subject to severe
    1=
    3 abuse by her partner and the father of her son and the child that she was expecting.
    1=
    4 Ingrid’s partner regularly raped Ingrid, sometimes in front of her children. He
    1=
    5 would also burn and beat Ingrid. One day, Ingrid’s partner put a gun to Ingrid’s
    1=
    6 head and threatened to kill her.
    1=
    7         149. In June 2017, Ingrid fled with her children to Tijuana, where they
    1=
    8 sought access to the asylum process by presenting themselves at the Otay Mesa
    1=
    9 POE.
    1=
   10         150. When they arrived at the Otay Mesa POE, Ingrid approached CBP
   11 officials and expressed her intent to seek asylum. The CBP officials misinformed
   12 Ingrid that they could not help her at the Otay Mesa POE and that she must go to
   13 the San Ysidro POE.
   14       151. Ingrid immediately went to the San Ysidro POE with her children to
   15 present herself and seek access to the asylum process. She approached several
   16 CBP officials, and expressed her intent to seek asylum. One of the officials
   17 misinformed Ingrid that there was no asylum and that she could not pass through
   18 the POE because she did not have any documents. Ingrid again stated that she
   19 wanted to seek asylum and that she could not go back to Honduras because she
   20 and her children would be killed. The CBP official responded that there was a new
   21 law in the United States that meant that there was no more asylum. Another CBP
   22 official then escorted Ingrid and her children out of the port.
   23         152. Following the filing of the initial Complaint in this case, Defendants
   24 made arrangements to facilitate the entry of Ingrid and her children into the United
   25 States.
   26 Plaintiff Roberto Doe
   27
   28                                           80
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              153. Roberto is a native and citizen of Nicaragua. Roberto fled Nicaragua
    1 in early September 2018 after receiving targeted threats of violence from the
    1=
    2 Nicaraguan government and paramilitaries allied with the government.
    1=
    3         154. Roberto traveled through Mexico and arrived in Reynosa, Tamaulipas
    1=
    4 on September 29, 2018. On October 2, 2018, he sought access to the asylum
    1=
    5 process by presenting himself at the Hidalgo POE. Roberto was part of a group of
    1=
    6 six Nicaraguan nationals and one Honduran who were waiting in line. The group
    1=
    7 approached the U.S. immigration officials who were standing at the middle point
    1=
    8 of the bridge that divides the United States from Mexico, and told the U.S.
    1=
    9 officials that they wanted to seek asylum in the United States.
    1=
   10         155. One of the U.S. officials responded that he had to talk to his office
   11 and made a call on his radio in English. He then directed Roberto and the rest of
   12 the group to stand to one side. After that, the U.S. official informed the group that
   13 they could not enter the POE, which was “all full.” The U.S. official indicated that
   14 the group might have to wait for “hours, days, or weeks” before he could seek
   15 asylum.
   16       156. A short while later, a female U.S. official made another call, and
   17 Roberto heard her say in Spanish that someone would come and pick up some
   18 people. A few minutes later, a Mexican immigration official arrived and asked to
   19 see the group members’ papers. After Roberto and the rest of the group handed
   20 over their papers, the Mexican official instructed them to come with him. One of
   21 the Nicaraguans asked the U.S. official to help them, saying that the Mexican
   22 immigration officials would deport them. The U.S. official responded that he did
   23 not care and did nothing.
   24         157. The Mexican immigration official took Roberto and the rest of the
   25 group to the Mexican side of the bridge, where he left them in an office with
   26 Mexican immigration officials. While the group waited, various officials spoke on
   27
   28                                            81
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         the phone. Roberto heard one of the officials say that they needed seven or eight
    1 spaces for the next deportation transport.
    1=
    2       158. Eventually, the Mexican officials confiscated the asylum seekers’
    1=
    3 phones and escorted them to a small bathroom, where they were forced to wait,
    1=
    4 crowded together, for about an hour. While they were waiting, a Mexican official
    1=
    5 entered the bathroom and told them that they did not have the right to apply for
    1=
    6 asylum in the United States, and that it was a crime to try to do so. The Mexican
    1=
    7 official indicated that he was in communication with the U.S. authorities and that
    1=
    8 if they came back to the bridge and attempted to seek asylum, the U.S. officials
    1=
    9 would turn them over to the Mexican authorities and they would be deported to
    1=
   10 Nicaragua. The Mexican officials subsequently returned their papers and directed
   11 them to leave.
   12       159. At the time the First Amended Complaint was filed, Roberto desired
   13 to return immediately to the Hidalgo POE to seek access to the asylum process,
   14 but based on his past experience with CBP’s practices at the U.S.-Mexico border,
   15 he feared that he would be turned away again and deported to Nicaragua.
   16 Defendants subsequently agreed to allow Roberto to access the asylum process if
   17 he returned to the Hidalgo POE. Roberto returned to the bridge on October 18,
   18 2018, and as he was about to walk onto the pedestrian footbridge to walk to the
   19 POE, Mexican immigration officials detained him. Roberto has been in Mexican
   20 government custody since that date, and on information and belief, his refoulement
   21 to Nicaragua is imminent.
   22 Plaintiff Maria Doe
   23          160. Maria is a citizen of Guatemala and a permanent resident of Mexico.
   24 She was married to a Mexican man and has two children who were born in
   25 Mexico.
   26          161. Maria lived in Chiapas, Mexico for seven years with her husband and
   27 children. Maria left her husband, who was very abusive toward her and her
   28                                         82
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         children, after learning that he was involved with cartels. After she left, the cartels
    1 began searching for Maria and her children. For about two years, Maria and her
    1=
    2 children searched for a safe place to live, in Guatemala and in Mexico, but the
    1=
    3 cartels invariably found them and went after them. Maria’s ex-husband remains
    1=
    4 involved with cartels and continues to threaten Maria and her children.
    1=
    5          162. In September 2018, Maria traveled with her children to Nuevo
    1=
    6 Laredo, Mexico. On September 10, 2018, Maria and her children sought access to
    1=
    7 the asylum process by presenting themselves at the Laredo POE around 8:00p.m.
    1=
    8 As they approached the midpoint of the bridge to the United States, CBP officials
    1=
    9 stopped Maria and her children and asked to see their identification. Maria told the
    1=
   10 U.S. officials that she wanted to seek asylum in the United States. The U.S.
   11 officials told her to wait on the Mexican side of the bridge until they called her.
   12          163. After a few minutes, two Mexican officials walked toward her from
   13 the Mexican side of the bridge. The Mexican officials told Maria that the United
   14 States officials would not let her cross the bridge, but that they could help if she
   15 paid them $1,500 for herself and her children. Maria did not have money to pay
   16 the bribe, and instead traveled with her children to Reynosa, Mexico, to try to
   17 cross a different bridge to the United States.
   18        164. After Maria arrived in Reynosa, she did not feel safe going to the
   19 bridge immediately. While staying at a shelter in Reynosa, Maria met an American
   20 lawyer who agreed to accompany her to the Hidalgo POE.
   21          165. On September 19, 2018, Maria and her children, accompanied by the
   22 American lawyer, sought access to the asylum process by presenting themselves at
   23 the Hidalgo POE. They walked up to the bridge in Reynosa. They were at the
   24 turnstile at the entrance to the bridge and had only taken a few steps when a
   25 Mexican immigration official demanded to see their identification documents.
   26 After Maria gave him their documents, the Mexican official started screaming that
   27 Maria was abusing her Mexican residence by trying to cross the bridge to seek
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         asylum. He warned her that he would rip up her identity documents if she did not
    1 leave the bridge. Although Maria and her lawyer maintained that she had the right
    1=
    2 to seek asylum, she and her children left the bridge for fear that the Mexican
    1=
    3 official would hurt them or destroy their documents and deport them to
    1=
    4 Guatemala.
    1=
    5          166. Maria and her children returned to the shelter for two weeks before
    1=
    6 attempting to seek access to the asylum process again. On October 9, 2018, Maria
    1=
    7 and her children, again accompanied by the American lawyer, sought access to the
    1=
    8 asylum process by presenting themselves at the Hidalgo POE for the second time.
    1=
    9 When they arrived at the middle of the bridge, Maria started to tell the U.S.
    1=
   10 officials that she sought asylum. At that moment, however, a Mexican immigration
   11 officer grabbed Maria’s arm and demanded to see her papers. Maria told the
   12 Mexican officer that she was a legal resident of Mexico with two Mexican
   13 children and showed him her papers. The officer told her that the Mexican
   14 residency permit did not allow her to go to the United States, and he ordered her to
   15 go to a station on the Mexican side of the border. Although Maria and the lawyer
   16 insisted that Maria had a right to seek asylum in the United States, the Mexican
   17 official called for backup.
   18          167. Meanwhile, the American lawyer explained to the U.S. officials
   19 standing at the bridge that Maria wanted to seek asylum and that she and her
   20 children were in danger. The U.S. officials said that what was happening had
   21 nothing to do with them.
   22       168. The Mexican officials took Maria to an office at the foot of the bridge
   23 and separated her from her children and the lawyer. They took Maria into a small
   24 room and told her that if she came back to the Hidalgo POE, they would revoke
   25 her Mexican residency.
   26      169. At the time the First Amended Complaint was filed, Maria feared for
   27 her life in Mexico and desired to return to a POE to seek access to the asylum
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         process, but based on her past experiences with CBP’s practices at the U.S-Mexico
    1 border, she feared that she and her children would be turned away again or
    1=
    2 deported to Guatemala. Maria and her children feared for their lives in Mexico.
    1=
    3 After they arrived in Reynosa, they received multiple phone calls from blocked
    1=
    4 numbers, which Maria believes were from cartel members trying to track her
    1=
    5 location. On or around October 8, 2018, Maria’s ex-husband called her directly
    1=
    6 and threatened her.
    1=
    7          170. Following the filing of the First Amended Complaint in this case,
    1=
    8 Defendants made arrangements to facilitate the entry of Maria and her children
    1=
    9 into the United States.
    1=
   10 Plaintiffs Ursula Doe and Juan Doe
   11       171. Ursula and Juan are natives and citizens of Honduras. They are a
   12 married couple with two children. They left Honduras with their children in
   13 August 2018 out of fear for their lives and the lives of their children.
   14          172. Ursula saw members of a Honduran gang kill her brother in 2014.
   15 The gang knows she witnessed the murder and have repeatedly warned Ursula and
   16 Juan of harm to their family. Gang members have called the family, gone to their
   17 house, and threatened to hurt their children.
   18       173. Ursula and Juan fled Honduras with their children to seek access to
   19 the asylum process in the United States. They traveled to Mexico, where they were
   20 robbed at gunpoint by three men who took all their money. Eventually they made
   21 it to Nuevo Laredo, Mexico, in late September 2018.
   22        174. The day after they arrived in Nuevo Laredo, Ursula, Juan, and their
   23 children went to the international bridge around 2:00 pm and sought access to the
   24 asylum process by presenting themselves at the Laredo POE. When they arrived at
   25 the middle of the bridge, U.S. officials told them they could not pass because the
   26 port was closed. Although Juan insisted that they wanted to request asylum, one of
   27
   28                                           85
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         the officials said that they had to wait their turn, the port was closed, and they
    1 could not pass.
    1=
    2       175. Ursula, Juan, and their children subsequently traveled to Reynosa to
    1=
    3 seek access to the asylum process by presenting themselves at the Hidalgo POE.
    1=
    4 They went to the bridge in Reynosa with their children around 5:00 a.m. Shortly
    1=
    5 after they passed through the turnstile, a Mexican official grabbed their documents
    1=
    6 and ordered them to walk with him back to Mexico.
    1=
    7          176. The Mexican official took Ursula and Juan to a waiting room. A
    1=
    8 different Mexican official took Juan aside and warned him that he and his family
    1=
    9 could be deported. Ursula, Juan, and their children were forced to wait all day
    1=
   10 without much food or water. Around 6:00 or 7:00 p.m., they were allowed to
   11 leave.
   12          177. At the time the First Amended Complaint was filed, Ursula and Juan
   13 desired to seek access to the asylum process in the United States, but based on
   14 their past experience with CBP’s practice at the U.S.-Mexico border, they feared
   15 that they would be turned away again or deported to Honduras. At that time, they
   16 feared for their lives in Reynosa.
   17          178. Defendants subsequently made arrangements to facilitate the entry of
   18 Juan, Ursula, and their children into the United States.
   19 Plaintiff Victoria Doe
   20          179. Victoria is a sixteen-year old female native and citizen of Honduras.
   21 She is an unaccompanied minor and the mother of a one-year old child. In 2017,
   22 members of the infamous 18th Street gang held her at gunpoint and threatenedher
   23 with death if she did not submit herself sexually to the leader of the gang. Fearful
   24 for her life, she was able to flee to a separate part of Honduras. Shortly thereafter,
   25 the very same gang members followed her and repeated the same threats,
   26 demanding that she submit and become the property of the gang.
   27
   28                                              86
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              180. Victoria came to Tijuana with a refugee caravan in April 2018,
    1 intending to seek asylum in the United States. She lived in a migrant shelter for
    1=
    2 four months but was in constant fear of murder and other crime and was
    1=
    3 threatened by male strangers on a number of occasions. She was also fearful that
    1=
    4 she would be forced into sex trafficking as the 18th Street Gang had attempted.
    1=
    5         181. On October 8, 2018, Victoria sought to access the asylum process by
    1=
    6 presenting herself at the San Ysidro POE, despite her fears that she and her son
    1=
    7 would be subject to the U.S. child separation policy. When she arrived, she
    1=
    8 informed the CBP officials of her intent to apply for asylum and her fear of
    1=
    9 returning to Honduras. In response, the CBP official told her that she could not
    1=
   10 apply for asylum at that time, and that she had to speak with a Mexican officer
   11 instead. The CBP official did not give further instruction as to which Mexican
   12 officer or where to locate the officer.
   13        182. At the time the First Amended Complaint was filed, Victoria desired
   14 to return immediately to seek access to the asylum process by presenting herself at
   15 the San Ysidro POE, but based on her past experience with CBP’s practice at the
   16 U.S.-Mexico border, she understood that she would likely be turned away again.
   17 Victoria was fearful of remaining in Tijuana, for her life and the life of her son.
   18 She could not remain and believed seeking assistance from the Mexican
   19 government would be futile.
   20         183. Following the filing of the First Amended Complaint in this case,
   21 Defendants made arrangements to facilitate the entry of Victoria and her child into
   22 the United States.
   23 Plaintiff Bianca Doe
   24       184. Bianca is a native and citizen of Honduras. She is a transgender
   25 woman. Bianca suffered physical violence and extreme discrimination while in
   26 Honduras because she is transgender. She was targeted by the infamous MS-13
   27
   28                                           87
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         gang who tried to recruit her. Rather than join, and fearing for her life, she fled
    1 Honduras on April 2, 2018.
    1=
    2      185. Bianca arrived in Tapachula, Mexico and then later Mexico City,
    1=
    3 where she faced much of the same harassment and discrimination, including by
    1=
    4 police and federal officials. Eventually she reached Tijuana on September 19,
    1=
    5 2018. She proceeded to seek access to the asylum process by presenting herself at
    1=
    6 the San Ysidro POE. CBP officials informed her that she could not apply for
    1=
    7 asylum because they were “full.” Instead, they told her to seek assistance from
    1=
    8 Mexican workers in white shirts. She did not see any and returned to a local
    1=
    9 shelter where she was staying.
    1=
   10        186. Bianca returned the following day to seek access to the asylum
   11 process at the San Ysidro POE. She identified the Mexican workers in white shirts
   12 who informed her that they handled the asylum “waitlist” process. She was given a
   13 number, “919” which reflected her place on the waitlist. The Mexican workers
   14 told her that when her number was called she would be able proceed to the POE.
   15 She was informed that she would have to wait multiple weeks.
   16      187. Desperate for her life, her safety, and with little resources, on or about
   17 September 28th, 2018, at 1:00 a.m. Bianca approached the U.S.-Mexico border
   18 fence abutting the beach and climbed over the fence into U.S. territory. Eventually
   19 a U.S. Border Patrol guard spotted her on U.S. soil and demanded that she climb
   20 back over the fence and into Mexico or else he would call the Mexican authorities.
   21          188. On October 8, 2018, Bianca attempted once again to seek access to
   22 the asylum process by presenting herself at the San Ysidro POE. At the POE CBP
   23 official “Soto” denied Bianca’s request to seek asylum, again informing her that
   24 they were “full.” He instructed Bianca to stand aside and wait for a Mexican
   25 official. No Mexican official came and she left.
   26          189. At the time the First Amended Complaint was filed, Bianca desired to
   27 return immediately to seek access to the asylum process by presenting herself at
   28                                          88
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         the San Ysidro POE, but based on her past experience with CBP’s practice at the
    1 U.S.-Mexico border, she understood that she would likely be turned away again.
    1=
    2 Bianca was fearful of remaining in Tijuana. She could not remain and believed
    1=
    3 seeking assistance from the Mexican government would be futile.
    1=
    4       190. Following the filing of the First Amended Complaint in this case,
    1=
    5 Defendants made arrangements to facilitate Bianca’s entry into the United States.
    1=
    6 Plaintiff Emiliana Doe
    1=
    7          191. Emiliana is a native and citizen of Honduras. She is a transgender
    1=
    8 woman. She was threatened with violence and death by transnational drug dealers
    1=
    9 and gang members in Honduras. She was raped on multiple occasions by police
    1=
   10 officers. In May 2017, she was kidnapped and held for three days, and eventually
   11 thrown out of a moving car. In April 2018, she was abducted by four drug dealers,
   12 beaten for over six hours, pistol whipped, thrown out of a moving truck, and
   13 ordered to sell drugs. She was refused medical attention because she is
   14 transgender.
   15       192. Emiliana fled Honduras on June 5, 2018 and embarked on the
   16 arduous journey through Mexico, where she was again repeatedly raped and
   17 threatened with death. She eventually reached Tijuana in September 2018.
   18 Emiliana intended to seek access to the asylum process in the United States, but
   19 was unsure how. She spoke with a stranger who was also attempting to apply for
   20 asylum who informed her that she needed to get on the “waiting list.” She
   21 proceeded to the seek access to the asylum process by going to the San Ysidro
   22 POE and speaking with two women who gave her a number, “1014,” which
   23 reflected her place on a waitlist. They told Emiliana to come back in six weeks.
   24          193. Given the dangers in Tijuana, particularly to transgender women,
   25 Emiliana could not wait six weeks and instead on October 8, 2018, she sought
   26 access to the asylum process by presenting herself at the San Ysidro POE to ask
   27 for asylum. When she informed a CBP official that she wished to seek asylum in
   28                                      89
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         the United States, he responded that she could not because they were “full,” and
    1 instead ordered her to wait off to the side until a Mexican immigration official
    1=
    2 could come over. No official ever came.
    1=
    3          194. At the time the First Amended Complaint was filed, Emiliana desired
    1=
    4 to return immediately to seek access to the asylum process by presenting herself at
    1=
    5 the San Ysidro POE, but based on her past experience with CBP’s practice at the
    1=
    6 U.S.-Mexico border, she understood that she would likely be turned away again.
    1=
    7 Emiliana was fearful of remaining in Tijuana. She could not remain and believed
    1=
    8 seeking assistance from the Mexican government would be futile.
    1=
    9       195. Following the filing of the First Amended Complaint in this case,
    1=
   10 Defendants made arrangements to facilitate Emiliana’s entry into the United
   11 States.
   12 Plaintiff Cesar Doe
   13       196. Cesar is a native and citizen of Honduras. Earlier in 2018, the 18th
   14 Street gang demanded that he join the gang at threat of death. He refused. The
   15 gang later kidnapped him and kept him in an abandoned house in the mountains.
   16 He was able to escape, and fled Honduras the next day.
   17      197. Cesar reached Tijuana on August 1, 2018 with the intention of
   18 seeking access to the asylum process in the United States. Cesar approached the
   19 plaza immediately before the San Ysidro POE where he was approached by
   20 members of “Grupo Beta.” Grupo Beta informed him that he would need to go
   21 through them to apply for asylum. They explained that they would put him on a
   22 list and give him a number, and only when his number was called could he apply
   23 for asylum.
   24          198. Soon thereafter, Grupo Beta began racially segregating individuals
   25 into three groups: Africans, Central Americans, and Mexicans. They placed Cesar
   26 in the Central America group and then Mexican officials arrested him and placed
   27 him into detention. Cesar was detained for twelve days and Mexican officials
   28                                         90
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         threatened to deport him on multiple occasions. A local shelter eventually secured
    1 Cesar’s release from detention.
    1=
    2       199. Continuing to fear for his life in Tijuana, Cesar returned to the San
    1=
    3 Ysidro POE to seek access to the asylum process, and he spoke with Grupo Beta.
    1=
    4 He was eventually placed on the waitlist and given number “740.” After waiting a
    1=
    5 few weeks, Cesar sought access to the asylum process by presenting himself at the
    1=
    6 San Ysidro POE with two staff members from Al Otro Lado. Cesar informed CBP
    1=
    7 officials that he intended to seek asylum in the United States and that he feared
    1=
    8 return to his home country. The CBP officials refused to let him pass or seek
    1=
    9 asylum.
    1=
   10       200. After waiting another few weeks, in September 2018 Cesar sought
   11 access to the asylum process once again by presenting himself at the San Ysidro
   12 POE. Members of Grupo Beta intercepted him and threatened to call Mexican
   13 immigration officials and child protective services on him. The individuals pushed
   14 Cesar toward the corner the plaza near the POE and called Mexican immigration.
   15 A staff member from Al Otro Lado escorted Cesar back to the shelter.
   16          201. At the time the First Amended Complaint was filed, Cesar desired to
   17 return immediately to seek access to the asylum process by presenting himself at
   18 the San Ysidro POE, but based on his past experience with CBP’s practice at the
   19 U.S.-Mexico border, he understood that he would likely be turned away again.
   20 Cesar was fearful of remaining in Tijuana. He could not remain and believed
   21 seeking assistance from the Mexican government would be futile.
   22       202. Following the filing of the First Amended Complaint in this case,
   23 Defendants made arrangements to facilitate Cesar’s entry into the United States.
   24
   25
   26
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                                V.    LEGAL BACKGROUND
    1
    1=
              A.    U.S. Law Requires that Individuals Be Provided aAsylum Seekers
    2               Who Present Themselves at POEs Have Meaningful




                                                                                -
    1=
    3               OpportunityAccess to Seekthe Asylum in the United States
    1=
    4               Process
    1=
    5         104.203.    U.S. law requires CBP to give individuals who present
    1=
    6 themselves at a POEPOEs and express a desire to apply for asylum or a fear of
    1=
    7 persecution in their home countries the opportunity to seek protection in the
    1=
    8 United States. without unreasonable delay.
                     -
    1=
    9       105.204.     Specifically, the Immigration and Nationality Act (“INA”) and
    1=
   10 its implementing regulations set forth a variety of ways in which such individuals
   11 may seek protection in the United States. See, e.g., 8 U.S.C. § 1157 (admission of
   12 refugees processed overseas); 8 U.S.C. § 1158 (asylum); 8 U.S.C. § 1231(b)(3)
   13 (restriction of removal to a country where individual’s life or freedom would be
   14 threatened); 8 C.F.R. §§ 208.16-18 (protection under the Convention Against
   15 Torture).
   16         106. 205. The INA provides that any noncitizen “who is physically present
   17 in the United States or who arrives in the United States” has a statutory right to
   18 apply for asylum, irrespective of such individual’s status. 8 U.S.C. § 1158(a)(1).
   19 The INA also specifies processes that must be followed when an individual states
   20 a desire to seek asylum or expresses a fear of returning to his or her home country.
   21 See 8 U.S.C. § 1158(d)(1) (“The Attorney General shall establish a procedure for
   22 the consideration of asylum applications filed [by individuals physically present in
   23 the United States or who arrive in the United States].”). Under the INA, CBP must
   24 either:
   25               a.    Refer the asylum seeker for a credible fear interview (see 8
   26                     U.S.C. § 1225(b)(1)); or
   27
   28                                           92
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                    b.    Place the asylum seeker directly into regular removal
    1
    1=
                          proceedings by issuing a Notice to Appear (“NTA”), which
    2                     will then allow the asylum seeker to pursue his or her asylum
    1=
    3                     claim before an immigration judge (see 8 U.S.C. §§
    1=
    4                     11251225(b)(2), 1229, 11291229a).; or




                                                              -
    1=
    5               c.    Parole the asylum seeker temporarily into the United States for
    1=
    6                     urgent humanitarian reasons or significant public benefit (see 8
    1=
    7                     U.S.C. § 1182(d)(5)(A)).
    1=
    8         107.206.    The U.S. government has admittedrecognized that the duty to
    1=
    9 allow a noncitizen access to the asylum process is “not discretionary.” See, e.g.,
    1=
   10 Federal Defendant’s Reply Brief in Support of Motion for Summary Judgment and
   11 Dismissal for Lack of Jurisdiction, cited in Munyua v. United States, No. 03-4538,
   12 2005 U.S. Dist. LEXIS 11499, at *16-19 (N.D. Cal. Jan. 10, 2005) (“[D]efendant
   13 acknowledges that [the immigration officers] did not have the discretion to ignore
   14 a clear expression of fear of return or to coerce an alien into withdrawing an
   15 application for admission”).
   16       108.207.     CBP is responsible for the day-to-day operation of POEs along
   17 the U.S.-Mexico border. CBP’s obligations include inspecting and processing
   18 individuals who present themselves at POEs to enable them to pursue their claims
   19 for asylum in the United States. CBP officials themselves are not authorized to
   20 evaluate, grant or reject an individual’s asylum claim.
   21         109.208.    All noncitizens arriving at POEs along the U.S.-Mexico border
   22 must be inspected by CBP officials. See 8 U.S.C. § 1225(a)(3) (“All [noncitizens]
   23 .. . who are applicants for admission or otherwise seeking admission . . . shall be
   24 inspected by immigration officers.”) (emphasis added). During inspection, CBP
   25 officials must determine whether a noncitizen may be admitted to the United
   26 States. See 8 U.S.C. § 1182(a) (specifying grounds of inadmissibility). In order to
   27 make this determination, CBP scrutinizes an individual’s entry documents. See 8
   28                                           93
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         U.S.C. § 1181(a) (outlining documentation requirements for the admission of
    1 noncitizens into the United States). Asylum seekers often flee their countries on
    1=
    2 very short notice and thus frequently lack valid entry documents. Once a CBP
    1=
    3 official makes a determination of inadmissibility, the individual becomes subject
    1=
    4 to removal from the United States.
    1=
    5          110.209.    CBP officials must then place the noncitizen into either
    1=
    6 expedited removal proceedings under 8 U.S.C. § 1225(b) or regular removal
    1=
    7 proceedings under 8 U.S.C. § 1229.
    1=
    8          111.210.    Expedited removal proceedings involve a more streamlined
    1=
    9 process than regular removal proceedings and are reserved for people apprehended
    1=
   10 at or near the border. See 8 U.S.C. § 1225(b)(1)(A)(i) (permitting certain persons
   11 who are seeking admission at the border to the United States to be expeditiously
   12 removed without a full immigration judge hearing). However, Congress included
   13 important safeguards in the expedited removal statute in an effort specifically to
   14 protect asylum seekers.
   15          112.211.    The INA unequivocally states that if a noncitizen placed in
   16 expedited removal proceedings “indicates either an intention to apply for asylum .
   17 . . or a fear of persecution, the [CBP] officer shall refer the [noncitizen] for an
   18 interview by an asylum officer.” 8 U.S.C. § 1225(b)(1)(A)(ii) (emphasis added).
   19 The requirement to refer an asylum seeker placed in expedited removal
   20 proceedings to an asylum officer is mandatory.
   21       113.212.     Likewise, the applicable regulations promulgated under the
   22 INA reinforce that if an individual in expedited removal proceedings asserts an
   23 intention to apply for asylum or a fear of persecution, then “the inspecting officer
   24 shall not proceed further with removal of the [noncitizen] until the [noncitizen]
   25 has been referred for an interview by an asylum officer.” 8 C.F.R. § 235.3(b)(4)
   26 (emphasis added).
   27
   28                                           94
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              114.213.     Importantly, CBP officials must read a form to noncitizens
    1 subject to expedited removal advising them of their right to speak to an asylum
    1=
    2 officer if they express a desire to apply for asylum or a fear of returning to their
    1=
    3 home countries. See 8 C.F.R. § 235.3(b)(2)(i); DHS Form I-867A.
    1=
    4      115.214.     Affirming that the CBP officials themselves are not authorized
    1=
    5 to adjudicate asylum claims, the regulations specifically charge asylum officers
    1=
    6 from U.S. Citizenship and Immigration Services with making initial
    1=
    7 determinations as to whether there is a “significant possibility” that an individual
    1=
    8 can establish eligibility for asylum. See 8 C.F.R. § 235.3(b)(4); see also 8 U.S.C. §
    1=
    9 1225(b)(1)(B)(ii). This is because asylum officers are trained in the often
    1=
   10 complicated and evolving law surrounding asylum, and thus are uniquely
   11 positioned to conduct such interviews, which themselves require particular
   12 interviewing and assessment skills as well as comprehension of the social and
   13 political contexts from which asylum seekers flee. In fact, the INA specifically
   14 defines “asylum officer” as an immigration officer who “has had professional
   15 training in country conditions, asylum law, and interview techniques comparable
   16 to that provided to full-time adjudicators of applications under section 1158.” 8
   17 U.S.C. § 1225(b)(1)(E).
   18      116.215.     Applicants who establish that they have a “significant
   19 possibility” of proving their eligibility for asylum receive positive credible fear
   20 determinations. They are taken out of the expedited removal system altogether and
   21 placed into regular removal proceedings, where they have the opportunity to
   22 submit an asylum application, develop a full record before an Immigration Judge,
   23 appeal to the Board of Immigration Appeals, and seek judicial review of an
   24 adverse decision. 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. §§ 235.6(a)(1)(ii), (iii).
   25         117.216.     Alternatively, CBP officials may place noncitizens directly into
   26 regular removal proceedings by issuing an NTA. 8 U.S.C. §§ 1225(b)(2),
   27 1229(a)(1), 1229a. Once in regular removal proceedings, the asylum seeker can
   28                                            95
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         submit an asylum application and must receive a full hearing before an
    1 Immigration Judge, file an administrative appeal with the Board of Immigration
    1=
    2 Appeals, and seek judicial review. 8 U.S.C. § 1229a(a)(1) (“An immigration
    1=
    3 judgeimmigrationjudge shall conduct proceedings for deciding the inadmissibility
    1=
    4 or deportability of an alien.”).
    1=
    5             217. At the discretion of the DHS Secretary, an individual may also be
    1=
    6 temporarily paroled into the United States for urgent humanitarian reasons or
    1=
    7 significant public benefit. When the purposes of such parole have been served, the
    1=
    8 individual must be returned to the custody from which he was paroled, after which
    1=
    9 his case will continue to be handled in the same manner as that of any other
    1=
   10 applicant for admission to the United States. 8 U.S.C. § 1182(d)(5)(A).
   11       118.218.     Despite these prescribed procedures, CBP has implemented a
   12 policy and regularly employs a variety of egregious tacticspractices (including
   13 those described above) that have one unlawful result: directly or constructively
   14 depriving Class Plaintiffs, and the asylum seekers they represent, of
   15 anymeaningful access to the asylum process, and stripping them ofthereby
   16 violating their right to seek asylum under U.S. law.
   17        219. Acknowledging the illegality of the Trump administration’s ongoing
   18 pushbacks of asylum seekers at the border, the House Appropriations Committee
   19 called on DHS in July 2018 to “ensure that the United States is meeting its legal
   20 obligations, to include reminding field officers and agents about CBP’s legal
   21 responsibilities to ensure that asylum-seekers can enter at POES.”87
   22             B.     Defendants Have No Authority Under the INA to Turn Back a
   23                    Noncitizen Seeking Admission Away at a POE
   24             119.220.     CBP’s authority is limited to that granted by Congress in the
   25 INA. Nothing in the INA authorizes Defendants, through their officers and
   26 employees, to turn awayback a noncitizen who seeks admission at a POE.
   27
         87   Bill Report Draft, supra note 78, at 4.
   28                                                   96
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              120.221.    When inspecting a noncitizen who arrives at a POE, CBP
    1 officials must follow the procedures mandated by Congress in 8 U.S.C. § 1225.
    1=
    2 Pursuant to this section, CBP officials are limited to the following possible actions
    1=
    3 with respect to any arriving noncitizen who is not clearly and beyond a doubt
    1=
    4 entitled to be admitted:
    1=
    5               a.    Place arriving noncitizens who are inadmissible under one of
    1=
    6                     two grounds specified by statute in expedited removal
    1=
    7                     proceedings pursuant to 8 U.S.C. § 1225(b)(1)(A)(i);
    1=
    8               b.    Refer any noncitizen placed in expedited removal proceedings
    1=
    9                     who expresses either an intent to apply for asylum or a fear of
    1=
   10                     persecution if returned to his or her home country to an asylum
   11                     officer for a credible fear interview pursuant to 8 U.S.C. §§
   12                     1225(b)(1)(A)(ii), 1225(b)(1)(B);
   13               c.    Place “other” arriving noncitizens (i.e., those who are not
   14                     placed in expedited removal proceedings under 8 U.S.C. §
   15                     1225(b)(1)(A) and who are neither crewmen ornor stowaways)
   16                     in removal proceedings under 8 U.S.C. § 1229a pursuant to 8
   17                     U.S.C. § 1225(b)(2);
   18               d.    Follow other removal procedures with respect to noncitizens
   19                     suspected of being inadmissible on terrorism or related security
   20                     grounds pursuant to 8 U.S.C. § 1225(c); or
   21               e.    Accept from the noncitizen a voluntary (i.e., non-coerced)
   22                     withdrawal of her application for admission pursuant to 8
   23                     U.S.C. § 1225(a)(4) and 8 C.F.R. § 235.4.
   24         121.222.    Defendants, through their officers and, employees, and agents,
   25 act without authority and in violation of the law when they turn awaydirectly deny
   26 an individual access to the U.S. asylum process at a POE.
   27
   28                                            97
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               223. Defendants, through their officers, employees, and agents, act without
    1 authority and in violation of the law when they constructively deny an individual’s
    1=
    2 access to the asylum process by unreasonably delaying their ability to present
    1=
    3 themselves at a POE.
    1=
    4      224. Moreover, Defendants’ Turnback Policy is ultra vices.
    1=
    5          C.     Class Plaintiffs Are Entitled to Procedural Due Process Rights
    1=
    6                 Under the Fifth Amendment to the U.S. Constitution
    1=
    7
    1=
               122.225.     The Due Process Clause of the Fifth Amendment to the U.S.
    8
    1=
         Constitution prohibits the federal government from depriving any person of “life,
    9
    1=
         liberty, or property, without due process of law.” U.S. Const. Amend. V. In
   10
         addition, where Congress has granted statutory rights and has directed an agency
   11
         to establish a procedure for providing such rights, the Constitution requires the
   12
         government to establish a fair procedure and to abide by that procedure. In the
   13
         asylum context, U.S. law mandates that asylum seekers be provided with such
   14
         process. Multiple courts have recognized that such procedural rights are critical in
   15
         the asylum context and can result in life or death decisions, because applicants
   16
         wrongly denied asylum can be subject to death or other serious harm in their home
   17
         countries. See, e.g., Marincas v. Lewis, 92 F.3d 195, 203 (3d Cir. 1996) (“The
   18
         basic procedural rights Congress intended to provide asylum applicants . . . are
   19
         particularly important because an applicant erroneously denied asylum could be
   20
         subject to death or persecution if forced to return to his or her home country.”).
   21
               123.226.     The INA and its implementing regulations provide Class
   22
         Plaintiffs with the right to be processed at a POE and granted meaningful access to
   23
         the asylum process. See, e.g., 8 U.S.C. §§ 1158(a)(1), 1225(a)(3),
   24
         1225(b)(1)(A)(ii), 1225(b)(1)(B), 1225(b)(2). By systematically turning away
   25
         asylum seekers presenting themselves at POEs along the U.S.-Mexico border or
   26
         unreasonably delaying their inspections—and thus directly or constructively
   27
   28                                              98
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         denying them access to the asylum process, Defendants have failed to comply with
    1 the due process procedures for processing asylum seekers under the INA and its
    1=
    2 implementing regulations.
    1=
    3          D.    The Non-Refoulement Doctrine Under International Law
    1=
    4                Requires Implementation and Adherence to a Procedure to
    1=
    5                Ensure Prompt Access to Asylum
    1=
    6          124.227.    The United States is obligated by a number of treaties and
    1=
    7 protocols to adhere to the duty of non-refoulement — a duty that prohibits a
    1=
    8 country from returning or expelling an individual to a country where he or she has
    1=
    9 a well-founded fear of persecution and/or torture and that requires processes that
    1=
   10 ensure fair and efficient administration of the asylum process.
   11          125. 228. The Office of the United Nations High Commissioner for
   12 Refugees (“UNHCR”) has described non-refoulement as “the cornerstone of
   13 international refugee protection,” and notes that it is “of particular relevance to
   14 asylum-seekers.”88 The primary treaty source for the duty of non-refoulement is the
   15 1951 Convention on the Rights of Refugees. Article 33 of the Convention
   16 prohibits a state from returning “a refugee in any manner whatsoever to the
   17 frontiers of territories where his life or freedom would be threatened on account of
   18 his race, religion, nationality, membership of a particular social group or political
   19 opinion.”89 As UNHCR has explained, the Treaty’s emphasis on “any manner” of
   20 refoulement reflects a state duty to avoid using direct or indirect ways of
   21 subjecting a person to a risk of return to persecution.90
   22          229. In addition, the duty of non-refoulement extends not only to a
   23 person’s country of origin, “but also to any other place where a person has reason
   24 88 Advisory Opinion on the Extraterritorial Application of Non-Refoulement
   25    Obligations under the 1951 Convention relating to the Status of Refugees and
         its 1967 Protocol, UNHCR (Jan. 26, 2007), http://www.unhcr.org/4d9486929
   26    .pdf.
   27 89    1951 Refugee Convention, Art. 33 (emphasis added). 9°
      90    Id. at 7.
   28                                          99
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         to fear threats to his or her life or freedom related to one or more of the grounds
    1 set out in the 1951 Refugee Convention, Art. 33. Convention, or from where he or
    1=
    2 she risks being sent to such a risk.”91 Accordingly, a state must not only prevent
    1=
    3 return to danger, it must take affirmative measures to prevent a risk of harm by
    1=
    4 “adopt[ing] a course that does not result in [asylum seekers] removal, directly or
    1=
    5 indirectly, to a place where their lives or freedom would be in danger.”92 This
    1=
    6 includes “access to the territory and to fair and efficient asylum procedures.”93
    1=
    7          230. The United States adopted the protections of Article 33 by signing
    1=
    8 onto the 1967 Protocol Relating to the Status of Refugees, which incorporated
    1=
    9 Articles 2-34 of the 1951 Convention.
    1=
   10          126.231.     The prohibition against refoulement is likewise central to other
   11 treaties ratified by the United States, including the International Covenant on Civil
   12 and Political Rights (“ICCPR”) and the Convention Against Torture (“CAT”),
   13 both of which prohibit returning an individual to harm and obligate the United
   14 States to implement and follow legal procedures to protect refugees’ right to
   15 non-refoulement. See ICCPR, Art. 13; CAT, Art. 3.94
                                                              -
   16       127.232.    In order to effectuate an asylum seeker’s right to
   17 non-refoulement, the United States is obligated to implement and follow
   18 procedures to ensure that his or her request for asylum be duly and efficiently
   19 considered. The United States implemented this legal obligation with the passage
   20 of the 1980 Refugee Act, which established a procedure for a noncitizen
   21 physically present in the United States or at a land border or POE to apply for
   22 asylum. See Refugee Act of 1980, Pub. L. No. 96-212, § 201(b), 94 Stat. 102
   23 (1980).95
                -
   24
   25    91Id. at 3 (citing UNHCR, Note on Non-Refoulement (EC/SCP/2), 1977 ¶4).
      92   Id. at If 8.
   26 93 93Id. (emphasis added).
   27 94 See ICCPR, Art. 13; CAT, Art. 3.
      95 See Refugee Act of 1980, Pub. L. No. 96-212, § 201(b), 94 Stat. 102 (1980).
   28                                        100
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                 128.233.    In practice, the duty of non-refoulement covers not only those
    1 refugees and asylum seekers already present inside the country, but also those who
    1=
    2 present themselves at POEs along the U.S. border. The duty requires U.S. officials
    1=
    3 such as Defendants to consider the claims ofprocess those seeking to cross the
    1=
    4 U.S. border and not to deny themor unreasonably delay their access to aan




                                                                                    -
    1=
    5 efficient, lawful process to present a claim for asylum.
    1=
    6        129.234.     The norm of non-refoulement is specific, universal and
    1=
    7 obligatory. It is so widely accepted that it has reached the status ofjus cogens — a
    1=
    8 norm not subject to derogation. Indeed, in 1996, the United Nations Executive
    1=
    9 Committee on the International Protection of Refugees explicitly concluded that
    1=
   10 the non-refoulement principle had achieved the status of a norm “not subject to
   11 derogation.” Executive Committee Conclusion No. 79, General Conclusion on
   12 International Protection (1996).96 The principle was recognized as such in the
                                          -
   13 1984 Cartagena Declaration on Refugees; was included in a portion of the
   14 Refugee Convention from which derogation is not permitted; and has been
   15 recognized by bodies, including the Inter-American Commission on Human
   16 Rights and the Organization of American States General Assembly.
   17            130.235.    Defendants’ policy and actions to actively or constructively
   18 deny Class Plaintiffs, and the asylum seekers they represent, access to the U.S.
   19 asylum process violate their binding and enforceable obligations under
   20 international law.
   21                    VI. CLASS ACTION ALLEGATIONS
   22       131.236.     Class Plaintiffs bring this action pursuant to Federal Rules of
   23 Civil Procedure 23(a) and 23(b)(2) on behalf of themselves and all other persons
   24 similarly situated. The proposed class is defined as follows:
   25
   26
   27    96     Executive Committee Conclusion No. 79, General Conclusion on
              International Protection (1996).
   28                                            101
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                All noncitizens who presentseek or will seek to access the U.S.
    1
    3=,




                asylum process by presenting themselves at a POE along the
    2
    3=,
                U.S.-Mexico border, assert an intention to seek asylum or express a
                fear of persecution in their home countries, and are denied access to
    3
    3=,




                the U.S. asylum process by or at the instruction of CBP officials.
    4
                132.237.     The class is so numerous that joinder of all members is
    3=,




    5
          impracticable. CBP’s misconduct toward asylum seekers at POEs along the
    3=,




    6
          U.S.-Mexico border has been the focus of monitoring, reporting and advocacy by
    3=,




    7
          numerous well-respected non-governmental organizations. These organizations
    3=,




    8
          have investigated and documented hundredsthousands of examples of asylum
    3=,




    9
          seekers being turned awayback by CBP officials. Many more asylum seekers have
    3=,




   10
          likely have been the victims of this unlawful conduct as these abuses often go
   11
          unreported. Asylum seekers who are turned awayback at the border are
   12
          continuously moving and relocating, also making joinder impracticable.
   13
                133.238.     There are questions of law and fact that are common to the
   14
          class. The class alleges common harms: a violation` of the class members’
   15
          statutory right todenial of access to the U.S. asylum process, procedural due
   16
          process rights and at POEs along the U.S.-Mexico border and a violation of the
   17
          right not to be returned to countries where they fear persecution. The class
   18
          members’ entitlement to these rights is based on a common core of facts. All
   19
          members of the proposed class have attempted to seek asylum by presenting
   20
          themselves at a POE along the U.S.-Mexico border. All of them have expressed a
   21
          fear of return to their home countriespersecution or a desire to apply for asylum, or
   22
          would have done so but for the conduct of Defendants. These facts entitle all of
   23
          them to the opportunity to seek asylum. Yet each class member has been and likely
   24
          will again be unlawfully denied access to the U.S. asylum process by CBP.
   25
          Moreover, all class members raise the same legal claims: that U.S. immigration
   26
          laws and the Constitution requirelaw requires CBP officials at POEs to give them
   27
                                                                                                   1.




          meaningful access to the asylum process. Their shared common facts will ensure
   28                                             102
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         that judicial findings regarding the legality of the challenged practices will be the
    1 same for all class members. Should Class Plaintiffs prevail, all class members will
    1=
    2 benefit; each of them will be entitled to a prompt, lawful inspection at a POE
    1=
    3 along the U.S.-Mexico border and an opportunity to seek asylum.
    1=
    4       134.239.    Class Plaintiffs’ claims are typical of the claims of the class.
    1=
    5 Class Plaintiffs and class members raise common legal claims and are united in
    1=
    6 their interest and injury. All Class Plaintiffs, like all class members, are asylum
    1=
    7 seekers to whom CBP officials unlawfully denied, whether actively or
    1=
    8 constructively, access to the U.S. asylum process after they presented themselves
    1=
    9 at POEs along the U.S.-Mexico border. Class Plaintiffs and class members are thus
    1=
   10 victims of theofthe same, unlawful course of conduct.
   11          135.240.      Class Plaintiffs are adequate representatives. Class Plaintiffs
   12 seek relief on behalf of the class as a whole and have no interest antagonistic to
   13 other members of the class. Class Plaintiffs’ mutual goal is to declare Defendants’
   14 challenged policies and practices unlawful and to obtain declaratory and injunctive
   15 relief that would cure this illegality. Class Plaintiffs seek a remedy for the same
   16 injuries as the class members, and all share an interest in having a meaningful
   17 opportunity to seek asylum. Thus, the interests of the Class Plaintiffs and of the
   18 class members are aligned.
   19       136.241.    Class Plaintiffs are represented by attorneys from the American
   20 Immigration CouncilSouthern Poverty Law Center, the Center for Constitutional
   21 Rights, the American Immigration Council, and Latham & Watkins LLP. Counsel
   22 have a demonstrated commitment to protecting the rights and interests of
   23 noncitizens and, together, have considerable experience in handling complex and
   24 class action litigation in the immigration field. Counsel have represented
   25 numerous classes of immigrants and other victims of systematic government
   26 misconduct in actions in which they successfully obtained class relief.
   27
   28                                             103
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              137.242.     Defendants have acted or refused to act on grounds that are
    1 generally applicable to Class Plaintiffs and the class. Defendants have failed to
    1=
    2 provide Class Plaintiffs and class members with meaningful access to the U.S.
    1=
    3 asylum process. Defendants’ actions violate Class Plaintiffs’ and class members’
    1=
    4 statutory, regulatory and constitutional rights to access to the asylum process.
    1=
    5 Declaratory and injunctive relief are appropriate remedies.
    1=
    6       138.243.     In the absence of a class action, there is substantial risk that
    1=
    7 individual actions would be brought in different venues, creating a risk of
    1=
    8 inconsistent injunctions to address Defendants’ common conduct.
    1=
    9                            FIRST CLAIM FOR RELIEF
    1=
   10                    DECLARATORY AND INJUNCTIVE RELIEF
   11                           AGAINST ALL DEFENDANTS
   12        (VIOLATION OF THE RIGHT TO SEEK ASYLUM UNDER THE
   13                    IMMIGRATION AND NATIONALITY ACT)
   14         139.244.     Al Otro Lado and Class Plaintiffs reallege and incorporate by
   15 reference each and every allegation contained in the preceding paragraphs as if set
   16 forth fully herein.
   17         140.245.     INA § 208(a)(1) (8 U.S.C. § 1158(a)(1)) gives any noncitizen
   18 who is physically present in or who arrives in the United States a statutory right to
   19 seek asylum, regardless of such individual’s immigration status.
   20         141.246.     When a noncitizen presents himself or herself at a POE and
   21 indicates an intention to apply for asylum or a fear of persecution, CBP officials
   22 must refer the noncitizen for a credible fear interview under 8 U.S.C. §
   23 1225(b)(1)(A)(ii) and 8 C.F.R. § 235.3(b)(4), or, in accordance with 8 U.S.C. §
   24 1225(b)(2), place the noncitizen directly into regular removal proceedings under 8
   25 U.S.C. § 1229(a)(1).
   26      142.247.     Class Plaintiffs presented themselves at U.S. POEs along the
   27 U.S.-Mexico border and either asserted an intention to apply for asylum and/or a
   28                                        104
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         fear of persecution in their countries of origin or would have done so but for the
    1 Defendants’ conduct. Nevertheless, CBP officials did not refer Class Plaintiffs to
    1=
    2 an asylum officer for credible fear interviews pursuant to 8 U.S.C. §
    1=
    3 1225(b)(1)(A)(ii), or, in accordance with 8 U.S.C. § 1225(b)(2), place Class
    1=
    4 Plaintiffs directly into regular removal proceedings pursuant to 8 U.S.C. §
    1=
    5 1229(a)(1).
    1=
    6      143.248.         Instead, in direct contravention of the INA, CBP officials
    1=
    7 engaged in unlawful tactics that prevented, including the implementation of the
    1=
    8 Turnback Policy, that actively or constructively denied Class Plaintiffs from
    1=
    9 accessing’ access to the statutorily prescribed asylum process and forced them to
    1=
   10 return to Mexico.
   11          144.249.     CBP officials’ treatment of Class Plaintiffs at the POEs and the
   12 U.S.-Mexico border was inflicted at the instigation, under the control or authority,
   13 or with the knowledge, consent, direction and/or acquiescence of Defendants.
   14          145.250.     As a result of Defendants’ violations of the INA, Class
   15 Plaintiffs have been damaged — through the active or constructive denial of
   16 access to the asylum process and by being forced to return to Mexico or other
   17 countries where they face threats of further persecution.
   18       146.251.     As a result of Defendants’ violations of the INA, Plaintiff Al
   19 Otro Lado has been damaged — namely its core mission has been frustrated and it
   20 has been forced to divert substantial resources away from its programs to
   21 counteract CBP’s unlawful practices at or near POEs along the U.S.-Mexico
   22 border.
   23          147.252.     Defendants’ practices have resulted and will continue to result
   24 in irreparable injury, including a continued risk of violence and serious harm to
   25 Class Plaintiffs and further violations of their statutory rights. Class Plaintiffs and
   26 Al Otro Lado do not have an adequate remedy at law to redress the violations
   27 alleged herein, and therefore seek injunctive relief restraining Defendants from
   28                                            105
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         continuing to engage in the unlawful policy and practices and policies alleged
    1 herein.
    1=
    2       148.253.        Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C.
    1=
    3 §§ 2201 and 2202, this Court may declare the rights or legal relations of any party
    1=
    4 in any case involving an actual controversy.
    1=
    5          149.254.     An actual controversy has arisen and now exists between Class
    1=
    6 Plaintiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class
    1=
    7 Plaintiffs and Al Otro Lado contend that Defendants’ Turnback Policy, as well as
    1=
    8 the conduct and practices carried out in reliance on it, as alleged in this Second
    1=
    9 Amended Complaint, violate the INA. On information and belief, Defendants
    1=
   10 contend that thetheir Turnback Policy, conduct and practices are lawful.
   11       150.255.     Class Plaintiffs and Al Otro Lado therefore request and are
   12 entitled to a judicial determination as to the rights and obligations of the parties
   13 with respect to this controversy, and such a judicial determination of these rights
   14 and obligations is necessary and appropriate at this time.
   15                         SECOND CLAIM FOR RELIEF
   16              DECLARATORY RELIEF AND INJUNCTIVE RELIEF
   17                            AGAINST ALL DEFENDANTS
   18         (VIOLATION OF SECTION 706(1) OF THE ADMINISTRATIVE
   19                                  PROCEDURE ACT)
   20          151.256.     Al Otro Lado and Class Plaintiffs reallege and incorporate by
   21 reference each and every allegation contained in the preceding paragraphs as if set
   22 forth fully herein.
   23          152.257.     The Administrative Procedure Act (“APA”) (5 U.S.C. § 551, et.
   24 seq.) authorizes suits by “[a] person suffering legal wrong because of agency
   25 action, or adversely affected or aggrieved by agency action within the meaning of
   26 a relevant statute.” 5 U.S.C. § 702. The APA also provides relief for a failure to
   27
   28                                           106
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          act: “The reviewing court shall . . . compel agency action unlawfully withheld or
    1 unreasonably delayed.” 5 U.S.C. § 706(1).
    3=,




    2
    3=,

            153. CBP officials have failed to take actions mandated by the following
    3 statutes and implementing regulations in violation of the APA:
    3=,




    4
    3=,




                     8 U.S.C. § 1158(a)(1) (“Any alien who is physically present in the
    5
    3=,

                          United States or who arrives in the United States . . . irrespective
    6
    3=,

                          of such alien’s status, may apply for asylum. . . .”) (emphasis
    7
    3=,

                          added);
    8
    3=,

                258. CBP officials, at the instigation, under the control or authority of, or
    9 with the direction, knowledge, consent, or acquiescence of Defendants, have
    3=,




   10 engaged in an unlawful widespread pattern or practice of denying and
   11 unreasonably delaying asylum seekers’ access to the asylum process by, among
   12 other tactics: lying; using threats, intimidation and coercion; employing verbal
   13 abuse and applying physical force; physically blocking access to POE buildings;
   14 imposing unreasonable delays before granting access to the asylum process;
   15 denying outright access to the asylum process; and denying access to the asylum
   16 process in a racially discriminatory manner.
   17           259. CBP officials, at the instigation, under the control or authority of, or
   18 with the direction, knowledge, consent, or acquiescence of Defendants, have also
   19 adopted and implemented the Turnback Policy, restricting access to the asylum
   20 process at POEs by mandating that CBP officers directly or constructively turn
   21 back asylum seekers at the border based on purported “capacity” constraints.
   22           260. Through this conduct, CBP officials have failed, in violation of the
   23 APA, to take actions mandated by the following statutes and implementing
   24 regulations:
   25
   26              • 8 U.S.C. § 1225(a)(1)(3) (“All aliens . . . who are applicants for
                    1=t




                      admission or otherwise seeking admission or readmission to or
   27
   28                                              107
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                            transit through the United States shall be inspected by
    1                       immigration officers.”) (emphasis added);
    1=
    2              • 8 U.S.C. § 1225(b)(1)(A)(ii) (“If an immigration officer


                   -
    1=
                       1=
    3                 determines that an alien . . . who is arriving in the United States
                      . . . is inadmissible . . . and the alien indicates either an
    1=
    4                 intention to apply for asylum under section 1158 of this title or
    1=
    5                 a fear of persecution, the officer shall refer the alien for an
                      interview by an asylum officer . . . .”) (emphasis added);
    1=
    6
    1=
                   • 8 U.S.C. § 1225(b)(2) (“[I]n the case of an alien who is an
    7
                   -
                       -
                      applicant for admission, if the examining immigration officer
    1=
    8                 determines that an alien seeking admission is not clearly and
    1=
                      beyond a doubt entitled to be admitted, the alien shall be
    9
                      detained for a proceeding under section 1229a of this title.”);
    1=
   10                 and
   11              • 8 C.F.R. § 235.3(b)(4) (“[T]heIf an alien subject to the
                   -
                       --
   12                 expedited removal provisions indicates an intention to apply
                      for asylum, or expresses a fear of persecution or torture, or a
   13                 fear of return to his or her country, the inspecting officer shall
   14                 not proceed further with removal of the alien until the alien
                      has been referred for an interview by an asylum officer . . . .”)
   15
                      (emphasis added); and.
   16
                             8 C.F.R. § 235.4 (“The alien’s decision to withdraw his or her
   17
                               application for admission must be made voluntarily . . . .”).
   18
                154. In addition, CBP officials have acted in excess of their statutorily
   19
         prescribed authority and without observance of the procedures required by law in
   20
         violation of the APA. See 5 U.S.C. §§ 706(2)(C), (D). Congress mandated the
   21
         various procedures that Defendants are authorized to follow when inspecting
   22
         individuals who seek admission at POEs. See 8 U.S.C. § 1225. None of these
   23
         procedures authorizes a CBP official to turn back a noncitizen seeking asylum at a
   24
         POE.
   25
                155. In turning Class Plaintiffs and purported class members away at POEs
   26
         along the U.S.-Mexico border without following the procedures mandated by the
   27
   28                                                  108
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                                                                          SECOND AMENDED COMPLAINT FOR
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         INA, CBP officials have acted and continue to act in excess of the authority
    1 granted them by Congress and without observance of procedure required by law.
    1=
    2       156. CBP’s treatment of Class Plaintiffs at the U.S.-Mexico border was
    1=
    3 inflicted at the instigation, under the control or authority, or with the knowledge,
    1=
    4 consent, direction or acquiescence of Defendants.
    1=
    5          261. Through this conduct, CBP officials have also failed, in violation of
    1=
    6 the APA, to take the above-listed mandated actions without unreasonable delay.
    1=
    7       157.262.     Defendants’ repeated and pervasive failure to act and the
    1=
    8 actions taken in excess of their authorityfailures to act, and/or to act within a
    1=
    9 reasonable time, which denied and/or unreasonably delayed Class Plaintiffs’
    1=
                                                                                           --
   10 access to the statutorily prescribed asylum process, constitute unlawfully withheld
   11 orand unreasonably delayed agency action, is arbitrary and capricious, an abuse of
   12 discretion, and otherwise not in accordance with the law, and therefore givesgive
   13 rise to federal jurisdiction and mandatesmandate relief under the APA.
   14          158.263.     As a result of the acts constituting violations of the APA, Class
   15 Plaintiffs have been damaged through the denial and/or unreasonable delay of
   16 access to the asylum process and by being forced to return to and/or wait in
   17 Mexico or other countries, where they face threats of further persecution.
   18      159.264.     As a result of the acts constituting violations of the APA,
   19 Plaintiff Al Otro Lado has been damaged — namely, its core mission has been
   20 frustrated and it has been forced to divert substantial resources away from its
   21 programs to counteract CBP’s unlawful practices at POEs along the U.S.-Mexico
   22 border.
   23          160.265.     Defendants’ practicesTurnback Policy and widespread pattern
   24 or practice have resulted and will continue to result in irreparable injury, including
   25 a continued risk of violence and serious harm to Class Plaintiffs and further
   26 violations of their statutory and regulatory rights. Class Plaintiffs and Al Otro
   27 Lado do not have an adequate remedy at law to redress the violations alleged
   28                                            109
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         herein, and therefore seek injunctive relief restraining Defendants from continuing
    1 to engage in the unlawful practices alleged herein.
    1=
    2       161.266.     Al Otro Lado and Class Plaintiffs have exhausted all available
    1=
    3 administrative remedies and have no adequate remedy at law.
    1=
    4      162.267.     Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C.
    1=
    5 §§ 2201 and 2202, this Court may declare the rights or legal relations of any party
    1=
    6 in any case involving an actual controversy.
    1=
    7          163.268.     An actual controversy has arisen and now exists between Class
    1=
    8 Plaintiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class
    1=
    9 Plaintiffs and Al Otro Lado contend that Defendants’ conduct and
    1=
   10 practicesTurnback Policy and sanctioning of CBP’s unlawful widespread pattern
   11 or practice at POEs along the U.S.-Mexico border, as alleged in this Complaint,
   12 violate the APA. On information and belief, Defendants contend that the conduct
   13 and practicesTurnback Policy and widespread pattern or practice are lawful.
   14          164.269.     Class Plaintiffs and Al Otro Lado therefore request and are
   15 entitled to a judicial determination as to the rights and obligations of the parties
   16 with respect to this controversy, and such a judicial determination of these rights
   17 and obligations is necessary and appropriate at this time.
   18                          THIRD CLAIM FOR RELIEF
   19              DECLARATORY RELIEF AND INJUNCTIVE RELIEF
   20                            AGAINST ALL DEFENDANTS
   21         (VIOLATION OF SECTION 706(2) OF THE ADMINISTRATIVE
   22     PROCEDURE ACT—AGENCY ACTION IN EXCESS OF STATUTORY
   23        AUTHORITY AND WITHOUT OBSERVANCE OF PROCEDURES
   24                                 REQUIRED BY LAW)
   25          270. Al Otro Lado and Class Plaintiffs reallege and incorporate by
   26 reference each and every allegation contained in the preceding paragraphs as if set
   27 forth fully herein.
   28                                            110
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              271. Under the APA, “the reviewing court shall . . . hold unlawful and set
    1 aside agency action, finding, and conclusions found to be . . . in excess of statutory
    1=
    2 jurisdiction, authority, or limitations, or short of statutory right [and/or] without
    1=
    3 observance of procedure required by law.” 5 U.S.C. § 706(2)(C), (D).
    1=
    4       272. Defendants, through implementation of the Turnback Policy and
    1=
    5 sanctioning of CBP’s unlawful widespread pattern or practice of denying and
    1=
    6 unreasonably delaying asylum seekers’ access to the asylum process, have acted in
    1=
    7 excess of their statutorily prescribed authority and without observance of the
    1=
    8 procedures required by law in violation of section 706(2) of the APA. See 5 U.S.C.
    1=
    9 §§ 706(2)(C), (D). Congress mandated the various procedures that Defendants and
    1=
   10 their officers, employees, and agents are authorized and required to follow when
   11 inspecting individuals who seek admission at POEs. See 8 U.S.C. § 1225.
   12 Regulations implementing section 1225 also establish the required procedures for
   13 inspection of individuals who seek admission at POEs. See 8 C.F.R. § 235.3(b)(4).
   14 None of these procedures authorizes a CBP official to turn back a noncitizen
   15 seeking asylum at a POE, at the physical U.S.-Mexico border, or any place in
   16 between.
   17         273. In turning back Class Plaintiffs and purported class members at POEs
   18 or along the U.S.-Mexico border without following the procedures mandated by
   19 the INA and its implementing regulations, CBP officials have acted and continue
   20 to act in excess of the authority granted to them by Congress and without
   21 observance of procedure required by law.
   22         274. The Turnback Policy is a policy authorized by Defendants with the
   23 purpose of restricting and unreasonably delaying asylum seekers’ access to the
   24 U.S. asylum process on the basis of purported capacity constraints at U.S. POEs.
   25 Defendants’ own statements and communications, as well as a report of the DHS
   26 Office of Inspector General, confirm Defendants ordered the Turnback Policy and
   27
   28                                           111
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         its implementation by CBP. The Turnback Policy thus constitutes a final agency
    1 action under 5 U.S.C. § 704 and a violation of 5 U.S.C. § 706(2).
    1=
    2       275. Furthermore, each instance where Defendants, through their officers,
    1=
    3 employees, and agents, directly or constructively deny Class Plaintiffs or
    1=
    4 purported class members access to the asylum process constitutes a final agency
    1=
    5 action under 5 U.S.C. § 704 and a violation of 5 U.S.C. § 706(2).
    1=
    6       276. As a result of the acts constituting violations of the APA, Class
    1=
    7 Plaintiffs have been damaged through the denial, restriction, and/or unreasonable
    1=
    8 delay of access to the asylum process and by being forced to return to and/or wait
    1=
    9 in Mexico where they face threats of further persecution and/or other serious
    1=
   10 harm.
   11          277. As a result of the acts constituting violations of the APA, Plaintiff Al
   12 Otro Lado has been damaged—namely, its core mission has been frustrated and it
   13 has been forced to divert substantial resources away from its programs to
   14 counteract CBP’s unlawful practices at POEs along the U.S.-Mexico border.
   15       278. Defendants’ Turnback Policy and widespread pattern or practice have
   16 resulted and will continue to result in irreparable injury, including a continued risk
   17 of violence and serious harm to Class Plaintiffs and further violations of their
   18 statutory and regulatory rights. Class Plaintiffs and Al Otro Lado do not have an
   19 adequate remedy at law to redress the violations alleged herein, and therefore seek
   20 injunctive relief restraining Defendants from continuing to engage in the unlawful
   21 policy alleged herein.
   22          279. Al Otro Lado and Class Plaintiffs have exhausted all available
   23 administrative remedies and have no adequate remedy at law.
   24      280. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§
   25 2201 and 2202, this Court may declare the rights or legal relations of any party in
   26 any case involving an actual controversy.
   27
   28                                            112
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                                                                    SECOND AMENDED COMPLAINT FOR
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              281. An actual controversy has arisen and now exists between Class
    1 Plaintiffs and Al Otro Lado, on one hand, and Defendants, on the other. Class
    1=
    2 Plaintiffs and Al Otro Lado contend that Defendants’ Turnback Policy and
    1=
    3 sanctioning of CBP’s unlawful widespread pattern or practice at POEs along the
    1=
    4 U.S.-Mexico border, as alleged in this Complaint, violate the APA. On
    1=
    5 information and belief, Defendants contend that the Turnback Policy and
    1=
    6 widespread pattern or practice are lawful.
    1=
    7         282. Class Plaintiffs and Al Otro Lado therefore request and are entitled to
    1=
    8 a judicial determination as to the rights and obligations of the parties with respect
    1=
    9 to this controversy, and such a judicial determination of these rights and
    1=
   10 obligations is necessary and appropriate at this time.
   11                         FOURTH CLAIM FOR RELIEF
   12             DECLARATORY RELIEF AND INJUNCTIVE RELIEF
   13                           AGAINST ALL DEFENDANTS
   14                (VIOLATION OF PROCEDURAL DUE PROCESS)
   15         165.283.     Al Otro Lado and Class Plaintiffs reallege and incorporate by
   16 reference each and every allegation contained in the preceding paragraphs as if set
   17 forth fully herein.
   18         166.284.     The Due Process Clause of the Fifth Amendment to the U.S.
   19 Constitution prohibits the federal government from depriving any person of “life,
   20 liberty, or property, without due process of law.” U.S. Const. Amend. V.
   21         167.285.     Congress has granted certain statutory rights to asylum seekers,
   22 such as Class Plaintiffs and the asylum seekers they represent, and has directed
   23 DHS to establish a procedure for providing such rights. The Due Process Clause
   24 thus requires the government to establish a fair procedure and to abide by that
   25 procedure.
   26         168.286.     As set forth above, the INA and its implementing regulations
   27 provide Class Plaintiffs the right to be processed at a POE and granted meaningful
   28                                           113
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         access to the asylum process. See 8 U.S.C. §§ 1158(a)(1), 1225(a)(3),
    1 1225(b)(1)(A)(ii), 1225225(b)(1)(B), 1225(b)(2); see also 8 C.F.R. § 235.3(b)(4).
    1=
    2      169.287.      By adopting the Turnback Policy and using a variety of tactics
    1=
    3 to turn awayback asylum seekers at POEs along the U.S.-Mexico border, CBP
    1=
    4 officials have denied Class Plaintiffs access to the asylum process and failed to
    1=
    5 comply with procedures set forth in the INA and its implementing regulations.
    1=
    6      170.288.    CBP officials’ treatment of Class Plaintiffs at the U.S.-Mexico
    1=
    7 border was inflicted at the instigation, under the control or authority, or with the
    1=
    8 knowledge, consent, direction or acquiescence of Defendants.
    1=
    9          171.289.     By denying Class Plaintiffs’ access to the asylum process,
    1=
                                                        --
   10 Defendants have violated Class Plaintiffs’ procedural due process rights under the
   11 Fifth Amendment to the U.S. Constitution.
   12          172.290.     As a result of the Defendants’ violations of the Fifth
   13 Amendment to the U.S. Constitution, Class Plaintiffs have been damaged through
   14 the denial of access to the asylum process and by being forced to return to Mexico




                                                                                                   -
   15 or other countries where they face threats of further persecution.
   16       173. As a result of Defendants’ violations of the Fifth Amendment to the
   17 U.S. Constitution, Al Otro Lado has been damaged — namely, its core mission has
   18 been frustrated and it has been forced to divert substantial resources away from its
   19 programs to counteract CBP’s unlawful practices at POEs along the U.S.-Mexico
   20 border.
   21          174.291.     Defendants’ practices have resulted and will continue to result
   22 in irreparable injury, including a continued risk of violence and serious harm to
   23 Class Plaintiffs and further violations of their constitutional rights. Class Plaintiffs
   24 and Al Otro Lado do not have an adequate remedy at law to redress the violations
   25 alleged herein, and therefore seek injunctive relief restraining Defendants from
   26 engaging in the unlawful policy, conduct and practices alleged herein.
   27
   28                                            114
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              175.292.     An actual controversy exists between Class Plaintiffs and Al
    1 Otro Lado, on one hand, and Defendants, on the other. Class Plaintiffs and Al Otro
    1=
    2 Lado contend that Defendants’ conduct and practicesTurnback Policy and
    1=
    3 sanctioning of CBP’s unlawful widespread pattern or practice at POEs along the
    1=
    4 U.S.-Mexico border, as alleged in thisthe Complaint, violate the Fifth Amendment
    1=
    5 to the United States Constitution. On information and belief, Defendants contend
    1=
    6 that the conduct and practicesTurnback Policy and widespread pattern or practice
    1=
    7 are lawful.
    1=
    8        176.293.      Class Plaintiffs and Al Otro Lado therefore request and are
    1=
    9 entitled to a judicial determination as to the rights and obligations of the parties
    1=
   10 with respect to this controversy, and such a judicial determination of these rights
   11 and obligations is necessary and appropriate at this time.
   12                     FOURTHFIFTH CLAIM FOR RELIEF
   13             DECLARATORY RELIEF AND INJUNCTIVE RELIEF
   14                           AGAINST ALL DEFENDANTS
   15         (VIOLATION OF THE NON-RE FOULEMENTREFOULEMENT
   16                                     DOCTRINE)
   17         177. Al Otro Lado and 294. Class Plaintiffs reallege and incorporate by
   18 reference each and every allegation contained in the preceding paragraphs as if set
   19 forth fully herein.
   20         178.295.     CBP officials have systematically denied, or unreasonably
   21 delayed, access to the asylum process by Class Plaintiffs, and the asylum seekers
   22 they represent, access to the asylum system, in violation of customary international
   23 law reflected in treaties which the United States has ratified and implemented:
   24 namely, the specific, universal and obligatory norm of non-refoulement, which has
   25 also achieved the status of ajus cogens norm, and which forbids a country from
   26 returning or expelling an individual to a country where he or she has a
   27
   28                                           115
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                                                                   SECOND AMENDED COMPLAINT FOR
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         well-founded fear of persecution and/or torture, whether it is her home country or
    1 another country.
    1=
    2       296. The duty of non-refoulement also requires the adoption of procedures
    1=
    3 to ensure prompt, efficient, and unbiased access to the asylum process.
    1=
    4       179.297.     CBP officials’ treatment of Class Plaintiffs at the U.S.-Mexico
    1=
    5 border was inflicted at the instigation, under the control or authority, or with the
    1=
    6 knowledge, consent, direction or acquiescence of Defendants.
    1=
    7          180.298.     Defendants’ conduct is actionable under the Alien Tort Statute,
    1=
    8 28 U.S.C. § 1350, which authorizes declaratory and injunctive relief.
    1=
    9       181.299.    As a result of the acts constituting violations of the jus cogens
    1=
   10 norm of non-refoulement, Class Plaintiffs have been damaged through denial or
   11 unreasonable delay of access to the asylum process and by being forced to return
   12 to Mexico or other countries where they face threats of further persecution.
   13      182.300.      As a result of the acts constituting violations of the norm of
   14 non-refoulement, Al Otro Lado has been damaged — namely, its core mission has
   15 been frustrated and it has been forced to divert substantial resources away from its
   16 programs to counteract CBP’s unlawful practices at POEs along the U.S.-Mexico
   17 border.
   18          183.301.     Defendants’ practices have resulted and will continue to result
   19 in irreparable injury, including a continued risk of violence and serious harm to
   20 Class Plaintiffs and further denialsinfringement of the protections afforded to them
   21 under international law. Class Plaintiffs and Al Otro Lado do not have an adequate
   22 remedy at law to redress the violations alleged herein, and therefore seek
   23 injunctive relief restraining Defendants from engaging in the unlawful conduct
   24 and practices alleged herein.
   25          184.302.     An actual controversy exists between Class Plaintiffs and Al
   26 Otro Lado, on one hand, and Defendants, on the other. Class Plaintiffs and Al Otro
   27 Lado contend that Defendants’ conduct and practicesTurnback Policy, as well as
   28                                            116
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                the widespread pattern or practice carried out in reliance on it, as alleged in this
    3
        1 Complaint, violate the norm of non-refoulement. On information and belief,
        =   ,




    3
        2 Defendants contend that thetheir policy, conduct and practices are lawful.
        =   ,




    3
        3
        =   ,




                      185.303.      Class Plaintiffs and Al Otro Lado therefore request and are
    3
        4 entitled to a judicial determination as to the rights and obligations of the parties
        =   ,




    3
        5 with respect to this controversy, and such a judicial determination of these rights
        =   ,




    3
        6 and obligations is necessary and appropriate at this time.
        =   ,




    3
        7
        =   ,




                                       PRAYER FOR RELIEF
    3
        8
        =   ,




                      186.304.      WHEREFORE, Plaintiff Al Otro Lado and Class Plaintiffs
    9 respectfully request that the Court:
    3   =   ,




   10              a.    Issue an order certifying a class of individuals pursuant to
   11                               Federal Rule of Civil Procedure 23(a) and 23(b)(2);
   12                        b.     Appoint the undersigned as class counsel pursuant to Federal
   13                               Rule of Civil Procedure 23(g);
   14                        c.     Issue a judgment declaring that Defendants’ policies,Turnback
   15                               Policy, as well as the practices, acts and/or omissions described
   16                               herein, give rise to federal jurisdiction;
   17                        d.     Issue a judgment declaring that Defendants’ policies,Turnback
   18                               Policy, as well as the practices, acts and/or omissions described
   19                               herein, violate one or more of the following:
   20                               (1)    The Immigration and Nationality Act, based on
   21                                      violations of 8 U.S.C. §§ 1158 and 1225;
   22                               (2)    TheSection 706(1) of the Administrative
   23                                      Procedure Act, based on violations ofthe
   24                                      unlawful withholding and unreasonable delay
   25                                      of agency action mandated by 8 U.S.C. §§
   26                                      1158,§ 1225 and 8 C.F.R. §§ 235.3, 235.4§
                                                1 =   1                                   =




   27                                      235.3;
   28                                                     117
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                        (3)    Section 706(2) of the Administrative
    1
    1=
                               Procedure Act;
    2                   (4)    The Due Process Clause of the Fifth
    1=
    3                          Amendment; and
    1=
    4                   (45) The duty of non-refoulement under
    1=
    5                          international law;
    1=
    6              e.   Issue injunctive relief requiring Defendants to comply with the
    1=
    7                   laws and regulations cited above;
    1=
    8              f.   Issue injunctive relief prohibiting Defendants, and any of their
    1=
    9                   officers, agents, successors, employees, representatives, and
    1=
   10                   any and all persons acting in concert with them or on their
   11                   behalf, from continuing to implement the Turnback Policy and
   12                   from engaging in the unlawful policies, practices, acts and/or
   13                   omissions described herein at POEs along the U.S.-Mexico
   14                   border;
   15              g.   Issue injunctive relief requiring Defendants to implement
   16                   procedures to provide effective oversight and accountability in
   17                   the inspection and processing of individuals who present
   18                   themselves at POEs along the U.S.-Mexico border and indicate
   19                   an intention to apply for the purpose of seeking asylum or
   20                   assert a fear of persecution in their home countries;
   21              h.   Award Plaintiffs their reasonable attorneys’ fees, costs and
   22                   other expenses pursuant to 28 U.S.C. § 2412, and other
   23                   applicable law; and
   24              i.   Grant any and all such other relief as the Court deems just and
   25                   equitable.
   26 Dated: July 12, 2017November 7, 2018          LATHAM & WATKINS LLP
   27
   28                                         118
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                                            Wayne S. Flick
                                            ManualManuel A.
    1                                       Abascal
                                            James H. Moon
    1=
    2                                       Kristin P. Housh
                                            Robin A.
    1=
    3                                       KelleyMichaela R. Laird
    1=
    4
    1=
    5                                     By: /s/ Manual A. Abascal
                                          Manuel A. Abascal Manuel
    1=
    6                                     A. Abascal Attorneys for
                                          Plaintiffs
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   28                                      119
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    1
    1=
                                CERTIFICATE OF SERVICE
    2        I hereby certify that I electronically filed the foregoing with the Clerk of the
    1=
    3 Court for the Southern District of California by using the CM/ECF system on
    1=
    4 November 13, 2018. I certify that all participants in the case areregistered
    1=
    5 CM/ECF users and that service will be accomplished by the CM/ECF system.
    1=
    6
    1=
    7                                         /s/ Manuel A. Abascal
    1=
    8                                         Manuel A. Abascal
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    9                                         355 South Grand Avenue Suite 100
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   11
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   12
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   14
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   28                                           120
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